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   20                         UNITED STATES DISTRICT COURT
   21                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
   22   JEFFREY POWERS, DEAVIN                 Case No.: 2:22-cv-08357-DOC(JEMx)
        SESSOM, LAURIEANN WRIGHT,
   23   SAMUEL CASTELLANOS, JOSEPH Hon. David O. Carter
        FIELDS, LAVON JOHNSON, BILLY
   24   EDWARDS, JESSICA MILES,
        JOSHUA ROBERT PETITT, GLENN FIRST      FOR
                                                      AMENDED COMPLAINT
                                                    INJUNCTIVE,
   25   SURRETTE, NARYAN STIBBIE,              DECLARATORY, AND
        DOES 1-2, and NATIONAL                 MANDAMUS RELIEF CLASS
   26   VETERANS FOUNDATION,                   ACTION
        individually, on behalf of themselves
   27   and all others similarly situated,
   28                                         -1-
        FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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        Plaintiffs,
    1
               vs.
    2   DENIS RICHARD MCDONOUGH, in
        his official capacity, Secretary,
    3   Department of Veterans Affairs;
    4   MARCIA L. FUDGE, in her official
        capacity, Secretary, Department of
    5   Housing and Urban Development;
        DOUGLAS GUTHRIE, in his official
    6   capacity, President, Housing Authority
        of the City of Los Angeles;
    7
        STEVEN BRAVERMAN, in his
    8   official capacity, Director, VA Greater
        Los Angeles Healthcare System;
    9   KEITH HARRIS, in his official
        capacity, Senior Executive
   10   Homelessness Agent, VA Greater Los
        Angeles Healthcare System,              Date Filed: November 15, 2022
   11
        Defendants.
   12
   13
        The following allegations are based on information and belief, unless otherwise
   14
        specified.
   15
                                         INTRODUCTION
   16
              1.     Despite a lawsuit, two Acts of Congress, and two reports of the Office
   17
        of Inspector General detailing the VA’s failings, Defendants are leaving thousands
   18
        of veterans to live and die on the streets of Los Angeles. While deplorable to all
   19
        veterans, those effects will disproportionately impact veterans with Serious Mental
   20
        Illnesses and Traumatic Brain Injuries who need the VA’s services the most. The
   21
        VA must do more, and now, to comply with its obligations under the law, and to
   22
        fulfill the promise we all make to those who serve in our military.
   23
              2.     We, as a people, owe our security and the preservation of our most
   24
        cherished values to the military service members and veterans who serve our nation,
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        not for remuneration or glory, but out of fealty to honor, duty, and sacrifice. One
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        horrific consequence of war is that it exacts heavy and lifelong consequences on the
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   28                                             -2-
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    1 men and women who serve on our behalf: many return suffering from invisible
    2 wounds, including depression, Post Traumatic Stress Disorder (“PTSD”) and
    3 traumatic brain injuries (“TBI”). For countless veterans, military service has
    4 rendered them unable to fully resume their civilian lives, sustain their family
    5 relationships, maintain employment, continue their education, or even maintain a
    6 permanent residence.
    7        3.     Our leaders, regardless of political party, have repeatedly expressed our
    8 country’s obligation to our veterans. In March 2009, 20 years after the Department
    9 of Veterans Affairs (“VA”) was officially elevated to a cabinet-level agency,
   10 President Obama expressed our debt to our veterans this way: “We provide new
   11 help for homeless veterans, because those heroes have a home; it’s the country they
   12 served, the United States of America. And until we reach a day when not a single
   13 veteran sleeps on our Nation’s streets, our work remains unfinished.”1 President
   14 Trump reiterated the promise 10 years later, stating “Each warrior who fights for our
   15 nation, along with their families, has earned our eternal gratitude . . . Together, we
   16 remain committed to fostering a national community of support for these brave
   17 heroes and their families.”2 President Biden agreed in 2021, proclaiming, “Our
   18 Nation has only one truly sacred obligation: to properly prepare and equip our
   19 service members when we send them into harm’s way and to care for them and their
   20 families when they come home.” 3
   21        4.     But for more than 33,000 veterans nationwide, these promises of home
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   24
        1
   25   Remarks on the 20th Anniversary of the Department of Veterans Affairs, 1 Pub.
      Papers 258, 259 (Mar. 16, 2009).
   26 2 Proclamation No. 9962, National Veterans and Military Families Month, 2019, 3
   27 C.F.R.
      3
             206, 207 (2020).
        Proclamation 10305, Veterans’ Day, 2021,
                                              -3- 3 C.F.R. 300 (2021).
   28   FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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    1 and healthcare are aspirational at best.4 Twenty percent of low-income veterans will
    2 experience homelessness in their lifetime,5 higher than nonveterans.6
    3        5.     Los Angeles is the homeless veterans’ capital of the United States, with
    4 3,458 unhoused veterans as of 2022,7 approximately 10% of the national total.8 Of
    5 these, 1,125 or 32% identified as Black/African American, despite the fact they
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   17   U.S. Dep’t Vet. Aff., VA Homeless Programs: Point-in Time (PIT) Count,
      https://www.va.gov/homeless/pit_count.asp (last visited Nov. 14, 2022) (indicating
   18 the January 2022 point-in-time count of “the total number of Veterans who
   19 experienced homelessness was 33,136”); see also Meghan Henry et al., U.S. Dep’t
      Hous. & Urb. Dev., The 2020 Annual Homeless Assessment Report to Congress 52
   20 (2020), https://www.huduser.gov/portal/sites/default/files/pdf/2020-AHAR-Part-
   21 1.pdf (“2020 AHAR Report”) (displaying the PIT estimates of homeless veterans
      between 2009-2020, with a January 2020 count of 37,252).
   22 5 Jack Tsai et al., Service Use and Barriers to Care Among Homeless Veterans:
   23 Results from the National Veteran Homeless and Other Poverty Experiences (NV-
      HOPE) Study, J. Cmty. Psych. 6 (2022).
   24 6 Jack Tsai et al., Risk Factors for Homelessness Among US Veterans, 37
   25 Epidemiologic Rev. 177, 188 (2015) (collecting studies that found “a greater risk for
      homelessness among veterans compared with nonveterans”).
   26 7 L.A. Homeless Servs. Auth., Veterans HC2022 Data Summary (2022),
   27 https://www.lahsa.org/documents?id=6630-veterans-hc2022-data-summary.
      8
        2020 AHAR Report, supra note 4, at 60.-4-
   28   FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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    1 make up only 9% of Los Angeles County’s overall population.9
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   13               Fact Sheet: Homelessness in LA, Senate Housing Committee,
   14     https://shou.senate.ca.gov/sites/shou.senate.ca.gov/files/Homelessness%20in%20

   15        6.     This should never be. The phrase “homeless veteran” should be an

   16 American oxymoron. But this is the cruel truth—the federal government
   17 consistently refuses to keep its word and take meaningful actions to bring the
   18 abomination of veteran homelessness to an end.
   19      7.    Many veterans experience “Serious Mental Illness,” or “SMI,” meaning

   20 “a mental, behavioral or emotional disorder that results in serious functional
   21 impairment, which substantially interferes with or limits one or more major life
                  10
   22 activities.” Examples include major depression, PTSD, bipolar disorder, panic
   23
   24 9 See L.A. Homeless Servs. Auth., supra note 9; see also U.S. Census Bureau,
   25 QuickFacts Los Angeles County, California (July 1, 2021),
      https://www.census.gov/quickfacts/losangelescountycalifornia.
   26 10 Nat’l. Inst. Mental Health, Mental Illness,
   27 https://www.nimh.nih.gov/health/statistics/mental-illness (last visited Nov. 14,
      2022).                                     -5-
   28   FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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    1 disorder, obsessive-compulsive disorder, borderline personality disorder, and
    2 schizophrenia-spectrum disorder.11
    3        8.    Post 9/11 veterans have higher rates and ratings of severe disability,
    4 mental health disorders, trauma-related injuries, and substance abuse than both their
    5 nonveteran peers and veterans of prior wars.12 Vietnam veterans were twice as likely
    6 to have depression and anxiety than their older peers.13
    7        9.    Yet only half of veterans with mental health challenges connected to
    8 military service access treatment and only about half of those receive minimally
    9 adequate care. Less than half of those with a probable TBI even receive a medical
   10 evaluation.14 Veterans with unmet mental health needs are more likely to live in
   11 poverty than other veterans.15
   12        10.   An incontrovertible body of research has established the close causal
   13 and mutually reinforcing relationship between Serious Mental Illness and long-term
   14
   15 11
         U.S. Dept. Vet. Aff., Serious Mental Illness 1 (2020),
   16 https://www.va.gov/PREVENTS/docs/PRE013_FactSheets_SeriousMentalillness_5
      08.pdf.
   17 12
        Jonathan Vespa, U.S. Census Bureau, Post-9/11 Veterans More Likely to Have a
   18 Service-Connected Disability (June 2, 2020),
      https://www.census.gov/library/stories/2020/06/who-are-the-nations-veterans.html.
   19 13
         Christine Gould et al., Depression and Anxiety Symptoms in Male Veterans and
   20 Non-Veterans: the Health and Retirement Study, 30 Int’l. J. Geriatric Psychiatry 623
   21 (2014); see also U.S. Dept. Vet. Aff., Off. Res. & Dev., VA research on Mental
      Health, https://www.research.va.gov/topics/mental_health.cfm (discussing Vietnam
   22 veterans) (last visited Nov. 14, 2022).
      14
   23    Terri Tanielian et al., RAND Ctr. Mil. Health Pol’y Res., Invisible Wounds:
      Mental Health and Cognitive Care Needs of America’s Returning Veterans 3
   24 (2008),
   25 https://www.rand.org/content/dam/rand/pubs/research_briefs/2008/RAND_RB9336.
      pdf. This is true in California, where only one in four veterans received minimally
   26 adequate treatment. See Linda Diem Tran et al., The Mental Health Status of
      California Veterans, Pol’y Brief UCLA Ctr. Health Pol’y Res. 1, 3 (2016).
   27 15
         Tran, supra note 16.                    -6-
   28 FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY,  AND MANDAMUS RELIEF CLASS ACTION
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    1 homelessness, including among veterans.16
    2        11.    Numerous scientific studies demonstrate, consistent with common
    3 sense, that unhoused individuals with TBI and Serious Mental Illness such as PTSD,
    4 schizophrenia, and severe depression can meaningfully access and benefit from
    5 physical and mental health services only after they are stabilized in permanent
    6 community-based housing readily accessible to appropriate services and support—
    7 i.e., Permanent Supportive Housing.17 Absent Permanent Supportive Housing, these
    8 conditions worsen significantly, leading to additional problems impairing the
    9 capacity of these individuals to conduct everyday life.
   10        12.    Nonetheless, the VA and its constituent healthcare systems do not
   11 provide adequate Permanent Supportive Housing to ensure that veterans with severe
   12 disabilities in Los Angeles have the stability and support they desperately need to
   13 access the medical treatment and other services for which they are eligible. Instead,
   14 the VA provides institutional services and temporary housing, leaving veterans with
   15 Serious Mental Illness and TBI who could live in community-based Permanent
   16 Supportive Housing with no options but to accept institutionalization or go without
   17 services. As a result, the VA remains a principal cause of continuing homelessness
   18 among veterans.
   19        13.    This is true despite the VA’s Greater Los Angeles Healthcare System’s
   20 (“VAGLAHS”) flagship West Los Angeles Medical Center & Community Living
   21 Center Grounds (“WLA Grounds” or “Grounds”), a lush 388-acre parcel that was
   22 donated to the VA as a Charitable Trust, expressly for the purpose of serving as a
   23
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        16
   25    See, e.g., Sonya Gabrielian, Improving services for homeless adults with serious
      mental illness (Presentation) 6 (Oct. 28, 2020),
   26 https://www.mirecc.va.gov/visn5/training/sst/Gabrielian_PsychosisColloquium2020
      1022.pdf (“SMI and homelessness are mutually reinforcing”).
   27 17
         Tsai, supra note 6, at 191.             -7-
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    1 home for disabled war veterans.18
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                                  West LA Grounds (Credit: 2022 Master Plan)
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   19                              Outside the Grounds, before November 2021

   20        14.   VAGLAHS does not offer, on the WLA Grounds or elsewhere within
   21 its service area, anything close to adequate Permanent Supportive Housing
   22 coordinated with the medical, mental health, and other supportive services that
   23 veterans with Serious Mental Illness or brain injuries need.
   24        15.   In fact, VAGLAHS has skirted its responsibility by leaving it to private
   25
   26 18 Tess Banko, Am. Legion, Dep’t Cal., About the Redevelopment of the West Los
   27 Angeles VA Campus (Nov. 8, 2021), https://calegion.org/about-the-redevelopment-
      of-the-west-los-angeles-va-campus/.       -8-
   28 FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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    1 housing developers to develop housing on the WLA Grounds without the benefit of
    2 VA or HUD funding. These developers must rely on other public and private
    3 sources of funding, which impose additional income limits that exclude individuals
    4 from the VA services for which they are eligible. Ironically, because VA disability
    5 benefits “count” as income for these purposes, the more disabled a veteran is
    6 determined by the VA to be, the less likely he or she is to be able to access
    7 permanent supportive housing.
    8        16.    This unforgivable state of affairs has resulted in the proliferation of
    9 thousands of homeless veterans with disabilities and a long-term crisis of lack of
   10 access to medical, mental health, and other essential supportive services. Veterans
   11 have suffered grievously. Many have died. Over seven years after the VA
   12 committed to provide them Permanent Supportive Housing, they are still suffering
   13 and dying on the streets of Los Angeles. Even under the VA’s most optimistic and
   14 recent plans, thousands of veterans will continue to live and die on the streets of Los
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   28                                             -9-
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    1 Angeles for years to come.
    2        17.    In 2011, ten unhoused veterans with severe disabilities sued the VA for
    3 its failure to provide housing on the WLA Grounds. Multiple leases on the WLA
    4 Grounds that failed to benefit veterans were invalidated by the lawsuit. In January
    5 2015, the plaintiffs entered into an agreement in good faith with the VA under
    6 which the VA agreed to draft and implement a Master Plan to provide housing and
    7 supportive services for veterans on the WLA Grounds. Pursuant to the Master Plan
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   26
          “Veterans Row” homeless encampment of veterans by the VA West Los Angeles
   27
          Grounds from which residents were forcibly evicted in November 2021. (Credit:
   28                                         -10-
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    1 the VA agreed to build 1,200 Permanent Supportive Housing units for veterans on
    2 the WLA Grounds, 770 of which were to be completed by 2022.19
    3        18.    Still, the VA did not mend its ways. In 2021, the VA Office of
    4 Inspector General (“OIG”) reported that, more than 7.5 years after the settlement,
    5 the VA has not constructed a single new unit of Permanent Supportive Housing
    6 pursuant to the settlement agreement.20 It has failed even to make essential
    7 infrastructure upgrades for utilities like water, sewer, and stormwater systems, let
    8 alone provide housing for the 1,200 unhoused veterans with disabilities to which it
    9 committed.21 Other than 55 housing units started before the agreement and
   10 completed in May 2017, OIG concluded that “VA has not completed any housing
   11 units on the campus” or even come close to doing so.22 Indeed, it added: “VA
   12 envisions all phases of construction will be completed in the next 17 years.
   13 However, the OIG has no assurance that this goal will be met.” 23
   14        19.    The OIG also identified seven noncompliant land-use agreements—
   15 meaning the property is being leased illegally even still to entities that do not serve
   16 the veteran population.24 Shockingly, the OIG found some of “the agreements were
   17 not veteran focused,” “allowed drilling to extract nonfederally owned oil from
   18 neighboring land and allowed a lease with a private school for continued use and
   19 improvement of student athletic fields that did not principally benefit veterans and
   20
   21
   22 19 1887 Fund, West Los Angeles VA Campus Draft Master Plan,
      https://www.1887fund.org/master-plan/ (last visited Nov. 14, 2022).
   23 20
         U.S. Dep’t Vet. Aff., Off. Inspector Gen., VA’s Management of Land Use under
   24 the West Los Angeles Leasing Act of 2016: Five-Year Report 10 (2021),
      https://www.va.gov/oig/pubs/VAOIG-20-03407-253.pdf (“OIG Five Year Report”).
   25 21
         Id. at 11.
   26 22
         Id. at 10.
      23
   27 24 Id. at 19 (emphasis added).
         Id. at 20.                             -11-
   28   FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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    1 their families.”25
    2        20.      Veterans themselves have repeatedly admonished the VA for its broken
    3 promises to no avail. The VA has failed even to consult veterans about plans to
    4 construct, and recently expand, UCLA’s state-of-the-art baseball facilities26 on land
    5 where the VA is required to build Permanent Supportive Housing.27 Indeed, the VA
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                 Examples of improperly leased properties the OIG identified on the WLA Grounds, including
   20       Brentwood School, oil leases, and UCLA’s Jackie Robinson Stadium (Credit: Amanda Pertusati, 2022).
   21
   22 25 Id. at ii.
      26
   23    The construction is part of UCLA’s baseball facilities on the grounds, ironically
      named after UCLA alumnus and civil rights icon Jackie Robinson. See Jamie
   24 Loftus, The West Los Angeles VA Would Prefer You Didn’t Look Into its Corrupt
   25 Land Deals, Thanks, Knock LA (Feb. 26, 2021), https://knock-la.com/west-los-
      angeles-va-campus-corrupt-deal-ucla-stadium-a1be1e7baaf8/.
   26 27
         See, e.g., Rec. 12-05A, Vet. & Cmty. Oversight & Engagement Bd., Fed. Adv.
   27 Comm. Mtg. 18-19 (Mar. 23, 2021),
   28                                         -12-
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    1 and UCLA agreed to conceal these recent plans and UCLA’s subsequent
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                            Parking kiosk at parking lot by Brentwood School on WLA Grounds
   11                                        (Credit: Amanda Pertusati, 2022).
        construction of athletic facilities in order to evade compliance with the law.
   12
        Veterans must console themselves with the fact that they can park for free where
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        they should have homes. But even this “free” parking lot is not nearly the same as a
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        mobile home site that could grant some of these veterans far greater freedom.
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              21.    Unfortunately, counsel for the prior plaintiffs did not insist on
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        enforceability of the settlement agreement in the belief that the VA would act in
   17
   18 https://www.va.gov/ADVISORY/MINUTES/Minutes-VCOEBMar2021.pdf
   19 (“WHEREAS, at no point in time prior to the announcement, did VAGLAHS advise
      the Veterans and Community Oversight and Engagement Board (VCOEB) of its
   20 intention to amend the existing lease with UCLA for its baseball complex . . . .
   21 NOW THEREFORE LET IT BE: RECOMMENDED, that the Secretary of
      Veterans Affairs terminate the UCLA ‘Second Lease Amendment’ on the grounds
   22 that it is not consistent with the Master Plan; does not sufficiently benefit veterans
   23 and their families; and disproportionally favors UCLA’s interests on campus,
      without proof of any expansion of UCLA’s services to the campus to justify
   24 enlargement of the Regents’ rights . . . .”) (unanimously approved); see also Rec.
   25 12-05B, id. at 20-21 (“NOW THEREFORE LET IT BE: RECOMMENDED, that
      before VAGLAHS is authorized to enter into or modify any existing leases with the
   26 Regents of the University of California, that VAGLAHS must make a presentation
   27 to VCOEB establishing its due diligence to assure itself that the lease is consistent
      with the Master Plan.”) (unanimously approved).
                                                 -13-
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    1 good faith to comply with its terms and that court enforcement would not be
    2 necessary against the United States government, to whom they had given so much
    3 and from whom they had received such sacred promises. Tragically, this trust in the
    4 VA to keep its word was, yet again, misplaced.28
    5         22.   While our government has shown its ability to erect whole cities for
    6 troops halfway around the world that are hardened against attack, the VA has
    7 attempted to offload its responsibility for constructing Permanent Supportive
    8 Housing to third parties who are dependent on fundraising from public and private
    9 sources, which severely limits housing eligibility based on Area Median Income
   10 (AMI).29 History teaches that strategy is likely to fail the veterans it is intended to
   11 serve because those who need the housing most are disqualified from gaining
   12 residence by other VA benefits they receive.30
   13
   14 28 In private, VA officials have made clear their contempt for “testy” advocates who
   15 try to hold the VA accountable to veteran interests. In one leaked audio called, a VA
      official complained that advocates “are going to get up in arms about another ball
   16 field being built” and then strategized how the VA and UCLA might contain public
   17 relations blowback. Cristy Fajardo, Veteran Advocates Accuse VA in West LA of
      Putting Private Interests over the Law, Fox 11 L.A. (May 27, 2022),
   18 https://www.foxla.com/news/veteran-advocates-accuse-va-in-west-la-of-putting-
      private-interests-over-the-law; see also Loftus, supra note 28.
   19 29
         See Letter from the Los Angeles Housing Department to the Los Angeles City
   20 Council (Jan. 12, 2023) (“HACLA Letter”),
   21 https://lacity.primegov.com/Portal/viewer?id=425876&type=2 (“In order to build
      affordable housing, developers apply for funding from multiple sources, including
   22 City, County, State and private financial institutions, each of which may have
   23 different eligibility restrictions tied to its funding. In order to be competitive for
      public funding, developers often agree to the most restrictive income limitations,
   24 generally the 30% AMI level.”).
      30
   25    Currently AMI counts service-connected disability benefits as income. See Letter
      from Rep. Mark Takano, Ranking Member, House Committee on Veterans’ Affairs,
   26 to Secretary McDonough, Mar. 7, 2023. Accordingly, “[t]he cruel irony is that if
   27 [these veterans] were less disabled, they would qualify [for more housing].”
   28                                             -14-
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    1         23.   The Department of Housing and Urban Development (“HUD”) and the
    2 Housing Authority of the City of Los Angeles (“HACLA”), via their leadership, also
    3 refuse to exercise their funding authorities to address the needs of homeless veterans
    4 in Los Angeles, declining to work with the VA to fund the construction of housing
    5 on the VA WLA Grounds, and declining to fund HUD-VASH vouchers at rates
    6 which would allow veterans with disabilities to live near the VA medical services
    7 they desperately need and are entitled to.
    8         24.   Individual plaintiffs in the current case are veterans with Serious
    9 Mental Illness and/or brain injuries or physical disabilities who, as a result of their
   10 disabilities, are unhoused and are in or at risk of entering institutional settings such
   11 as hospitals, residential treatment programs, homeless shelters, or jails. These
   12 individual plaintiffs cannot access necessary VA medical and mental health
   13 treatment for which they are eligible and which they need to have a fighting chance
   14 at leading normal lives.
   15         25.   Plaintiffs are being denied meaningful access to the medical, mental
   16 health, and other services offered by VAGLAHS for which they are otherwise
   17 eligible, and are being unnecessarily institutionalized or placed at serious risk of
   18 institutionalization, solely by virtue of their disabilities, which represents unlawful
   19 discrimination under Section 504 of the Rehabilitation Act of 1973.31
   20         26.   The VAGLAHS administers its service delivery system in a manner
   21 that denies veterans like Plaintiffs with SMI and TBI access to community-based
   22 VA mental health, housing, and other supportive services that they need and for
   23 which they are eligible. Instead of providing the Permanent Supportive Housing
   24 veterans with Serious Mental Illness and TBI need, VAGLAHS over-relies on
   25
      Catalina Villegas, 100% disabled homeless veterans are being rejected for housing,
   26 Spectrum News 1, Mar. 27, 2023, https://spectrumnews1.com/ca/la-
      west/homelessness/2023/03/28/disabled-homeless-veterans-rejected-housing#.
   27 31
         29 U.S.C. § 794(a).                   -15-
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    1 inappropriate institutional and temporary housing, on third-party developers reliant
    2 on income-restricting funding, and on HUD-VASH vouchers that are insufficient to
    3 allow veterans to access the VA health services they need. Veterans with Serious
    4 Mental Illness and TBI for whom institutionalization is unnecessary and
    5 inappropriate must attempt to find community-based housing on their own or live
    6 desperately on the streets. In either case, they are unable to meaningfully access the
    7 VA’s healthcare services, located primarily on the WLA Grounds consistently and,
    8 as a result, risk aggravation of their disabilities and, in a vicious cycle,
    9 institutionalization in VA or non-VA hospitals, homeless shelters, or jails.
   10        27.    VAGLAHS administers its medical, mental health, and other services
   11 only at the WLA Grounds and a few other sites scattered across VAGLAHS’s large
   12 service area.32 Its failure to provide permanent or long-term housing that facilitates
   13 access to those services denies Plaintiffs and others like them access to needed
   14 healthcare services for which they are eligible and forces them to rely on
   15 unnecessary institutional services. Just as elimination of programming that “focuses
   16 on the needs of disabled individuals . . . and that provides services
   17 disproportionately required by the disabled and available nowhere else” is unlawful
   18 disability discrimination,33 VAGLAHS’s decision not to offer sufficient coordinated
   19 housing and healthcare services to veterans with severe disabilities who need them
   20 also constitutes discrimination in violation of the Rehabilitation Act.
   21        28.    As the VA has repeatedly acknowledged, providing Permanent
   22 Supportive Housing can be reasonably accommodated within the VA’s service
   23 system. Some Permanent Supportive Housing exists within VAGLAHS’s service
   24 system, but on a scale and of a quality grossly inadequate to serve veterans with
   25
   26 32 See U.S. Dep’t Vet. Aff., Locations, https://www.va.gov/greater-los-angeles-
      health-care/locations/ (last visited Nov. 14, 2022).
   27 33
         See Rodde v. Bonta, 357 F.3d 988, 997-16-(9th Cir. 2004).
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    1 Serious Mental Illness and TBI who are unnecessarily institutionalized or at risk of
    2 institutionalization.
    3          29.   Furthermore, there are unreasonably prohibitive eligibility requirements
    4 on the limited housing that is currently available—or even anticipated in the near
    5 future. Several of these plaintiffs and others like them have received a service-
    6 connected disability rating of 100% from the VA. In other words, the VA has
    7 recognized that these individuals suffer disabilities incurred directly on account of
    8 their service to this country which, in turn, directly and completely impair their
    9 earning capacity now and into the future. These individuals—including the majority
   10 of plaintiffs—then receive compensation corresponding to that disability rating.
   11 However, because of existing use limits on the public funds the developers
   12 contracted by the VA receive to fund their construction, those developers impose an
   13 eligibility requirement based on income, prohibiting anyone exceeding a certain
   14 percentage of area median income (AMI) from applying for a unit in their buildings.
   15 Often these public funds cap AMI eligibility at 30%, some up to 50%. But currently
   16 100% disability compensation for an individual with no dependents equates to more
   17 than 50% (closer to 60%) AMI. Veterans who receive any type of additional
   18 compensation based on disability or age exceed 60%.
   19          30.   Because of this, most of the plaintiffs have been advised for years that
   20 they are not eligible for most housing on the WLA Grounds; and others who have
   21 managed to submit applications have received formal rejections. As a result, the
   22 more disabled these veterans are and the more they require accessible VA services
   23 by the VA’s own assessment, the less they are able to meaningfully access them.
   24 This is an absurd result, and a horrific choice. “The cruel irony is that if they were
   25 less disabled, they would qualify.”34
   26          31.   The VA holds the WLA Grounds in trust for veterans with disabilities.
   27 34
           Villegas, supra note 30.              -17-
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    1 By authorizing uses of the WLA Grounds that do not directly contribute to housing
    2 and healthcare for veterans with disabilities, Defendants have breached their
    3 fiduciary duties as trustees of the Charitable Trust. Defendants’ land deals involving
    4 the WLA Grounds also violate the West Los Angeles Leasing Act of 2016
    5 (“WLALA2016”),35 because they do not “primarily benefit” veterans. Defendants’
    6 failure to comply violates the Administrative Procedure Act.36
    7        32.    Homeless veterans commit suicide at a rate of approximately 81 per
    8 100,000, compared to 35.8 per 100,000 for veterans generally.37 Other causes of
    9 death, including death by violence, occur at substantially higher rates to homeless
   10 veterans.38
   11        33.    Plaintiffs seek to avoid the tragic fate of so many of their brothers and
   12 sisters—JT, AA, SL, DH, FK, and many many others—shut out of VA services and
   13 housing and dead on the streets, in shabby tents, or in dangerous tiny sheds around
   14 the magnificent WLA Grounds. The government they served has refused to serve
   15 them and, far from welcoming them home, has left them homeless.
   16                                    JURISDICTION
   17        34.    This Court has jurisdiction over Plaintiffs’ claims for injunctive relief
   18 based on 28 U.S.C. § 1331 because those claims arise under federal statutes and
   19 federal common law.
   20        35.    Additionally, this Court has jurisdiction over Plaintiffs’ claims under
   21 Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. § 794) based on 28 U.S.C.
   22
        35
   23 36 Pub. L. No. 114-226, 130 Stat. 927 (2016).
         5 U.S.C. § 706(2)(A), (C), (D).
   24 37
         VA Nat’l Ctr. Homelessness Among Vet., Homeless Evidence and Research
   25 Synthesis (HERS) Roundtable Series 3 (2018),
      https://www.va.gov/HOMELESS/nchav/docs/HERS_Proceedings_SuicideAndHom
   26 elessVeteransSymposium_Feb2018_508.pdf.
      38
   27    John A. Schinka et al., Mortality and Cause of Death in Younger Homeless
      Veterans, 133(2) Pub. Health Reps. 177-81    (2018).
                                                -18-
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    1 § 1343(a)(4) and 1346(a)(2), because those claims seek to secure equitable relief
    2 under an Act of Congress and because the United States is a defendant.
    3        36.    This Court has jurisdiction over Plaintiffs’ charitable trust claims
    4 asserted herein because they implicate significant federal issues, including an
    5 analysis of whether Congress has passed a statute agreeing to assume fiduciary
    6 duties as a trustee of the charitable trust.
    7        37.    To the extent Plaintiffs’ claims to enforce the terms of the Charitable
    8 Trust and for an accounting of profits do not present a federal question sufficient to
    9 confer jurisdiction under 28 U.S.C. § 1331, this Court has jurisdiction over those
   10 under 28 U.S.C. § 1367.
   11        38.    Finally, this Court has jurisdiction over Plaintiffs’ alternative claim for
   12 relief under 28 U.S.C. § 1361.
   13                                          VENUE
   14        39.    Venue is proper in the Central District of California under 28 U.S.C.
   15 § 139l(b) because all of the acts and/or omissions complained of herein occurred or
   16 will occur in the District.
   17                                         PARTIES
   18                                      Jeffrey Powers
   19        40.     Plaintiff Jeffrey Powers is a 60-year old veteran. Mr. Powers has a
   20 90% service-connected disability rating and is eligible for medical benefits from the
   21 VA. Because he resides in Los Angeles, Mr. Powers seeks treatment and housing
   22 from VAGLAHS. Mr. Powers does not want to live in an institution in order to
   23 receive services, nor does he want to again live in a tent or continue living in a tiny
   24 shed. He could be appropriately served in the community and does not oppose
   25 community-based services and housing.
   26        41.    Mr. Powers joined the Navy in 1980 with dreams of making a career
   27 out of flying naval jets. Unfortunately, his time in the Navy was cut short as he was
   28                                            -19-
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    1 discharged in 1981 because of his sexuality and identity as a gay man. Upon his
    2 discharge, Mr. Powers tried to his best to move forward and create a stable life. In
    3 1995, he graduated from Western Kentucky University, where he studied economics
    4 and computer science. After graduation, Mr. Powers went back to California and
    5 started a career in IT. Despite the success he experienced in school and work, Mr.
    6 Powers could not shake the feelings of shame and depression that were impressed
    7 upon him during his military service.
    8        42.    In 2005, Mr. Powers experienced a divorce and was forced to move in
    9 with family in Arizona. He stayed in Arizona until 2015, when his life again turned
   10 upside down when his family found out he was gay and disowned him. He once
   11 again had to live through the same fear, shame, and dread he had experienced in the
   12 military. It became very hard for Mr. Powers to cope due to depression and in that
   13 same year, his house was foreclosed and he found himself homeless.
   14        43.    Living on the streets in Phoenix was miserable for Mr. Powers. He
   15 dealt with unbearable heat and discomfort and struggled to find places to take care
   16 of daily hygiene necessities. Mr. Powers went to the VA in Phoenix to seek help
   17 because he felt like his life was no longer worth living. He requested a gay, male
   18 therapist, with hopes that he could talk about the trauma he endured due to his
   19 sexuality. Unfortunately, the VA advised him that it was not able to honor such a
   20 request because of the “Don’t Ask, Don’t Tell” policy still in place at that time. Mr.
   21 Powers took measures into his own hands and connected with an organization called
   22 “22 Until None.” Mr. Powers credits that organization for keeping him alive.
   23        44.    In late 2017, Mr. Powers was accepted into the Veterans Affairs
   24 Supportive Housing (“VASH”) program in Phoenix, and was granted a housing
   25 voucher. He continued to live in Phoenix for two years in a VASH apartment until
   26 March 2020 when his lease expired. At that time, he was still experiencing severe
   27 depression, and was having difficulty locating a new apartment to rent with his
   28                                          -20-
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    1 voucher. He decided it would be best for him to take his VASH voucher to a new
    2 city—he landed on Palm Springs—which he anticipated would be a good fit for an
    3 older gay man. In June 2020, after approval from VASH to move his voucher, Mr.
    4 Powers drove to Palm Springs; however, upon his arrival, he again had difficulty
    5 finding a place that would accept his voucher. Around that same time, his car was
    6 stolen and destroyed, and he no longer had transportation to travel to look for
    7 somewhere to live.
    8        45.    The Riverside VA recommended that Mr. Powers go to Los Angeles.
    9 Mr. Powers followed instructions and went into the Emergency Room at the WLA
   10 Grounds to meet with a social worker. He was given a tent on the concrete floor,
   11 equipped with only a camping chair, and a thin air mattress. It was the middle of
   12 summer and it was impossible to stay inside the tent during the day because of the
   13 scorching heat. Due to the conditions, the VA moved the tents from the concrete to
   14 the grass, but that only added an additional problem of gophers destroying veterans’
   15 mattresses. As a result, the VA again adjusted the sleeping conditions to include
   16 wood pallets to keep the mattresses lifted off the ground. The pallets soon became a
   17 breeding ground for rats.
   18        46.    Unable to tolerate the rats and other conditions in the tents, and dealing
   19 with physical conditions that made it difficult to get up and down in the tents, Mr.
   20 Powers contacted PATH and the Salvation Army, who set him up to stay at a motel
   21 while he was waiting for help with his housing voucher. Despite Mr. Powers’
   22 continuous pleas for help, the VA never assisted Mr. Powers with finding an
   23 apartment to use his voucher.
   24        47.    With no help from the VA, the money allowance for the PATH-funded
   25 motel ran out and Mr. Powers again found himself on the streets. He went to
   26 Veterans Row and lived in a tent until November 2021 when law enforcement
   27 cleared everyone out of the area. Still unhoused, in January 2022 the VA’s Care,
   28                                           -21-
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    1 Treatment, and Rehabilitative Services (“CTRS”) program put Mr. Powers in a tiny
    2 shed. The shed has no bathroom, does not allow for any appliances, and provides no
    3 locks or privacy. For Mr. Powers, the WLA Grounds feels like a slap in the face
    4 because he sees plenty of land available and several buildings, none of which
    5 provide housing for him or the rest of the unhoused veterans he knows.
    6           48.   Since the November 2022 Complaint commencing this action (the
    7 “Original Complaint”) was filed, Mr. Powers has suffered worsening conditions at
    8 CTRS, including being dragged from his shed, handcuffed, and involuntarily taken
    9 to a psychiatric unit and subjected to a “5150” hold for a week, and finally released
   10 when it became clear there was no reason to hold him. Many veterans at CTRS are
   11 observing the 5150 as a too-frequent abuse of power and infringement of their
   12 rights.
   13           49.   Mr. Powers has now been approved for housing on the WLA Grounds
   14 in one of the buildings that opened in May 2023. He is still completing the process
   15 and has not yet been assigned a unit. Therefore, he is still currently unhoused and
   16 the “permanency” of the new assignment is still unknown, which leaves him at
   17 continued risk of future homelessness.
   18                                      Deavin Sessom
   19           50.   Plaintiff Deavin Sessom is a 67-year old Army veteran with severe
   20 disabilities as a result of his military service. Mr. Sessom has a 100% service-
   21 connected disability rating and is eligible for medical benefits from the VA. Because
   22 he resides in Los Angeles, Mr. Sessom seeks treatment from VAGLAHS. Mr.
   23 Sessom does not want to live in an institution in order to receive services, nor does
   24 he want to again live in a tent or continue living in a tiny shed. He could be
   25 appropriately served in the community and does not oppose community-based
   26 services and housing.
   27           51.   Mr. Sessom enlisted in the Army in 1978 at 17 years old, motivated to
   28                                            -22-
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    1 serve his country and hoping to find community. Instead, his hopes turned into a
    2 living nightmare. Two drill sergeants attacked Mr. Sessom, including with sexual
    3 assault. Ashamed and terrified, he told no one what happened, fearing that if he
    4 reported the drill sergeants, he would be attacked again.
    5        52.    Mr. Sessom lived every day in constant fear that he would be assaulted
    6 again. He was unable to sleep, and when he did, he began experiencing terrible
    7 nightmares. He started showing up late for duty, then stopped reporting at all. After
    8 five months in the Army, Mr. Sessom received a general discharge.
    9        53.    Mr. Sessom spent the next thirty years of his life desperately trying to
   10 forget the trauma he endured in the Army. He got married and started a family, but
   11 his PTSD symptoms persisted. To calm his nerves and shut out the nightmares, he
   12 began self-medicating with drugs. He got divorced, lost custody of his children, and
   13 became homeless.
   14        54.    In 2007, living on the streets of Los Angeles, Mr. Sessom successfully
   15 enrolled in the VA healthcare system. Shortly thereafter he moved into an apartment
   16 in Bellflower with a VASH voucher. He hoped to start seeing a VA mental health
   17 provider but found that he could barely leave his apartment due to his severe anxiety
   18 and hypervigilance. He eventually lost this apartment and once again became
   19 homeless.
   20        55.    Things started to look up for Mr. Sessom when he enrolled in a 90-day
   21 rehabilitation and mental health treatment program at the Residential Rehabilitation
   22 and Treatment Program (“Domiciliary”) on the WLA Grounds in 2013. For the first
   23 time, he was in rehab and talking to a psychologist about what happened to him in
   24 the Army. He successfully completed the program. He was 90 days sober and
   25 motivated to continue his treatment. Unfortunately, he was not given this
   26 opportunity. He learned that the transitional housing he had been promised was not
   27 yet ready, and that because he graduated from the Domiciliary, he was no longer
   28                                          -23-
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    1 allowed to see the psychologist with whom he had formed a strong, trusting
    2 relationship.
    3        56.      Mr. Sessom relapsed and again became homeless. Since then, he has
    4 attempted to find housing and maintain sobriety, but both have been an enormous
    5 struggle. The VA recognizes his service-connected disability of PTSD due to
    6 military sexual trauma, and he remains homeless. He is connected to and dependent
    7 on the healthcare and treatment services at the WLA Grounds. He has attempted to
    8 find an apartment through VASH but has not been able to find a landlord who is
    9 both willing to accept a VASH voucher and close enough to the WLA Grounds that
   10 he will not be cut off from his treatment team. He also applied for housing from the
   11 housing provider of one of the WLA Grounds buildings directly, but was rejected on
   12 the basis of exceeding the AMI eligibility because of his VA disability benefits.
   13        57.      As a result, Mr. Sessom lived in a tent on Veterans Row outside the
   14 WLA Grounds for four years before moving into one of the tiny sheds in early 2022.
   15 For Mr. Sessom, the sheds are not “home,” nor are they permanent. Shortly before
   16 the Original Complaint was filed, Mr. Sessom lost his shed and all his belongings
   17 when a fire destroyed his unit. As of this filing date, he has since moved into another
   18 shed, but fears every night when he goes to sleep that another fire will take his
   19 shelter, this time with him inside.
   20        58.      Mr. Sessom needs a place of his own close to the treatment and care
   21 that has often been his lifeline. He explains that sometimes his PTSD symptoms get
   22 so bad that he needs to be able to know that his VA treatment team is right there,
   23 within walking distance. Taking several buses to get to the VA in moments like this
   24 is simply not an option. Unfortunately, for now, being able to access his healthcare
   25 also means being homeless. It also means crying himself to sleep every single night.
   26        59.      Since the Original Complaint was filed, Mr. Sessom again has been
   27 rejected by the housing provider for housing on the WLA Grounds on account of his
   28                                          -24-
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    1 100% service-connected disability rating, combined with benefits from the Social
    2 Security Administration, providing him with compensation that exceeds AMI
    3 eligibility. In dire need of community and convenient access to VA services, Mr.
    4 Sessom will remain homeless until there is housing on the Grounds that does not bar
    5 him for receiving his non-income federal compensation.
    6                                   Laurieann Wright
    7        60.    Plaintiff Laurieann Wright is a 54-year old Air Force veteran. Ms.
    8 Wright has a 100% service-connected disability rating and is eligible for medical
    9 benefits from the VA. Because she resides in Los Angeles, Ms. Wright seeks
   10 treatment and housing from VAGLAHS. Ms. Wright does not want to live in an
   11 institution in order to receive services, nor does she want to again live in a tiny shed
   12 or other unsafe housing placement. She could be appropriately served in the
   13 community and does not oppose community-based services and housing.
   14        61.     Ms. Wright is originally from New York City. She joined the Air
   15 Force in 1985 and was active duty in communications, specifically Morse Code
   16 operation. She was stationed in both Italy and Greece, and took great pride in her
   17 service. During her assignment in Italy, she was sexually assaulted by her squadron
   18 commander. This caused extensive harm to her mental health, sense of self, and trust
   19 in those around her. A friend reported the incident, which led to a full-investigation.
   20 In 1989, she received an honorable discharge with cited medical needs, including
   21 antisocial personality disorder, which she believes was an effort to silence her after
   22 her assault. The investigation was closed with no official findings, despite the
   23 availability of witnesses willing to testify. Soon afterward, she continued her service
   24 in the Army Reserve in Ventura, California for six months. During this time, Ms.
   25 Wright started having seizures, which was later found to be a result of cerebral
   26 atrophy. She was again honorably discharged in 1990.
   27        62.    After her discharge, Ms. Wright sought help at the West LA Grounds.
   28                                          -25-
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    1 She had started using alcohol to self-medicate due to nightmares and symptoms of
    2 PTSD. The VA told her they could not help her. Without any resources to support
    3 her mental health, substance use, or worsening health conditions, she returned to
    4 Ventura, where she stayed for 23 years and had three children. There she admitted
    5 herself to a sober living program, but when it concluded, and fleeing an abusive
    6 relationship, she found her way to a women’s and children’s shelter in Oxnard,
    7 California. Meanwhile, her abuser kept her children away for prolonged periods, and
    8 his ability to rent a home allowed him to obtain sole custody.
    9        63.      In 2006, Ms. Wright returned to the VA because she found herself on
   10 the streets; however, she was still not offered housing. Instead, she was given a bed
   11 in the Domiciliary, where she was diagnosed with PTSD from military sexual
   12 trauma. From 2009 to 2012, she was in and out of the hospital and never housed.
   13 Ms. Wright also suffers from seizures, and often experiences painful falls as a result
   14 of her disability that can and have over the years resulted in broken bones, including
   15 once breaking her neck. She was eventually diagnosed with multiple sclerosis. Ms.
   16 Wright relies on treatment through VAGLAHS for her 100% service-connected
   17 disabilities.
   18        64.      Within two years of her diagnosis, she was told she had exhausted her
   19 options with the VA. She again found a sober living program, but it offered no
   20 veteran-specific services or support. Ms. Wright felt immense shame for her
   21 situation. She recalls that the VA would always refer her to different services. She
   22 ultimately found herself in a tent on the West LA Grounds around Thanksgiving in
   23 2021, after she was in the hospital following a seizure, but was told they had no
   24 more capacity for beds and were sending her to “Tent City.”
   25        65.      On Veterans Row, Ms. Wright met her partner, Plaintiff Castellanos,
   26 and after five months, together they obtained a double tiny shed placement. Ms.
   27 Wright reports that the tiny shed area often had no running water, but only a shared
   28                                           -26-
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    1 foot pump sink by the portable bathrooms that was often empty and always filthy,
    2 and a shared water hose that sometimes worked. There were no showers. She also
    3 recalls the rats throughout the space and under the tiny sheds. She has known
    4 several of her friends placed through CTRS who have died. There were also people
    5 with severe mental health needs that were not being addressed, and as a woman she
    6 feared for her safety while going to the bathrooms.
    7        66.    On September 9, 2022, Ms. Wright’s shared shed caught on fire, and
    8 she and her partner ran out of the shelter in only the clothes they were wearing. Ms.
    9 Wright screamed for help as her partner tried to use the water hose, which ultimately
   10 had no running water, and witnessed others trying to use a fire hydrant to no avail.
   11 The fire raged as only one security guard arrived and the fire spread to other sheds.
   12 She reports that it took 40 minutes for anyone else to arrive and help put out the
   13 fires. She was terrified as she saw the growing flames, and she and her partner stood
   14 and saw their only shelter burn along with all of their personal belongings, and items
   15 they had saved over time that supported their survival as unhoused veterans. Ten
   16 other sheds burned alongside theirs.
   17
   18
   19
   20
   21
   22
   23
   24
   25                                Laurieann Wright and the Tiny Shed Fire

   26        67.    Since losing her shed to the fire, she has not received housing support
   27 or other placement options through the VA program. Ms. Wright was never able to
   28                                         -27-
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    1 retrieve the rest of her items that were burned in the shed. She received some
    2 support from the Salvation Army and other individuals (i.e., not from the VA) to
    3 obtain her current placement in Lancaster, California, where she has stayed since
    4 October 7, 2022. This placement, however, comes at the expense of her sense of
    5 safety and privacy, and a great distance from her primary care provider and services
    6 she obtains through VAGLAHS at the West LA Grounds.
    7        68.    Since the Original Complaint was filed, these hurdles have grown.
    8 Almost every day in her neighborhood Ms. Wright hears gunshots, steps over
    9 hypodermic needles, has the local store owner monitor her walk home, and
   10 barricades her back door from intruders. And beyond being more than hour away
   11 from her primary caregiver even without the typical Los Angeles traffic, as of May
   12 11, the VA has discontinued the rideshare benefit extended as a result of the
   13 pandemic. Without a car, she now has no idea how she will access her eligible
   14 services at all. She needs accessible permanent supportive housing urgently.
   15                                  Samuel Castellanos
   16        69.    Plaintiff Samuel Castellanos is an Army veteran who will soon turn 60
   17 years old. Mr. Castellano is eligible for medical benefits from the VA. Because he
   18 resides in Los Angeles, Mr. Castellano seeks treatment and housing from
   19 VAGLAHS. He does not want to live in an institution in order to receive services,
   20 nor does he want to again live in a tent, car, tiny shed, or other unsafe housing
   21 placement. He could be appropriately served in the community and does not oppose
   22 community-based services and housing.
   23        70.    Mr. Castellanos joined the Army at 17 years old in 1980. All his life, he
   24 wanted to be a soldier. His family has a long history of service, and he greatly
   25 admired his grandfather who served through World War II. Mr. Castellanos’ first
   26 placement was in Germany, where he was involved in a combat support company.
   27 His platoon sergeant and squadron leader would harass and threaten him on a
   28                                         -28-
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    1 constant basis. One night as he slept, his tent was torn open and he was beat until he
    2 lost consciousness. Mr. Castellanos woke to find himself in a ditch. As a result of
    3 this constant harassment and harm, he went AWOL (absent without leave), not
    4 wanting to return to his platoon, but subsequently received a transfer to a different
    5 company. In 1983, he returned to the U.S. briefly, and then in 1984, was sent to
    6 South Korea for approximately 16 months. Mr. Castellanos said his experience was
    7 extremely challenging, but he was proud of his service—it was his dream. But he
    8 began to experience nightmares and symptoms of PTSD due to his military trauma.
    9        71.    Mr. Castellanos served in several countries based on the missions he
   10 supported outside of active duty, many of which remain confidential. He recalls that
   11 there was no time to process the trauma of witnessing the deaths of his friends, and
   12 describes feeling heartbreak related to the violence he witnessed and in attending
   13 funerals for other soldiers. After his last assignment with the National Guard, Mr.
   14 Castellanos was honorably discharged in 1997. He reports that upon returning home,
   15 he had great difficulty interacting with civilians. He continued to have PTSD
   16 symptoms, including severe nightmares where he has woken up hitting walls and
   17 unintentionally harming himself or those around him. He sought his own resources,
   18 which ultimately connected him to the VA.
   19        72.    Mr. Castellanos has been in and out of West LA since the 1980s, but
   20 continued to store many of his belongings there. In September 2020, while living in
   21 Denver, Colorado, he took a trip back to Los Angeles to visit his storage unit. He
   22 discovered his family had not been paying for the unit as he believed, and found
   23 himself in debt to the storage facility. The trip was supposed to last only a few days,
   24 and he decided to sell his motorcycle and use that money to return to Denver.
   25 However, on that first night in Los Angeles, his personal truck was stolen along with
   26 the motorcycle and all the rest of his belongings. He has been unhoused ever since.
   27 Mr. Castellanos ultimately ended up on the streets in the San Fernando Valley. At
   28                                         -29-
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    1 one point, he fell into such deep crisis that he admitted himself into a psychiatric
    2 hold for 18 days. Upon his release, he performed odd jobs to survive, and ultimately
    3 connected to the Sepulveda VA Medical Center, then to VAGLAHS.
    4        73.    In September 2021, Mr. Castellanos was in a CTRS tent before he
    5 obtained a double tiny shed in March 2022 with his partner, Plaintiff Wright. Mr.
    6 Castellanos was in their shed with Ms. Wright when, on September 9, 2022, a fire
    7 destroyed their shed along with several others. Mr. Castellanos reports that the VA
    8 immediately threw him out to the streets, offering no support, despite his now again
    9 having lost every single one his belongings. He received no support via an exit plan,
   10 food, or financial resources. Both he and Ms. Wright slept on the streets, in a car,
   11 and ultimately Ms. Wright obtained housing in Lancaster, California through
   12 another agency (where Mr. Castellanos also takes shelter under her HUD-VASH
   13 voucher). After several attempts of communication, they have been unable to
   14 retrieve their packages or mail from the West LA Grounds, which had remained
   15 their mailing address for a reasonable period after the destruction of their shed. He
   16 has a diagnosed, service-connected disability of PTSD, but given that he is now
   17 staying in Lancaster, he has been unable to access his appointments in West LA that
   18 would enable him to obtain the highest possible disability rating. Mr. Castellanos
   19 wants a home and not a temporary solution. He has an elderly mother who requires
   20 his care (although he now recognizes he could never subject his mother to the unsafe
   21 neighborhood where they currently are housed), and his own medical needs require
   22 stable and supportive housing.
   23                                      Joseph Fields
   24        74.    Plaintiff Joseph Fields is a 51-year old Army veteran from Los Angeles
   25 who grew up between Ventura and Riverside. Mr. Fields has a 100% service-
   26 connected disability rating and is eligible for medical benefits from the VA. Because
   27 he resides in Los Angeles, Mr. Fields seeks treatment and housing from
   28                                          -30-
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    1 VAGLAHS. He does not want to live in an institution in order to receive services,
    2 nor does he want to again live on the street or continue living in a tiny shed. He
    3 could be appropriately served in the community and does not oppose community-
    4 based services and housing.
    5        75.     Since he was a child, Mr. Fields always knew he wanted to join the
    6 armed forces. This was in part influenced by his grandfather, a man he deeply
    7 admired and a Korean War veteran, who helped raise him. In 1988, at 17 years-old,
    8 he joined the National Guard, began basic training, and completed his GED. After
    9 six months he was transferred to the Army, and trained for 15 weeks at the Fort Sill
   10 Field Artillery School. After this, he served with the National Guard for six months
   11 before going to Germany. It was hard work but Mr. Fields was extremely proud of
   12 his service.
   13        76.     In 1990, Mr. Fields began his assignment in Saudi Arabia at the onset
   14 of Operation Desert Shield. He was extensively trained in all aspects of the use of a
   15 howitzer—a long-range weapon with shells that weigh a minimum of 100 pounds.
   16 In December 1990, he joined a blockade with naval and air forces near the border of
   17 Iraq and Saudi Arabia. Mr. Fields believes he loaded and deployed at least fifty
   18 rounds from each howitzer. This was a physically challenging assignment because
   19 of the weight of the shells. He remained in the service in Saudi Arabia for
   20 approximately seven months, after which he returned to Germany, then to Fort
   21 Lewis, Washington. Mr. Fields reports that upon his return to the Unites States, he
   22 had difficulty relating with people, had difficulty with his chain of command, and
   23 began to self-medicate with alcohol.
   24        77.     After serving for more than three years, Mr. Fields received an
   25 honorable discharge along with a list of decorations, including an Army
   26 Commendation Medal, Army Achievement Medal, Southwest Asia Service Medal
   27 Ribbon, National Defense Service Ribbon, Overseas Ribbon, and Basic Training
   28                                       -31-
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    1 Ribbon.
    2        78.    Back in Riverside County, Mr. Fields began a family and worked at a
    3 carpet care and house cleaning job. However, he had nightmares and continued
    4 drinking to cope. Eventually, he was diagnosed with service-related PTSD and Gulf
    5 War Syndrome. He also suffers from immense back pain and ringing in his ears as a
    6 result of his weapons training and deployment.
    7        79.    Mr. Fields visited the VA in 2011 to get help to address his suicidal
    8 ideation and substance use. He first sought help from New Directions for Veterans.
    9 It was a terrible experience with no support or understanding from staff, so he
   10 ultimately entered the Domiciliary at the VA and received services from the
   11 National Center for PTSD. During this time he became addicted to painkillers.
   12        80.    Mr. Fields graduated from the clinical rehabilitation program with the
   13 Domiciliary in 2015. Left without housing, and still dealing with his mental
   14 disability and severe back pain, he ended up on the streets of San Vicente, where he
   15 found a community of veterans. During this time, Mr. Fields felt as if his life did not
   16 matter. He slept on a piece of cardboard on the sidewalk, panhandled for money,
   17 and often went hungry. He felt deep shame. Mr. Fields has seen more people die on
   18 the sidewalks of Los Angeles than during his time in Saudi Arabia.
   19        81.    For almost one year now he has been living in a tiny shed, which he
   20 compares to a medical cell in a county jail. There is no bathroom, sink, or lock on
   21 the door, and the bed is more like a hammock. He was told this was his only option,
   22 unless he wanted to end up back on the streets.
   23        82.    Since the Original Complaint was filed, Mr. Fields has now been
   24 approved for housing on the WLA Grounds in one of the buildings that opened in
   25 May 2023. He is still completing the process and has not yet been assigned a unit.
   26 Therefore, he is still currently unhoused and the “permanency” of the new
   27 assignment is still unknown, which leaves him at continued risk of future
   28                                         -32-
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    1 homelessness.
    2                                     Lavon Johnson
    3        83.    Plaintiff Lavon Johnson is a 36-year-old Army veteran with severe
    4 disabilities as a result of his service. Mr. Johnson has a 100% service-connected
    5 disability rating and is eligible for medical benefits from the VA. Because he resides
    6 in Los Angeles, Mr. Johnson seeks treatment and housing from VAGLAHS. He
    7 does not want to live in an institution in order to receive services, nor does he want
    8 to again live in a tent or continue living in a tiny shed. He could be appropriately
    9 served in the community and does not oppose community-based services and
   10 housing.
   11        84.    Mr. Johnson was born in Heidelberg, Germany to two military service
   12 members. His grandfather also served. He wanted to follow in the family tradition,
   13 and make his father proud. He enlisted in the Army in June 2004, giving up his
   14 German citizenship to do so.
   15        85.    In February 2005, as a 19-year-old, Mr. Johnson was featured in an
   16 “Army of One” commercial, which he uploaded to the internet in October 2011.39 In
   17 the commercial, Mr. Johnson is introduced to the team, and told he will be “working
   18 on the 120 today”—a Black Hawk military helicopter. He stands there strong,
   19 beaming, with a bright beautiful smile. Asked, “Have you ever been around
   20 anything this fast before,” a montage scene of helicopters in combat flashes, and he
   21 responds, “Yeah, in my last job.” The commercial ends with a narrator voiceover:
   22 “See how Army training gives you strength for now, strength for later, at
   23 GOARMY.com. Parts of the video are stamped with “Paid for by the U.S. Army.”
   24        86.     Mr. Johnson served 4.9 years, including in Iraq during the time of
   25 Saddam Hussein’s capture and execution and where he lost his best friend due to
   26
        39
   27     Lavon Johnson, My Last Job R2Lg001.mpg, YouTube (Oct. 19, 2011),
        https://www.youtube.com/watch?v=tvjuIbm8060.
                                             -33-
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    1 mortar fire. After an honorable discharge that came with a meager $1,000 check, he
    2 was immediately homeless. At first, he was homeless in Fort Worth, Texas, closer to
    3 where his mother lived. But he found the VA shelter and health care systems to be
    4 unworkable. Eventually, he moved to Los Angeles. He has now been homeless for
    5 10 years. He has applied for housing directly, but has been rejected by a housing
    6 provider on the WLA Grounds on the basis of exceeding AMI eligibility because of
    7 his VA disability benefits.
    8        87.    Mr. Johnson has mental illness and anger issues, and has been
    9 prescribed multiple medications by the VA, which have not worked. He has sought
   10 counseling, but feels it only retraumatized him.
   11        88.    Mr. Johnson used to write and play the piano. For him, playing piano
   12 “soothes the soul.” But his combat experience and consequent mental illness and
   13 homelessness have taken those joys from him. While living in the encampment on
   14 Veterans Row, he had a piano next to his tent, which he had rescued from a nearby
   15 trash. He was known by both fellow encampment residents and local passers-by for
   16 playing classical music. He even built a shelter for it. But when the VA cleared out
   17 the encampment in November 2021, they took the piano, and, although he was told
   18 he could access it there any time, the room where it is stored is always locked.
   19        89.    Since the Original Complaint was filed, Mr. Johnson has been formally
   20 denied housing by a housing provider on the WLA Grounds on account of his 100%
   21 service-connected disability rating plus special monthly compensation providing
   22 him with compensation that exceeds AMI eligibility. He was also forced to leave his
   23 CTRS tiny shed when an electrical fire began, allegedly due to a phone charger. He
   24 then set up a tent outside the gate of the VA Grounds, where he lived for a few
   25 weeks until—less than one week ago—VA police cleared his encampment,
   26 disposing of his tent and all his personal belongings.
   27
   28                                           -34-
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    1                                     Billy Edwards
    2        90.    Plaintiff Billy Edwards is a 76-year-old Army Veteran with severe
    3 disabilities resulting from his service. Mr. Edwards is eligible for medical benefits
    4 from the VA. Because he resides in Los Angeles, Mr. Edwards seeks treatment from
    5 VAGLAHS. Mr. Edwards does not want to live in an institution in order to receive
    6 services, nor does he want to continue living on the street or live in a tiny shed. He
    7 could be appropriately served in the community and does not oppose community-
    8 based services and housing.
    9        91.    Mr. Edwards is an Army Veteran who was drafted into military service
   10 in January 1966. He then served along the demilitarized zone (DMZ) of Korea for
   11 13 months between May 1966 and June 1967. During that time (especially
   12 concentrated from late 1966 through 1969), there was significant military
   13 confrontation that included guerrilla warfare and terrorism directed against the
   14 people of South Korea and the Americans serving there. Mr. Edwards experienced
   15 dangerous and violent hand-to-hand combat, and is haunted by memories of the
   16 atrocities he witnessed.
   17        92.    Almost certainly a result of his combat experience, he developed a
   18 mental health condition alongside several physical disabilities, including paralysis of
   19 the sciatic nerve, intervertebral disc syndrome, lumbosacral condition, paralysis of
   20 the median nerve, and tinnitus with 93% hearing loss. Mr. Edwards’ physical and
   21 mental disabilities have made it difficult to work.
   22        93.    Following his combat experience, he continued serving in active duty
   23 until May 1968 and then the reserves until May 1972, at which time Mr. Edwards
   24 received an honorable discharge. He has experienced homelessness since. He must
   25 take a bus from where he usually camps to the WLA Grounds to get medical
   26 treatment. Because Mr. Edwards does not have an address, he has difficulty
   27 receiving mail or storing his belongings, including his cell phone.
   28                                           -35-
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    1                                       Jessica Miles
    2         94.   Plaintiff Jessica Miles is a 36-year-old resident of Los Angeles County
    3 and Army veteran with severe disabilities as a result of her military service. Ms.
    4 Miles has a 100% service-connected disability rating and is eligible for medical
    5 benefits from the VA. Because she resides in Los Angeles, Ms. Miles seeks
    6 treatment from VAGLAHS. Ms. Miles does not want to live in an institution in
    7 order to receive services, nor does she want to again live in a tent or her car or
    8 continue living in a tiny shed. She could be appropriately served in the community
    9 and does not oppose community-based services and housing.
   10         95.   Ms. Miles enlisted in the Army at the age of 18, just out of high school.
   11 She served from 2005-2007. In 2006, she became pregnant and attempted to utilize
   12 the military’s family care plan to request a discharge.
   13         96.   Immediately following her discharge, Ms. Miles was homeless for 10
   14 months, during which her then-infant daughter went to live with her family. Since
   15 first becoming homeless in 2007, Ms. Miles has been homeless more than 14 times
   16 due to her continued struggle with PTSD.
   17         97.   Ms. Miles suffered extensive damage to her upper vertebrae as a result
   18 of the physical strain of the Army’s weapons training. She suffers from extreme
   19 back pain. She has bilateral arthritis and a dislocated hip that, untreated, also
   20 developed into arthritis. She is prescribed both a walker and a cane to assist with
   21 mobility issues. The lack of support services made available to her to feel
   22 overwhelmed, frustrated, and traumatized. Specifically, she struggles with PTSD
   23 and major depressive disorder, experiences panic attacks if in public for an extended
   24 time, and finds it difficult to interact with civilians. Both her visible and invisible
   25 injuries have made it challenging for Ms. Miles to maintain steady employment.
   26         98.   When she first arrived in California with her daughter in January 2019,
   27 Ms. Miles visited the VA to obtain a referral for a chiropractor to continue receiving
   28                                          -36-
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    1 treatment. In West LA, Ms. Miles has received numerous unsafe housing
    2 placements—including experiencing assault—and her complaints to the VA have
    3 gone unaddressed. At first, she was not offered any support at the West LA
    4 Grounds, but was instead directed to VASH, which provided a temporary housing
    5 placement in Palmdale in January 2020.
    6        99.    In July 2021, Ms. Miles returned to West LA, where she was placed in
    7 a tent on the VA Grounds until she was placed in a tiny shed in November. This
    8 move required her to separate from her daughter who was not allowed to join her
    9 there. She continues to live in the tiny shed. At the tiny shed location, the showers
   10 remain broken for months, there is little privacy, there is no hot water, and the
   11 portable bathrooms are unsanitary.
   12        100. On August 4, 2022, after raising several concerns to staff about
   13 harassment and her own need for resources, Ms. Miles was locked out of her shed
   14 by a social worker without any advance warning. Reasons cited for her eviction
   15 included accusations of loud music and disrespect to staff—both of which Ms. Miles
   16 denies. Left without any other options, Ms. Miles ended up in a motel until social
   17 media support led to a petition to readmit her into the program, which resulted in her
   18 readmission after a week. However, these VA allegations follow Ms. Miles around
   19 nationally as behavior flags in her chart, which adversely impacts any future
   20 services she might otherwise receive.
   21        101. Feeling failed by the VA, Ms. Miles has herself advocated with the
   22 Brentwood community counsel and the director of CTRS, but has still not received
   23 support or other relief relating to her numerous grievances, including the lack of
   24 accommodation for female veterans. Ms. Miles says she wants a home, not a
   25 temporary placement. Ms. Miles continues to advocate for all veterans, but
   26 especially female veterans her own observation and experience make clear the
   27 system is not working to accommodate.
   28                                            -37-
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    1        102. Since the filing of the Original Complaint, Ms. Miles has again been
    2 rejected for housing on the WLA Grounds, this time by the Westwood Transitional
    3 Village, housing sponsored by The Salvation Army for homeless families, including
    4 veterans with families, on two purported bases: (1) that her daughter is not currently
    5 living with her, even though (a) that is a direct result of Ms. Miles’ housing
    6 situation, and would be altered by receiving such housing, and (b), as a proxy for her
    7 daughter’s physical presence, she was requested to provide—and provided—a
    8 notarized letter showing she holds custody; and (2) based on an inappropriate and
    9 improper assumption that, once admitted, she would not participate in case
   10 management.
   11                                         Doe 140
   12        103. Plaintiff Doe 1 is a 51-year old Navy veteran who served from 1990 to
   13 1993. She is a resident of Los Angeles County and has severe disabilities as a result
   14 of her military service. Doe 1 has a 60% service-connected disability rating and is
   15 eligible for medical benefits from the VA. Because she resides in Los Angeles, Doe
   16 1 seeks treatment from VAGLAHS. Doe 1 does not want to live in an institution in
   17 order to receive services, nor does she want to again live in her car or on the street
   18 or continue living in a tiny shed. She could be appropriately served in the
   19 community and does not oppose community-based services and housing.
   20        104. Doe 1 was medically discharged because of migraine headaches. In
   21 early 2022, Doe 1 moved to San Diego, fleeing an abusive marriage. She began
   22 renting a room through a veteran’s assistance agency. She then became homeless
   23 and lived in her car until the car eventually needed repair work. She then lived on
   24 the streets of Vista, California for one week while waiting for it to be repaired.
   25 40
        Plaintiffs intend to seek leave of the Court and file a motion to proceed under
   26 pseudonyms and for a protective order on behalf of Does 1-2 once Plaintiffs have
   27 the opportunity to meet and confer with counsel for Defendants pursuant to C.D.
      Cal. Local Rule 7-3.                      -38-
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    1        105. She next went to transitional veterans housing in Long Beach,
    2 California. The transitional housing lacked privacy and felt like a jail. She next went
    3 to the West LA tiny sheds. This allowed her to be closer to the VA medical facilities
    4 where she receives extensive medical services for her migraines. However, she feels
    5 the tiny sheds are inadequate to serve the needs of her and her fellow veterans. They
    6 do not accommodate her migraines and tinnitus. Nor are they helpful for someone
    7 who is starting her life over after an abusive marriage.
    8        106. Since the Original Complaint was filed, Doe 1 has now received
    9 housing on the WLA Grounds in one of the buildings that opened in May 2023.
   10 However, given the extreme recentness of this development, the “permanency” of
   11 the new assignment is still unknown, which leaves her at continued risk of future
   12 homelessness.
   13                                  Joshua Robert Petitt
   14        107. Plaintiff Joshua Robert Petitt is a 39-year old Army veteran who served
   15 from 2001 to 2008. Mr. Petitt has severe disabilities as a result of his military
   16 service. Mr. Petitt has a 100% service-connected disability rating and is eligible for
   17 medical benefits from the VA. Because he resides in Los Angeles, Mr. Petitt seeks
   18 treatment from VAGLAHS. Mr. Petitt does not want to live in an institution in order
   19 to receive services, nor does he want to again live on the street or continue living in
   20 a tiny shed. He could be appropriately served in the community and does not oppose
   21 community-based services and housing.
   22        108. Mr. Petitt grew up in Whittier, California. He enlisted on September 13,
   23 2001, in response to the September 11 terrorist attacks. He was deployed to Iraq
   24 from 2004 to 2005. While serving in an infantry unit in Anbar province, he endured
   25 some of the most violent combat operations of the Iraq War, including the battles of
   26 Fallujah and Ramadi. He was awarded three purple hearts. About half of the
   27 approximately 600 soldiers in his unit were either killed or wounded.
   28                                          -39-
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    1        109. Mr. Petitt returned from Iraq in 2005 and began suffering from PTSD.
    2 He was beset by nightmares. He would wake up in the middle of the night and
    3 believe he was still in Iraq. He reported his mental health symptoms up the chain of
    4 command, but was ostracized. He started using drugs to self-medicate. He left the
    5 Army with an honorable discharge.
    6        110. Mr. Petitt divorced in 2010 and became unhoused. He has not worked
    7 in 10 years. He started going to the VA for mental health services about 10 years
    8 ago. He has a diagnosed, service-connected disability of PTSD. He also has knee,
    9 back, and hearing issues. He lives at the tiny shed park on the WLA Grounds after a
   10 long period living on the street outside of the Grounds.
   11        111. Since becoming homeless in Los Angeles, Mr. Petitt’s case worker has
   12 repeatedly told him that he was ineligible for the new VA housing that is currently
   13 under construction because his VA disability compensation is deemed too high.
   14 However, his monthly compensation cannot independently afford him housing near
   15 the WLA Grounds, where he needs to live because of the extensive supportive
   16 services he receives for his PTSD, and because of the support he requires from
   17 living in a veteran community to help control his anger.
   18        112. Since the Original Complaint was filed, Mr. Petitt has been approved
   19 for housing on the WLA Grounds in one of the buildings that opened in May 2023.
   20 He is still completing the process and has not yet been assigned a unit. Therefore, he
   21 is still currently unhoused and the “permanency” of the new assignment is still
   22 unknown, which leaves him at continued risk of future homelessness.
   23                                    Glenn Surrette
   24        113. Plaintiff Glenn Surrette is a 65-year old veteran with severe disabilities
   25 as a result of his military service. Mr. Surrette has a 70% service-connected
   26 disability rating and is eligible for medical benefits from the VA. Because he resides
   27 in Los Angeles, Mr. Surrette seeks treatment from VAGLAHS. Mr. Surrette does
   28                                          -40-
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    1 not want to live in an institution in order to receive services, nor does he want to
    2 again live in his car or on the street or continue living in a tiny shed. He could be
    3 appropriately served in the community and does not oppose community-based
    4 services and housing.
    5         114. Mr. Surrette was born in Hartford, Connecticut, and moved to Los
    6 Angeles at the age of twelve. After high school, he enlisted in the National Guard in
    7 August 1977. He then transferred to the Army, where he served until December
    8 1979.
    9         115. In 1979, he received an honorable discharge on account of mental
   10 health issues and was admitted to Darnell Army Hospital. After his release from
   11 Darnell, he returned to Los Angeles, and received his exit physical in Long Beach.
   12 The VA recognizes his service-connected disabilities.
   13         116. After his discharge, Mr. Surrette worked in Los Angeles for several
   14 years. But in 2017, while working for the VA, he was terminated suddenly.
   15 Following his termination, he suffered an arm injury that resembled a stroke. He
   16 also became homeless. He had a car at the time, so initially stayed in the car with his
   17 girlfriend. Periodically they would spend one or two nights in a hotel for a break and
   18 to clean themselves. Then for two months they received housing from Volunteers of
   19 America.
   20         117. Mr. Surrette has since been offered housing through HUD/VASH and
   21 PATH, but he was told that he could not live with his girlfriend. Thus, he felt he
   22 could not accept. If he were offered housing where he could live with his girlfriend
   23 and come and go as he pleases, he would accept it.
   24                                     Naryan Stibbie
   25         118. Plaintiff Naryan Stibbie is an 85-year-old resident of Los Angeles
   26 County, California. Mr. Stibbie is a veteran who became severely disabled resulting
   27 from his service to this country. Mr. Stibbie has a 100% service-connected disability
   28                                           -41-
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    1 rating and is eligible for medical benefits from the VA. Because he resides in Los
    2 Angeles, Mr. Stibbie seeks treatment from VAGLAHS. Mr. Stibbie does not want to
    3 live in an institution in order to receive services, nor does he want to again live in
    4 his car or on the street or live in a tiny shed. He could be appropriately served in the
    5 community and does not oppose community-based services and housing.
    6         119. Mr. Stibbie is a Navy veteran who served on destroyer warships in the
    7 late 1950s. He developed mental health symptoms resulting from his experiences.
    8 He has tinnitus and hearing loss because of extreme noise exposure from heavy
    9 machinery and blaring gunfire. He also suffers from continuing knee and back pain
   10 since a fall in service. Mr. Stibbie struggled through these disabilities for many
   11 years, building a small business as a building contractor. By about 2002, his
   12 disabilities made it impossible to continue working in the construction industry. His
   13 age, disabilities, and limited vocational experience significantly narrowed any
   14 further employment opportunities.
   15         120. Mr. Stibbie began to experience homelessness, cycling between
   16 shelters and the street. Mr. Stibbie was housed in a motel by the Salvation Army
   17 during much of the COVID-19 pandemic. In May 2022, he was deemed no longer
   18 eligible for their housing services. Since then, he has lived in his car, sleeping in
   19 various locations in the Los Angeles harbor area. He has navigated the labyrinth of
   20 homelessness services in Los Angeles County throughout the summer of 2022, but
   21 to no avail. He continues to struggle to find Permanent Supportive Housing that
   22 meets the needs of both his age and disabilities.
   23                                           Doe 2
   24         121. Plaintiff Doe 2 is a 61-year old Army veteran who served from 1979 to
   25 1982. Doe 2 is a resident of Los Angeles County with severe disabilities as a result
   26 of his military service. Doe 2 has a 100% service-connected disability rating and is
   27 eligible for medical benefits from the VA. Because he resides in Los Angeles, Doe 2
   28                                          -42-
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    1 seeks treatment from VAGLAHS. Doe 2 does not want to live in an institution in
    2 order to receive services, nor does he want to again live on the street or continue
    3 living in a tiny shed. He could be appropriately served in the community and does
    4 not oppose community-based services and housing.
    5        122. Doe 2 grew up outside Philadelphia and enlisted in the Army right after
    6 high school. After completing basic training, he entered the artillery service. He
    7 spent the next 26 months in Germany. He returned to the United States in 1982 and
    8 was issued an honorable discharge.
    9        123. After leaving the service, he initially worked odd jobs with his uncle,
   10 and then moved to Los Angeles to work as an extra on film sets. Eventually, work
   11 dried up and he became unhoused. He started staying at the Salvation Army shelter
   12 in or around 2012. He also spent time sleeping on the street.
   13        124. Doe 2 came to the WLA Grounds to live at the tiny shed park in early
   14 2022. He has a diagnosed, service-connected disability of PTSD. His mental health
   15 symptoms have made it difficult to access and maintain housing on his own. He
   16 experiences elevated paranoia due to his PTSD. He can only sleep three to four
   17 hours per night. He is constantly tired. He fears people will steal from him while he
   18 is sleeping. He has deep trust issues. He requires deep supportive care.
   19        125. Doe 2’s PTSD was further exacerbated by the fire at the tiny shed
   20 complex in September 2022. Not only did his shed burn down, but this was a near-
   21 death experience for him and his dog. Staying in the tiny sheds feels both depressing
   22 and dangerous.
   23        126. Since the Original Complaint was filed, Doe 2 has been approved for
   24 housing on the WLA Grounds in one of the buildings that opened in May 2023. He
   25 has been assigned a unit but has not yet received a move-in date. Therefore, he is
   26 still currently unhoused and the “permanency” of the new assignment is still
   27 unknown, which leaves him at continued risk of future homelessness.
   28                                       -43-
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    1                            National Veterans Foundation
    2        127. Plaintiff National Veterans Foundation (“NVF”) is a veteran-run
    3 organization located in Los Angeles that provides life-sustaining services for
    4 veterans throughout the country, but in particular for unhoused veterans living on
    5 the streets of Los Angeles. The NVF’s Homeless Veteran Outreach Program
    6 provides outreach missions each week to areas of Los Angeles with high
    7 concentrations of homeless individuals to assist unhoused veterans living in
    8 encampments and other circumstances obtain food, water, and, for the past few
    9 years, supplies to reduce the likelihood of contracting COVID-19. The Street
   10 Outreach team identifies homeless veterans and works to get them into programs
   11 that will get them off the streets. This work is an integral part of NVF’s mission to
   12 stop veteran suicide, the rates of which are double that of non-veteran counterparts.
   13 Although the VA estimates that 17 veterans die each day from suicide, the number
   14 may be much higher—perhaps up to 44—because of misreported service records
   15
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   28                                           -44-
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    1 and underreported accidental overdose deaths.41
    2
    3
    4
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    6
    7
    8
    9
   10
   11                  Homeless encampment near Interstate 10 where NVF Street Outreach team visits
                                             (Credit: Malka Zeefe, 2022)
   12
   13        128. This year is the 37th anniversary of the NVF. The NVF’s Founder and

   14 President, Shad Meshad, has worked as a therapist for veterans and as a nationally-
   15 renowned advocate for veterans’ rights, including the end of veteran homelessness.
   16 Mr. Meshad has a Masters degree in psychiatric social work from Florida State
   17 University. He enlisted in the army in 1970 and served as a counselor for U.S.
   18 soldiers in Vietnam. Upon his return to the U.S., Mr. Meshad founded and directed
   19 the Vietnam Veterans Re-Socialization Unit at the VA Hospital in Los Angeles.
   20 This first of its kind program focused on readjustment challenges faced by Vietnam
   21 veterans, many leading to homelessness. Mr. Meshad was among the first to study
   22 what is now known as PTSD. He has served on the faculty of the International
   23 Critical Incident Foundation, as President and Board member of the Association of
   24 Traumatic Stress Specialists and on the Board of Directors of the Green Cross
   25 41
        Leo Shane III, Veterans suicide rate may be double federal estimates, study
   26 suggests, Military Times (Sept. 17 2022),
   27 https://www.militarytimes.com/veterans/2022/09/17/veterans-suicide-rate-may-be-
      double-federal-estimates-study-suggests/.-45-
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    1 Project. The U.S. government called upon Mr. Meshad to help train the critical
    2 incident and trauma teams at Ground Zero in the wake of September 11. He has
    3 devoted his life to assisting veterans to heal and readjust from the tragic
    4 consequences of service to the nation, including homelessness and lack of access to
    5 necessary mental and medical services.
    6        129. NVF sues on behalf of its members and constituents, who are homeless
    7 and at-risk veterans with SMI and TBI.
    8        130. Plaintiffs have severe mental impairments that substantially limit one or
    9 more major life activities. They are, therefore, people with disabilities for purposes
   10 of the Rehabilitation Act.
   11        131. Plaintiffs are veterans who are eligible for VA health and housing
   12 services. They are, therefore, qualified for VA programs for purposes of the
   13 Rehabilitation Act.
   14        132. Defendant Denis Richard McDonough is the Secretary of the VA.42 He
   15 is sued in his official capacity. The VA is a federal agency with headquarters in
   16 Washington, D.C. and is covered by the Rehabilitation Act.43 The VA is the
   17 successor entity to the National Home for Disabled Volunteer Soldiers and was
   18 previously named the Veterans Administration.44
   19        133. Defendant McDonough oversees the Veterans Health Administration
   20 (“VHA”), which operates the United States’ largest integrated health care system
   21 consisting of 171 medical centers and numerous community-based outpatient
   22 clinics, community living centers, veteran centers and domiciliaries. VHA is part of
   23 42
         U.S. Dep’t Vet. Aff., Secretary of Veterans Affairs,
   24 https://www.va.gov/opa/bios/secva.asp (last updated Feb. 9, 2021).
      43
   25    U.S. Dep’t Vet. Aff., VA Central Offices,
      https://www.va.gov/directory/guide/hq.asp (last updated Nov. 3, 2021).
   26 44
         Nat’l Park Serv., History of the National Home for Disabled Volunteer Soldiers,
   27 https://www.nps.gov/articles/history-of-disabled-volunteer-soldiers.htm (last
      updated Nov. 14, 2017).                   -46-
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    1 the VA, and, therefore, is covered by the Rehabilitation Act.45
    2        134. Defendant McDonough’s official duties as Secretary of the VA include
    3 the proper execution and administration of all laws and programs administered by
    4 the VA and the control, direction, and management of the VA.46 As Secretary of the
    5 VA, Defendant McDonough has the ultimate responsibility for ensuring that the VA
    6 and its constituent agencies and programs comply with relevant federal law,
    7 regulations, and policies, as well as ensuring that the VA maintains compliance with
    8 contracts and land grants such as the 1888 deed referenced in this Complaint.
    9        135. Defendant Marcia L. Fudge is the Secretary of the Department of
   10 Housing and Urban Development (HUD).47 She is sued in her official capacity.
   11 HUD is a federal agency headquartered in Washington, D.C. and is covered by the
   12 Rehabilitation Act.48 HUD is responsible for funding local Public Housing Agencies
   13 (PHAs), which provide housing assistance and other benefits to veterans with
   14 disabilities across the country.49
   15        136. Defendant Fudge’s official duties as Secretary of HUD include the
   16 coordination of Federal policies affecting housing and oversight of the distribution
   17 of federal funding for housing construction and vouchers.50 Under Secretary
   18 Fudge’s leadership, HUD is authorized to fund construction of public housing,
   19 including, on information and belief, veteran housing, and to fund HUD-Veterans
   20 Affairs Supportive Housing (“HUD-VASH”) vouchers to provide rental assistance
   21 45
         U.S. Dep’t Vet. Aff., About VHA, https://www.va.gov/health/aboutVHA.asp (last
   22 visited Nov. 14, 2022).
      46
   23 47 See 38 U.S.C. § 303.
         U.S. Dep’t of Hous. & Urb. Dev., Marcia L. Fudge,
   24 https://www.hud.gov/about/leadership/marcia_fudge (last visited Apr. 25, 2023).
      48
   25    U.S. Dept. of Hous. & Urb. Dev., About HUD, https://www.hud.gov/about (last
      visited Apr. 25, 2023).
   26 49
         U.S. Dep’t. of Hous. & Urb. Dev., Questions and Answers About HUD,
      https://www.hud.gov/about/qaintro (last visited Apr. 25, 2023).
   27 50
         42 U.S.C. § 3532.                    -47-
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    1 for homeless veterans.
    2        137. Defendant Steven Braverman is the Director of VAGLAHS. He is sued
    3 in his official capacity. VAGLAHS is part of the VA and maintains its headquarters
    4 in Los Angeles, California, and serves veterans in Los Angeles, Ventura, Santa
    5 Barbara, San Luis Obispo, and Kern counties in Southern California.51 VAGLAHS
    6 is one of eight health care systems operated by VA Desert Pacific Healthcare
    7 Network to provide preventive and primary care, acute hospital care, mental health
    8 services, specialty care, and long-term care to veterans.52
    9        138. Defendant Braverman’s official duties as Director of VAGLAHS
   10 include supervising the day-to-day operations and services offered by all the
   11 institutions operated by VAGLAHS, including all programs operated at the WLA
   12 Grounds, and ensuring that VAGLAHS complies with relevant federal law,
   13 regulations, and policies. As the Director of VAGLAHS, Defendant Braverman is
   14 the VAGLAHS official with final responsibility and authority to approve, modify,
   15 or terminate programs or services offered as part of the VHA benefits delivered by
   16 VAGLAHS;53 and he is the VAGLAHS official with ultimate responsibility and
   17
   18 51 U.S. Dep’t Vet. Aff., VA Greater Los Angeles Health Care,
   19 https://www.va.gov/greater-los-angeles-health-care/ (last visited Nov. 14, 2022);
      Press Release, U.S. Dep’t Vet. Aff., Greater Los Angeles VA Offers Services for
   20 Veterans Experiencing Homelessness 2 (Oct. 14, 2021),
   21 https://www.va.gov/files/2021-
      12/SV%20Encampment%20Sweep%20PR_Nov21_FINAL.pdf.
   22 52
         U.S. Dep’t Vet. Aff., About the VA Desert Pacific Healthcare Network,
   23 https://www.desertpacific.va.gov/DESERTPACIFIC/about/index.asp (last visited
      Nov. 14, 2022).
   24 53
         See, e.g., Steven Braverman, LinkedIn,
   25 https://www.linkedin.com/in/bravermansteven? (“Provides full delegated line
      authority and responsibility for executive-level management with overall
   26 responsibility for planning, organizing, directing, coordinating, controlling,
   27 reviewing, evaluating and improving medical, administrative, and supporting
      operations of a health care system.”) . -48-
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    1 authority to approve specific uses of the WLA Grounds, including entering into land
    2 use agreements with private and public entities.54
    3        139. Defendant Douglas Guthrie is the President and Chief Executive
    4 Officer of the Housing Authority for the City of Los Angeles (HACLA). HACLA is
    5 the public housing authority for Los Angeles. He is sued in his official capacity.55
    6        140. Defendant Guthrie oversees one of the nation’s largest public housing
    7 authorities (PHA), which is responsible for administering nearly 6,500 public
    8 housing units, and 27,000 housing units for the homeless. These units represent 44%
    9 of HACLA’s overall housing voucher and certificate allocations. As PHAs receive
   10 federal funding from HUD, they are covered by the Rehabilitation Act.56
   11        141. Defendant Keith Harris is the senior executive homelessness agent of
   12 VAGLAHS. He is sued in his official capacity.57
   13        142. Defendant Harris’ official duties as senior executive homelessness
   14
   15 54
         See U.S. Dep’t Vet. Aff., GLA Master Plan 2022-2027 3, https://draft-master-
   16 plan-
   17 assets.s3.amazonaws.com/media/uploads/2021/08/19/GLA_Master_Plan_2022-
      2027_Information.pdf; U.S. Dep’t Vet. Aff., Decision Tree- GLA Asset
   18 Management Review: VAGLAHS Land Use & Event Proposal, https://draft-master-
   19 plan-
      assets.s3.amazonaws.com/media/uploads/2019/10/18/LU_Handouts_Draft_0913201
   20 9.pdf; U.S. Dep’t Vet. Aff., Master Plan 2022 III, 7 (Mar. 28, 2022), https://draft-
   21 master-plan-assets.s3.amazonaws.com/media/uploads/2022/04/12/2022-03-
      18_WLA-VA-Master-Plan-Signed.pdf (“2022 Master Plan”); W. L.A. VA Med.
   22 Ctr., Veterans Programs Enhancement Act of 1998 (VPEA) Draft Master Plan 10
   23 (Jan. 2011), available at https://www.scribd.com/document/48127448/WLA-VA-
      Draft-Master-Plan (“2011 Draft Master Plan”).
   24 55
         Hous. Auth. for the City of Los Angeles, President and CEO,
      https://www.hacla.org/en/about-us/president-and-ceo (last visited Apr. 25, 2023).
   25 56
         Questions and Answers About HUD, supra note 55.
   26 57
         Press Release, U.S. Dep’t Vet. Aff., Newly Created VA Senior Level Post to
   27 Coordinate Veteran Homelessness Effort in Greater Los Angeles 1 (Dec. 22, 2021),
      https://www.va.gov/opa/pressrel/includes/viewPDF.cfm?id=5749.
                                               -49-
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    1 agent of VAGLAHS include implementing the master plan for the WLA Grounds
    2 and supervising thousands of employees who provide outreach, case management,
    3 health care and housing services to veterans experiencing or at risk of
    4 homelessness.58
    5                             FACTUAL ALLEGATIONS
    6        143. As then-Secretary of the VA, Eric K. Shinseki, said in 2009, “[t]hose
    7 who have served this nation as Veterans should never find themselves on the streets,
    8 living without care and without hope.”59 During Secretary McDonough’s February
    9 2022 visit to Los Angeles, he asserted that the funding, partnerships, and other tools
   10 necessary to reduce homelessness exist. But the VA has not, over the past 23 years,
   11 applied the “energy and effort needed to finish the job.”60 During his recent visit to
   12 attend the ribbon-cutting of two long-awaited housing buildings on the VA Grounds,
   13 he said, “Until we’ve fully housed every veteran, we will be unsatisfied and we’ll
   14 keep working this.”61
   15        144. Yet, tragically, tens of thousands of veterans still find themselves
   16 homeless and in need of medical and mental health care every night, often as
   17 consequence of service-related disabilities.62
   18
   19 58
         Id.
   20   59
         Press Release, U.S. Dep’t. Vet. Aff., Secretary Shinseki Details Plan to End
   21 Homelessness for Veterans (Nov. 3, 2009),
      https://www.va.gov/opa/pressrel/pressrelease.cfm?id=1807.
   22 60
         Nikki Wentling, Q&A with VA Secretary Denis McDonough About Veteran
   23 Homelessness in Los Angeles, Stars and Stripes (Mar. 16, 2022),
      https://www.stripes.com/veterans/2022-03-16/veterans-affairs-homeless-los-
   24 angeles-mcdonough-5364948.html.
      61
   25    Nick Gerda, Unhoused Veterans Will Get New Apartments in West LA, Though
      VA Is Years Behind On Its Promises, LAist (May 2, 2023),
   26 https://laist.com/news/housing-homelessness/west-la-va-campus-housing-homeless-
      veterans-affairs.
   27 62
         2020 AHAR Report, supra note 4, at 52. -50-
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    1             Veterans Are Especially Susceptible to Serious Mental Illness
                                      and Homelessness
    2
              145. The U.S. Department of Housing and Urban Development (“HUD”)
    3
        has estimated that 37,252 veterans were homeless on any given night.63 Although
    4
        the number of unhoused veterans was reduced for a time, progress has stalled since
    5
        2016.64 As recognized by the VA, “both male and female veterans are at greater risk
    6
        for homelessness than their non-veteran counterparts . . . .” 65
    7
              146. Although reliable data is difficult to find, recent veterans who served in
    8
        Operation Iraqi Freedom or Operation Enduring Freedom are at high risk of
    9
        becoming homeless. In December 2010, the U.S. Department of Housing and Urban
   10
        Development (HUD) estimated that at least 12,700 veterans under the age of 30—
   11
        likely comprising veterans who served in Iraq or Afghanistan—were homeless,66
   12
        and that number has almost certainly grown as additional service members have left
   13
        military service in the last twelve years.
   14
              147. Women veterans are also particularly vulnerable to homelessness. In
   15
        2016, VA’s National Center on Homelessness Among Veterans (NCHAV)
   16
        published a report finding that women veterans are “more than twice as likely as
   17
        non-Veteran women and over three times as likely as non-Veteran women living in
   18
   19
   20
   21 63
         Likewise, the U.S. Department of Housing and Urban Development estimates 21
   22 out of every 10,000 U.S. veterans was experiencing homelessness on a single night,
      which works out to one out of every 473. Id.
   23 64
         See U.S. Dep’t Vet. Aff., Veteran Homelessness Fact Sheet (2021),
   24 https://www.va.gov/HOMELESS/Veteran_Homelessness_Fact_Sheet.asp.
      65
   25    U.S. Dep’t Vet. Aff., Off. Res. & Dev., VA Research on Homelessness,
      https://www.research.va.gov/topics/homelessness.cfm (last visited Nov. 14, 2022).
   26 66
         U.S. Dep’t Hous. & Urb. Dev., Veteran Homelessness: A Supplemental Report to
   27 the 2010 Annual Homeless Assessment Report to Congress, 8, 16, 42 (2010),
      https://www.va.gov/HOMELESS/docs/2010AHARVeteransReport.pdf.
                                               -51-
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    1 poverty to experience homelessness.” 67 NCHAV also found that “the number of
    2 women accessing VA specialized homeless programs or with a homeless
    3 identification” tripled between 2010 and 2015 and is expected to increase an
    4 additional nine percent by 2025.68
    5        148. Many veterans return to civilian life bearing scars both visible and
    6 invisible. Among veterans who had a service-connected disability, post-9/11
    7 veterans had a 39% chance of being severely or totally disabled—significantly
    8 higher than veterans from other any other periods.69 According to one study, one in
    9 five soldiers who were deployed as part of Operation Enduring Freedom (“OEF”) or
   10 Operation Iraqi Freedom (“OIF”) returned home with symptoms of PTSD or major
   11 depression, which is a substantially higher rate than the general population.70 The
   12 invisible scars include PTSD, depression, and other Serious Mental Illness either
   13 caused or aggravated by their experiences.
   14        149. Like other homeless populations, unhoused veterans’ risk factors for
   15 homelessness include poverty, joblessness, mental illness, and substance use.71
   16 Veterans also have distinctive health issues related to their military service and are
   17 more likely to suffer from trauma-related injuries, substance abuse, and mental
   18
   19 67
         U.S Dep’t Vet. Aff., Nat’l Ctr. Homelessness among Veterans, Women Veterans
   20 and Homelessness: Homeless Evidence & Research Roundtable Series 5 (2016),
   21 https://www.va.gov/HOMELESS/nchav/resources/docs/veteran-
      populations/women/Women-Veterans-and-Homelessness-July-2016.pdf.
   22 68
         Id. at 6.
      69
   23    Jonathan E. Vespa, Those Who Served: America’s Veterans From World War II
      to the War on Terror, ACS-43 11 (June 2020),
   24 https://www.census.gov/content/dam/Census/library/publications/2020/demo/acs-
      43.pdf.
   25 70
         Tanielian, supra note 14, at 252.
   26 71
         Tsai, supra note 6, at 188; see also Robert A. Rosenheck & Peter Koegel,
   27 Characteristics of Veterans and Nonveterans in Three Samples of Homeless Men, 44
      Hosp. & Cmty. Psychiatry 858, 861 (1993). -52-
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    1 health disorders than people who have never served in the armed forces.72
    2        150. Due to the relatively higher incidence of Serious Mental Illness and
    3 associated substance use disorders among veterans, veterans are particularly
    4 vulnerable to homelessness.73 Military service is strongly associated with factors
    5 that contribute to homelessness.74 For example, combat exposure and the stress
    6 related to deployment and high levels of social isolation upon returning home,
    7 psychiatric disorders, and associated substance use disorders, all contribute directly
    8 to homelessness.75
    9        151. Veterans of the post-Vietnam All-Volunteer Force era have an even
   10 higher risk of mental-illness-induced homelessness than veterans from earlier eras.76
   11
   12 72 Maria Olenick et al., US veterans and their unique issues: enhancing health care
      professional awareness, 6 Adv. Med. Educ. & Prac. 635, 635-39 (2015).
   13 73
         See, e.g., Robert Rosenheck et al., The Proportion of Veterans Among Homeless
   14 Men, 84 Am. J. Pub. Health 466 (1994), https://pubmed.ncbi.nlm.nih.gov/8129068/
   15 (finding that higher prevalence of psychiatric illness, substance abuse, and,
      especially, antisocial personality disorder among veterans is a contributor to their
   16 greater vulnerability to homelessness).
      74
   17    See, e.g., Robert Rosenheck & Alan Fontana, A Model of Homelessness Among
      Male Veterans of the Vietnam War Generation, 151 Am. J. Psychiatry 421, 425
   18 (1994), https://pubmed.ncbi.nlm.nih.gov/8109652/ (reporting significant indirect
      effects on homelessness resulting from war zone traumatic experience).
   19 75
         Id. at 421 (finding that post-military social isolation, psychiatric disorder, and
   20 substance abuse had the strongest direct effects on homelessness); see also Howard
   21 Balshem et al., U.S. Dep’t Vet. Aff., A Critical Review of the Literature Regarding
      Homelessness Among Veterans 26 (2011),
   22 https://www.ncbi.nlm.nih.gov/books/n/vahomeless/pdf/.
      76
   23    See, e.g., Karen H. Seal et al., Trends and Risk Factors for Mental Health
      Diagnoses Among Iraq and Afghanistan Veterans Using Department of Veterans
   24 Affairs Health Care, 2002-2008, 99 Am. J. Pub. Health 1651, 1651 (2009)
   25 (documenting that 36.9% of veterans returning from Iraq and Afghanistan who
      utilized the VA health care system between 2002 and 2008 received a mental health
   26 diagnosis); Anna Kline et al., The Relationship Between Military Service Eras and
   27 Psychosocial Treatment Needs Among Homeless Veterans with a Co-Occurring
   28                                           -53-
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    1 In one study, two-thirds of unhoused Iraq and Afghanistan veterans had PTSD, as
    2 much as an eightfold increase from earlier cohorts of unhoused veterans.77
    3        152. Researchers have identified several causes for the increased risk of
    4 Serious Mental Illness and subsequent homelessness of veterans of recent conflicts,
    5 including waning public support and lower morale among troops, the nature of
    6 modern warfare resulting in unexpected threats to life via roadside bombs and
    7 improvised explosive devices, and multiple and more-lengthy deployments.78
    8        153. Veterans who survive sexual assault and/or sexual harassment during
    9 their service79 likewise are at higher risk of experiencing homelessness, particularly
   10 women veterans, who are “up to four times more likely to be homeless than non-
   11 veteran women.”80 A 2013 study found that a “substantial proportion of homeless
   12
   13
      Substance Abuse and Mental Health Disorder, 5 J. Dual Diagnosis 358, 368 (2009)
   14 (finding that mentally ill, substance-abusing veterans of recent conflicts became
   15 homeless at an earlier age than other veterans and were more likely to attribute their
      homelessness to mental health problems). Still, some veterans of the Vietnam Era
   16 continue to suffer debilitating mental health consequences as a result of their
   17 service. See Yasmin Cypel et al., The Mental Health of Vietnam Theater Veterans—
      The Lasting Effects of the War: 2016-2017 Vietnam Era Health Retrospective
   18 Observational Study, 35 J. Traumatic Stress 605 (2022).
      77
   19    Tori DeAngelis, More PTSD among Homeless Vets, 44 Monitor on Psych. 22
      (2013), https://www.apa.org/monitor/2013/03/ptsd-vets.
   20 78
         See Seal, supra note 77, at 1656; see also Charles S. Milliken et al., Longitudinal
   21 Assessment of Mental Health Problems Among Active and Reserve Component
      Soldiers Returning from the Iraq War, 298 J. Am. Med. Ass’n 2141, 2141 (2007)
   22 (finding combat exposure was associated with higher rates of PTSD among veterans
   23 of OIF); Wayne Kinney, Comparing PTSD among Returning War Veterans, 20 J.
      Mil. & Vet. Health 21 (2012).
   24 79
         One study found that nearly 40% of unhoused female veterans had experienced
   25 military sexual trauma. Joanne Pavao et al., Military Sexual Trauma among
      Homeless Veterans, 28 J. Gen. Internal Med. 536 (2013).
   26 80
         Alison B. Hamilton et al., “Homelessness and Trauma Go Hand-in-Hand”:
   27 Pathways to Homelessness Among Women Veterans, 21-4S Women’s Health Issue
      S203, S203 (2011).                        -54-
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    1 Veterans using VHA services have experienced MST [military sexual trauma], and
    2 those who experienced such trauma had increased odds of mental health
    3 diagnoses.”81
    4                     Serious Mental Illnesses Both Contribute to
    5                       and Are Exacerbated by Homelessness
    6        154. In the late 1990s, researchers began studying individuals who remained
    7 unhoused for extended periods, or who frequently cycled in and out of
    8 homelessness, to try to understand the causes of long term homelessness and the
    9 barriers that prevent these individuals from attaining and maintaining stable
   10 housing.82 This body of research has established the close correlation between
   11 homelessness and disabilities, particularly mental illness and substance use
   12 disorders.83
   13        155. One recent study in The Lancet concluded that more than half of
   14 unhoused and marginally housed individuals have a lifetime history of traumatic
   15 brain injury.84 Research has also identified numerous barriers that prevent unhoused
   16
        81
   17 82 Pavao, supra note 80.
         See Randall Kuhn & Dennis P. Culhane, Applying Cluster Analysis to Test a
   18 Typology of Homelessness by Pattern of Shelter Utilization: Results from the
   19 Analysis of Administrative Data, 26 Am. J. Cmty. Psych. 207, 225 (1998) (finding
      the chronically homeless have higher levels of mental health, substance abuse, and
   20 medical problems).
      83
   21    See, e.g., David P. Folsom et al., Prevalence and Risk Factors for Homelessness
      and Utilization of Mental Health Services Among 10,340 Patients with Serious
   22 Mental Illness in a Large Public Mental Health System, 162 Am. J. Psychiatry 370,
   23 370, 374 (2005),
      https://ajp.psychiatryonline.org/doi/reader/10.1176/appi.ajp.162.2.370 (finding that
   24 “[b]etween one-fourth and one-third of homeless persons have a serious mental
   25 illness such as schizophrenia, bipolar disorder, or major depression,” some of whom
      have a co-occurring substance abuse disorder).
   26 84
         Jacob L. Stubbs et al., Traumatic Brain Injury in Homeless and Marginally
   27 Housed Individuals: A Systematic Review and Meta-Analysis, 5 The Lancet Pub.
      Health E19, E19 (2020).                    -55-
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    1 individuals from accessing the services intended to assist them.85
    2        156. For individuals with Serious Mental Illness—at least one-quarter of all
    3 unhoused individuals 86 and as many as two-thirds of unhoused Post-9/11 veterans—
    4 the disability is a barrier both to acquiring and maintaining stable housing and to
    5 accessing medical and mental health care, shelter, and other vital services once these
    6 individuals become homeless.87 Without supports or assistance, these individuals
    7 cannot access available services to treat the disability or to meet their basic needs.
    8        157. For example, many individuals with Serious Mental Illness or cognitive
    9 impairment cannot complete applications or persist through intake processes or
   10 waiting periods without substantial assistance, which is often not provided.88
   11
   12 85 At least one quarter of unhoused individuals have mental health conditions, and
      roughly half of sheltered unhoused individuals have a disability. Substance Abuse &
   13
      Mental Health Servs. Admin., Current Statistics on the Prevalence and
   14 Characteristics of People Experiencing Homelessness in the United States 4 (2011)
   15 (listing 30% of chronically unhoused persons have a mental health condition);
      Claudia D. Solari et al., U.S. Dep’t Hous. & Urban Dev., The 2015 Annual
   16 Homeless Assessment Report (AHAR) to Congress: Part 2: Estimates of
   17 Homelessness in the United States, at xix (2016) (noting about 45% of sheltered
      unhoused individuals had a disability).
   18 86 Deborah K. Padgett, Homelessness, Housing Instability and Mental Health:
   19 Making the Connection, 44 BJPsych Bull. 197, 197 (2020) (“[E]pidemiological
      studies have consistently found that only about 25-30% of homeless persons have a
   20 severe mental illness such as schizophrenia.”).
      87
   21    See, e.g., Amy L. Drapalski et al., Perceived Barriers to Medical Care and Mental
      Health Care Among Veterans with Serious Mental Illness, 59 Psychiatric Servs. 921
   22 (2008) (finding that psychiatric symptoms and mental illness severity pose one of
   23 the most significant barriers to medical and mental health care); Les B. Whitbeck,
      Mental Health and Emerging Adulthood among Homeless Young People (2009)
   24 (describing barriers to health care, including ignorance about treatment options and
   25 service locations, a lack of access to transportation, a lack of identification, shame,
      and difficulty filling out forms, among others).
   26 88
         See Michael D. Nino et al., Who are the Chronically Homeless? Social
   27 Characteristics and Risk Factors Associated with Chronic Homelessness, 19 J. Soc.
   28                                            -56-
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    1 Similarly, individuals with PTSD frequently experience memory loss and other
    2 cognitive impairments that result in difficulty remembering appointments, which
    3 can lead to dismissal from programs for noncompliance.89
    4        158. Additionally, for many individuals with Serious Mental Illness, their
    5 disabilities prevent them from functioning in the settings in which the services are
    6 offered, as with individuals whose disabilities prevent them from sharing living
    7 space or sleeping quarters with others, but who are required to complete a
    8 transitional housing program that requires dorm-style living before they are eligible
    9 for permanent housing where such housing even exists.90
   10        159. To even embark on treatment, individuals with Serious Mental Illness
   11
   12
   13
      Distress & Homeless 41(2010) (finding chronically homeless individuals were more
   14 likely to report that paperwork for government benefits was too difficult to
   15 complete). These logistical barriers are often called “bureaucratic” barriers and
      might involve paperwork, long waits for services, inflexible scheduling for
   16 appointments, restrictive service hours, and a lack of transportation. See Reid R.
   17 Hoshide et al., Barriers to Healthcare of Homeless Residents of Three Honolulu
      Shelters, 70 Haw. Med. J. 214, 214 (2011).
   18 89 Logistical challenges pose a substantial barrier to health care access, especially at
   19 VA facilities where veterans face long wait times and must interact with
      bureaucracy to make an appointment. See Carrie M. Farmer & Terri Tanielian,
   20 RAND Res., Ensuring Access to Timely, High-Quality Health Care for Veterans 2-
   21 10 (Apr. 10, 2019),
      https://www.rand.org/content/dam/rand/pubs/testimonies/CT500/CT508/RAND_CT
   22 508.pdf.
      90
   23    Shared housing also poses unique problems for the elderly (who might not be able
      to safely access bunk beds and shared bathing facilities without help) and
   24 transgender and non-binary individuals (who face elevated risk of interpersonal
   25 violence). See Rebecca T. Brown, Meeting the Housing and Care Needs of Older
      Homeless Adults: A Permanent Supportive Housing Program Targeting Homeless
   26 Elders, 21 Senior Hous. Care J. 126, 129 (2013); Astara van der Jagt et al., A
   27 “Safer” Space: Investigating Ways to Improve Emergency Shelter Services for
      Transgender and Non-Binary Clients 4 (2022).
                                                -57-
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    1 must also overcome substantial self-doubt and shame.91 The stigmatization of
    2 mental health treatment begins in basic training,92 stalks soldiers into warzones,93
    3 and long outlasts active service.94 The military itself has a sordid history of
    4 perpetuating mental health stigma, labeling victims as “cowards lacking moral
    5 fiber” 95 and sending high proportions back into battle within a week of symptom
    6 onset.96
    7        160. One study of mental health treatment after the Persian Gulf and Iraq
    8 Wars concluded that “soldiers most in need of mental health care do not seek it
    9 because of fear of embarrassment, difficulties with peers or officers, or interference
   10
   11
   12 91 See generally Claire Henderson et al., Mental Illness Stigma, Help Seeking, and
      Public Health Programs, 103 Am. J. Pub. Health 777, 777 (2013); SJ Coleman et
   13
      al., Stigma-Related Barriers and Facilitators to Help Seeking for Mental Health
   14 Issues in the Armed Forces: A Systematic Review and Thematic Synthesis of
   15 Qualitative Literature, 47 Psych. Med. 1880 (2017); Sarah Clement et al., What Is
      the Impact of Mental Health-Related Stigma on Help-Seeking? A Systematic Review
   16 of Quantitative and Qualitative Studies, 45 Psych. Med. 11 (2015).
      92
   17    Shannon K. Crowley et al., Physical Fitness and Depressive Symptoms During
      Army Basic Combat Training, 47 Med. & Sci. Sports & Exercise 151, 157 (2015)
   18 (“[T]here remains a stigma of perceived ‘weakness’ associated with mental illness
   19 in the military, as well as a fear of jeopardizing one's military career by reporting
      mental health-related issues. Thus, measurement of depressive symptoms in this
   20 study may have resulted in a conservative estimate of the prevalence of these
      symptoms.”)
   21 93
         Dror Ben-Zeev et al., Stigma of Mental Illness and Service Use in the Military, 21
   22 J. Mental Health 264 (2012); Tiffany M. Greene-Shortridge et al., The Stigma of
      Mental Health Problems in the Military, 172 Mil. Med. 157 (2007).
   23 94
         Ritchie Elspeth Cameron & Mark Owens, Military Issues, 27 Psychiatric Clinics
   24 of N. Am. 459, 460 (2004).
      95
   25    Hans Pols & Stephanie Oak, War & Military Mental Health, 97 Am. J. Pub.
      Health 2132, 2133 (2007),
   26 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2089086/ (chronicling military
      responses to mental health problems through the twentieth century).
   27 96
         Id. at 2135.                             -58-
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    1 with career opportunities within the military.” 97 Veterans describe the fight to
    2 preserve their own mental health as a “battle,”98 a “war,” 99 and a “hellish space”100
    3 just as dangerous as a theater of war.101
    4        161. Homelessness also exposes veterans to trauma that both causes and
    5 aggravates PTSD and other mental disorders. For veterans with Serious Mental
    6 Illness and TBI resulting from their service to this country, effective treatment
    7 requires, as a prerequisite, the stability and regularity afforded by permanent
    8 housing readily accessible to ongoing comprehensive care and supports.
    9        162. Homelessness is a well-established health detriment. Research has
   10 consistently isolated homelessness as an independent risk factor of premature
   11 death.102 One recent study in Los Angeles found that unhoused individuals suffered
   12 an all-cause mortality rate nearly three times higher than members of the general
   13
   14 97 Id. at 2138.
      98
   15    Rikki A. Roscoe, The Battle Against Mental Health Stigma: Examining How
      Veterans with PTSD Communicatively Manage Stigma, 36 Health Cmty. 1378
   16 (2020).
      99
   17    Sadie F. Dingfelder, The Military’s War on Stigma, 40 Monitor on Psych. 52
      (2009), https://www.apa.org/monitor/2009/06/stigma-war.
   18 100
          Gregg F. Martin, Opinion, The Three-Headed Monster We Must Now Defeat:
   19 Mental Illness, Stigma, and Suicide, Mil. Times (Sept. 20, 2021),
      https://www.militarytimes.com/opinion/commentary/2021/09/20/the-three-headed-
   20 monster-we-must-now-defeat-mental-illness-stigma-and-suicide/.
      101
   21     One study of OEF-OIF veterans found that veterans who screened positive for a
      psychiatric disorder were more likely to view mental health with stigma and to face
   22 barriers to health care. The researchers also found that negative beliefs about mental
   23 health were associated with lower likelihood of utilizing mental health counseling
      and medication services. Robert H. Pietrzak et al., Perceived Stigma and Barriers to
   24 Mental Health Care Utilization among OEF-OIF Veterans, 60 Psychiatric Servs.
      1118, 1121 (2009).
   25 102
          See, e.g., David S. Morrison, Homelessness as an Independent Risk Factor for
   26 Mortality: Results from a Retrospective Cohort Study, 38 Int’l J. Epidemiology 877,
   27 881-82 (2009) (“[H]omelessness should be considered an independent risk factor for
      subsequent mortality for some conditions.”).
                                                 -59-
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    1 public.103 Unhoused individuals face between two and twelve times higher risk of
    2 death than the general population.104
    3         163. Homelessness also exposes an individual to violence. Between 74%
    4 and 87% of unhoused people with mental illness face violence in their lifetimes,
    5 figures far higher than the national average.105
    6         164. Lack of housing also exacerbates mental disabilities and creates new
    7 health problems, thereby impairing the individual’s ability to function and impeding
    8 the individual’s ability to access necessary services. For example, the experience of
    9 homelessness is inherently stressful, requiring constant vigilance to avoid danger,
   10 and exposes unhoused individuals to increased risks of trauma, leading to PTSD or
   11 aggravating already existing PTSD and other mental disorders.106 For individuals
   12 whose disability causes paranoia or severe anxiety, the uncertainty and diminished
   13
   14
        103
   15     Will Nicholas et al., Using Point-in-Time Homeless Counts to Monitor Mortality
      Trends among People Experiencing Homelessness in Los Angeles County,
   16 California, 2015-2019, 111 Am. J. Pub. Health 2212 (2021).
      104
   17     Melissa Gambatese et al., Programmatic Impact of 5 Years of Mortality
      Surveillance of New York City Homeless Populations, 103 Am. J. Pub. Health S193
   18 (2013).
      105
   19     Laurence Roy et al., Criminal Behavior and Victimization among Homeless
      Individuals with Severe Mental Illness: A Systematic Review, 65 Psychiatric Servs.
   20 739, 739 (2014); see also Linda A. Teplin et al., Crime Victimization in Adults with
   21 Severe Mental Illness, 62 Archives Gen. Psychiatry 911 (2005) (noting individuals
      with a severe mental illness had been victims of a violent crime at a rate eleven
   22 times higher than members of the general public).
      106
   23     See Bruce D. Levy & James J. O’Connell, Health Care/or Homeless Persons,
      350 New Eng. J. Med. 2329, 2330 (2004) (finding that life on the street increases
   24 social isolation and the risk of psychiatric conditions). Researchers are actively
   25 debating the extent to which homelessness itself causes mental illness, including
      PTSD. For further discussion, see Michael Smolens, Opinion, Does Homelessness
   26 Cause PTSD?, San Diego Union Trib. (Dec. 6, 2019),
   27 https://www.sandiegouniontribune.com/columnists/story/2019-12-06/column-does-
      homelessness-cause-ptsd.                   -60-
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    1 security and safety created by homelessness exacerbate the mental disability.107
    2        165. Additionally, individuals experiencing homelessness frequently suffer
    3 from chronic and acute health conditions that are caused or exacerbated by the lack
    4 of stable shelter, including respiratory disorders, cardiovascular diseases, frostbite
    5 and hypothermia, skin diseases, diabetes, liver disease, and traumatic injuries due to
    6 assaults, falls, and accidents.108
    7        166. Unhoused individuals know they need health care 109 and accurately
    8
    9
   10 107 See Kevin M. Fitzpatrick et al., Dangerous Places: Exposure to Violence and Its
      Mental Health Consequences/or the Homeless, 69 Am. J. Orthopsychiatry 438, 444-
   11
      45 (1999) (finding that the symptoms of patients experiencing anxiety and paranoia
   12 were “significantly affected by the perceived dangers inherent in the homeless
      environment”). It is well established that homelessness can exacerbate mental
   13
      illness. See Lilanthi Balasuriya et al., The Never-Ending Loop: Homelessness,
   14 Psychiatric Disorder, and Mortality, 37 Psychiatric Times 12 (2020); Lori Teresa
   15 Yearwood, Trauma in Plain Sight, Slate (Oct. 23, 2009), https://slate.com/news-
      and-politics/2019/10/homeless-life-ptsd-overlooked.html.
   16 108
          See Bruce D. Levy & James J. O'Connell, Health Care for Homeless Persons,
   17 350 New Eng. J. Med. 2329, 2330 (2004); Mayur M. Desai & Robert A. Rosenheck,
      Unmet Need for Medical Care Among Homeless Adults with Serious Mental Illness,
   18 27 Gen. Hosp. Psychiatry 418 (2005) (finding that 44% of persons who are
   19 homeless and have serious mental illnesses had unmet needs for medical care at the
      time of program entry); Sameed Ahmed M. Khatana et al., Association of
   20 Homelessness with Hospital Readmissions—an Analysis of Three Large States, 35 J.
   21 Gen. Internal Med. 2576, 2576 (2020) (“Individuals who are homeless represent an
      especially medically vulnerable population, with mortality rates that are
   22 significantly higher than the general population. This is related to a greater burden
   23 of disease, including chronic diseases, mental illness, and substance use disorders,
      as well as the financial and structural barriers that impede access to appropriate
   24 care.”)
      109
   25     According to one survey from New York State, unhoused individuals ranked
      medical and dental treatment as one of their five most important needs—yet one
   26 more difficult to obtain than a free meal. Olga Acosta & Paul A. Toro, Let’s Ask the
   27 Homeless People Themselves: A Needs Assessment Based on a Probability Sample
      of Adults, 28 Am. J. Cmty. Psych. 343, 353     (2000).
                                                  -61-
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    1 understand their own health care use and needs.110 Yet they less consistently access
    2 routine health care services, despite living in much poorer health, because of
    3 systemic barriers.111
    4        167. Thus, homelessness resulting from mental disability, and mental
    5 disability aggravated by homelessness, interfere both with the ability to obtain
    6 treatment and with the amelioration of the mental disability itself, including the
    7 ability to obtain and use appropriate psychotropic medications.112 Lacking effective
    8 access to appropriate medication and supervised treatment, unhoused individuals
    9 with mental disabilities frequently resort to inappropriate medication, in the form of
   10 illegal drugs that can have powerful psychotropic effects but are also most often
   11
   12
   13
   14 110 Stephen W. Hwang et al., Accuracy of Self-Reported Health Care Use in a
   15 Population-Based Sample of Homeless Adults, 51 Health Servs. Rsch. 282, 300
      (2016) (concluding that “most individuals experiencing homelessness were quite
   16 accurate reporters”).
      111
   17     Margot B. Kushel et al., Factors Associated with the Health Care Utilization of
      Homeless Persons, 285 J. Am. Med. Ass’n 200, 203 (“This study confirms on a
   18 national scale what previous research found at the local level; homeless persons
   19 reported high rates of acute hospital-based care, low rates of ambulatory care, and
      difficulty accessing health care. . . . Despite evidence of poorer health, homeless
   20 persons in our study were less likely than the overall US population to report an
      ambulatory care visit in the previous year.”).
   21 112
          Aleena Khan et al., Medicines Prescribing for Homeless Persons: Analysis of
   22 Prescription data from Specialist Homelessness General Practices, 44 Int’l J.
   23 Clinical Pharmacy 717, 722 (2022) (“Many [persons experiencing homelessness]
      are excluded from primary care due to various factors such as lack of ability to
   24 navigate services, perceived stigma and discrimination in healthcare settings and
   25 wrong application of registration criteria in mainstream practices.”). One study of
      unhoused individuals in Long Beach, California noted more than 30% of patients
   26 with psychiatric disorders were not taking their prescribed medication. Mok Thoong
   27 Chong et al., Assessing Health Conditions and Medication Use among the Homeless
      Community in Long Beach, California, 3-62-  J. Rsch. Pharmacy Prac. 56 (2014).
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    1 addictive and come with negative side effects.113
    2         168. Finally, for many individuals with Serious Mental Illness, effective
    3 health treatment presupposes stability and regularity, which are simply not possible
    4 for unhoused individuals to achieve.114 The lack of housing itself, especially
    5 combined with a Serious Mental Illness, is a formidable barrier to accessing
    6 services. As one study of supported housing among unhoused veterans concluded,
    7 “access to housing itself may be a facilitator of positive changes in other areas of
    8 life—in this case, overall levels of social support.” 115
    9         169. For many unhoused individuals, the immediacy of the daily struggle for
   10 shelter, food, sleep, and other necessities relegates medical and mental health needs
   11 to a distant priority.116 Thus, common illnesses and injuries are left untreated,
   12
   13
   14
        113
   15     See D. McCarty et al., Alcoholism, Drug Abuse, and the Homeless, 46 Am.
      Psych. 1139, 1139 (1991) (“Credible estimates of the prevalence of alcohol and drug
   16 abuse suggest that alcohol abuse affects 30% to 40% and drug abuse 10% to 15% of
   17 homeless persons.”); Timothy P. Johnson & Michael Fendrich, Homelessness and
      Drug Use: Evidence from a Community Sample, 32 Am. J. Preventative Med. S211,
   18 S212 (“Homeless individuals . . . abuse drugs and alcohol in an attempt to provide
      self-medication for psychiatric or physical health problems.”).
   19 114
          See Deborah L. Dennis et al., The Physical and Mental Health Status of
   20 Homeless Adults, 2 Housing Pol’y Debate 815, 822 (1991) (“Homeless persons
   21 present a more advanced state of [mental] illness and are less likely, due to their
      homeless situation, to follow even the simplest of treatment regimens.”).
   22 115
          Maria J. O’Connell et al., Impact of Supported Housing on Social Relationships
      among Homeless Veterans, 68 Psychiatric Servs. 203 (2016).
   23 116
          See Dennis, supra note 115, at 826 (finding mentally ill homeless persons often
   24 do not receive needed physical and mental health care because they “giv[e] higher
   25 priority to other basic needs, such as procuring food and shelter on a daily basis”).
      Another study found that unhoused individuals faced six times the risk of opioid
   26 overdose of low-income people who had housing. Ayae Yamamoto et al.,
   27 Association between Homelessness and Opioid Overdose and Opioid-Related
      Hospital Admissions/Emergency Department  -63- Visits, 242 Soc. Sci. Med. (2019).
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    1 leading to increased emergency hospital visits and acute care admissions.117
    2        170. In sum, a robust and uncontroverted body of research has established
    3 that people, who, like the Plaintiffs, suffer SMI, such as PTSD, major depression,
    4 paranoid schizophrenia, and bipolar disorder, are often unable to meaningfully
    5 access the range of services offered to unhoused individuals to meet their day-to-day
    6 needs, including shelter, or to obtain appropriate health care, mental health care, or
    7 addiction treatment on account of symptoms of their disabilities and their lack of
    8 stable housing.
    9 Permanent Supportive Housing Effectively and Cost-Effectively Addresses and
   10      Prevents Homelessness of Individuals with Serious Mental Illness
   11        171. Research has long confirmed that the only way that unhoused
   12 individuals suffering Serious Mental Illness are able to meaningfully access and
   13 benefit from medical and psychiatric services is when they first permanently reside
   14 in appropriate community-based Permanent Supportive Housing.
   15        172. “Permanent Supportive Housing,” or “PSH,” is “permanent housing in
   16 which housing assistance (e.g., long-term leasing or rental assistance) and
   17 supportive services are provided to assist households with at least one member
   18
   19
   20
   21 117
         Unhoused individuals visit hospital ERs between two and nineteen times more
   22 often than members of the general public. Neha Vohra et al., Homelessness and the
   23 Use of Emergency Department as a Source of Healthcare: A Systematic Review, 15
      Int’l J. Emergency Med. 1, 19 (2022); see also Margot B. Kushel et al., Housing
   24 Instability and Food Insecurity as Barriers to Health Care among Low-Income
   25 Americans, 21 J. Gen. Internal Med. 71 (2006); R. Rosenheck & P. Koegel,
      Characteristics of Veterans and Nonveterans in Three Samples of Homeless Men, 44
   26 Hosp. & Cmty. Psychiatry 858, 861 (1993); Kushel, supra note 112, at 203 (finding
   27 that compared with the general population, the homeless are more likely to seek
      emergency care, and four times more likely
                                               -64-to be hospitalized).
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    1 (adult or child) with a disability in achieving housing stability.” 118 Permanent
    2 Supportive Housing combines low barriers to entry with a Housing First model that
    3 allows people to choose whether, and to what extent, to engage in supportive
    4 services without risking their tenancy.
    5         173. The supportive services available through Permanent Supportive
    6 Housing include, inter alia:
    7              • Case management;
    8              • Education services;
    9              • Employment assistance and job training;
   10              • Life skills training;
   11              • Mental health services;
   12              • Outpatient health services;
   13              • Outreach services; and
   14              • Substance abuse treatment services.119
   15
              174. Mental health services available in Permanent Supportive Housing
   16
        include:
   17
                   • Assertive community treatment (“ACT”) teams, which are structured to
   18
                      serve people with the highest level of needs, such as people with
   19
                      persistent and Serious Mental Illness, histories of homelessness,
   20
                      addictions, and histories of institutionalization in hospitals and/or jails.
   21
                      ACT teams provide services directly in the person’s home and
   22
                      community, rather than merely brokering or linking people to services.
   23
   24
        118
   25     U.S. Dep’t of Hous. & Urban Dev., HUD Exchange, Permanent Supportive
      Housing (PSH), HUD Exchange, https://www.hudexchange.info/homelessness-
   26 assistance/coc-esg-virtual-binders/coc-program-components/permanent-
      housing/permanent-supportive-housing/ (last visited Nov. 9, 2022).
   27 119
          Id.                                  -65-
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    1              ACT teams typically operate with a staff to patient ratio of no more
    2              than 15:1 and consist of a team leader, psychiatrist or nurse
    3              practitioner, registered nurse, peer specialist, housing specialist, mental
    4              health specialist, substance use specialist, and other specialists as
    5              needed (e.g., occupational, recreational, criminal justice, or family); 120
    6           • Intensive case management (“ICM”) teams, serving people with less
    7              severe needs than ACT teams.121 The ICM teams generally have a
    8              patient-to-staff ratio of 20:1 and may only involve a psychiatrist part
    9              time for consultation;122
   10           • Hybrid teams, serving people with a mix of high and moderate needs
   11              and blending the roles and staff members of the ACT and ICM team
   12              models.
   13           • Crisis services, including mobile crisis services; care coordination;
   14              intensive psychiatric rehabilitation treatment; assistance taking
   15              medication (including prompting); personal care services; and home
   16              health care.
   17        175. Permanent Supportive Housing is intended specifically for unhoused
   18 individuals with disabilities who, absent housing, cannot access and make effective
   19 use of the treatment and services they need to stay stable; and who, without such
   20 treatment and supportive services, cannot otherwise access and maintain stable
   21 housing in the long run.
   22        176. An essential element of Permanent Supportive Housing is home visits.
   23
   24 120 U.S. Dep’t Vet. Aff., VA Ctr. Homelessness Among Veterans, Permanent
   25 Supportive Housing Resource Guide, 123-26 (2015),
      https://www.va.gov/HOMELESS/nchav/docs/Permanent%20Supportive%20Housin
   26 g%20Resource%20Guide%20-%20FINAL.PDF.
      121
   27 122 Id. at 126-27.
          Id.                                  -66-
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    1 The person’s home is intended to be the primary location of the services provided.
    2 The number of home visits per week depends on the then-current needs of the
    3 veteran. Neighbors and community members can also be critical members of a
    4 person’s support team and home visits allow interaction with those people.123
    5         177. The VA, itself, recognizes that Permanent Supportive Housing is
    6 essential treatment for individuals with the highest needs:
    7               [P]ermanent supportive housing is uniquely suited to serve the
    8               subset of people experiencing homelessness whose complex
    9               health and behavioral health conditions necessitate a combination
   10               of long-term rental assistance and ongoing supportive services in
   11               order to achieve and maintain housing stability. For this subset of
   12               people experiencing homelessness, permanent supportive
   13               housing has been shown to be unparalleled in improving housing
   14               stability, while supporting physical and behavioral health. When
   15               targeted to high utilizers of health care services, supportive
   16               housing has also been shown to achieve public cost offsets by
   17               decreasing the use of emergency health care and correctional
   18               services. Paradoxically, however, the people who benefit the
   19               most from permanent supportive housing (those with intensive
   20               and complex service needs) are often the least equipped or
   21               tenacious about seeking assistance.124
   22         178. With the stability and security of permanent housing that is combined
   23 with healthcare services, the formerly unhoused veteran with Serious Mental Illness
   24 can meaningfully access mental and physical health, substance use, vocational, and
   25
   26
        123
   27 124 Id. at 129-34.
          Id. at 91.                           -67-
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    1 other services.125
    2         179. A substantial and uncontroverted body of evidence demonstrates that
    3 Permanent Supportive Housing leads to successful long-term housing outcomes for
    4 previously unhoused persons, including those with the most severe disabilities.126 In
    5 addition to housing stability, documented outcomes include improved mental health
    6 status, decreased substance use, increased average income and productivity, and
    7 improved quality of life.127
    8
        125
          Debra J. Rog, The Evidence on Supported Housing, 27 Psychiatric Rehab. J. 334
    9
      (“[H]aving any stable housing has a dramatic improvement on outcomes, especially
   10 those related to residential stability and use of institutional settings, such as
      hospitals, detox, and jails and prisons.”).
   11 126
          For a systematic review of Housing First research, see Yinan Peng et al.,
   12 Permanent Supportive Housing with Housing First to Reduce Homelessness and
      Promote Health Among Homeless Populations with Disability: A Community Guide
   13
      Systematic Review, 26 J. Pub. Health Mgmt. & Prac. 404 (2020) (“Evidence from
   14 this systematic review indicates that Housing First programs can more effectively
   15 reduce homelessness and improve housing stability for homeless populations with a
      disability than Treatment First or TAU. Housing First programs offer permanent
   16 housing with accompanying health and social services, and their clients are able to
   17 maintain a home without first being substance-free or in treatment. Clients in stable
      housing experienced better quality of life and generally showed reduced
   18 hospitalization and emergency department use.”).
      127
   19     See, e.g., Andrew J. Baxter et al., Effects of Housing First Approaches on Health
      and Well-Being of Adults Who Are Homeless or at Risk of Homelessness: Systematic
   20 Review and Meta-Analysis of Randomised Controlled Trials, 73 J. Epidemiology &
   21 Cmty. Health 379 (2019) (noting that Housing First participants experienced fewer
      hospitalizations, less time in hospitals, fewer visits to emergency departments, more
   22 days housed, and a higher likelihood of being housed 18-24 months after the
   23 intervention); Jennifer Perlman & John Parvensky, Denver Housing First
      Collaborative, Cost Benefit Analysis & Program Outcomes Report 2 (2006) (finding
   24 that 43% of residents in the Denver program had improved mental health status,
   25 64% reported improved quality of life, and 15% had decreased substance abuse, and
      that average monthly income rose from $185 to $431); Joy A. Livingston & Debra
   26 Srebnik, Approaches to Providing Housing and Flexible Supports for People with
   27 Psychiatric Disabilities, 16 Psychosocial Rehab. J. 27 (1992) (finding participants in
   28                                           -68-
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    1        180. Aside from individual benefits for veterans, Permanent Supportive
    2 Housing also provides substantial cost savings to government at all levels.128 When
    3 left on the streets, people who are unhoused utilize a substantial array of community
    4 resources in the form of increased health care utilization, emergency room care,
    5 public health services, and continuing use of expensive temporary shelters.
    6 Numerous studies, within and outside the VA, have long demonstrated that
    7 Permanent Supportive Housing offers substantial cost savings when compared to
    8 alternative homelessness interventions.129
    9        181. For example, Dennis Culhane, then a professor at the University of
   10 Pennsylvania, who served as the Director of Research for the National Center on
   11
   12 Permanent Supportive Housing programs had greater housing satisfaction, improved
      housing stability, and greater psychological well-being).
   13 128
          See, e.g., Mary E. Larimer et al., Health Care and Public Service Use and Costs
   14 Before and After Provision of Housing for Chronically Homeless Persons with
   15 Severe Alcohol Problems, 301 J. Am. Med. Ass’n 1349 (2009) (concluding that
      Housing First saved on average $2,449 per person per month).
   16 129
          See Tim Aubry et al., Effectiveness of Permanent Supportive Housing and
   17 Income Assistance Interventions for Homeless Individuals in High-Income
      Countries: A Systematic Review, 5 The Lancet Pub. Health E342 (2020) (finding
   18 that PSH “significantly improved housing stability, with little to no negative effects
   19 on other social and health outcomes,” and yielded cost offsets given adequate
      government support); Daniel Flaming et al., Where We Sleep: Costs When
   20 Homeless And Housed In Los Angeles 26 (2009) (documenting $2,291 average
   21 monthly cost savings for each chronically homeless Los Angeles participant); Mass.
      Hous. & Shelter All., Home and Healthy for Good: A Statewide Housing First
   22 Program 9 (2010) (documenting cost savings of $9,507 per resident per year,
   23 including reduction in medical costs from $26,124 per person per year to $8,500);
      Tia E. Martinez & Martha R. Burt, Impact of Permanent Supportive Housing on the
   24 Use of Acute Care Health Services by Homeless Adults, 57 Psychiatric Servs. 992
   25 (2006) (documenting $1,300 public cost reduction per resident in San Francisco);
      The Heartland All., Supportive Housing in Illinois: A Wise Investment (2009)
   26 (documenting overall savings of $854,477 over two years); Eric Hirsch & Irene
   27 Glasser, Rhode Island's Housing First Program First Year Evaluation 22 (2007)
      (documenting cost savings of $8,839 per -69-
                                                 person per year).
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    1 Homelessness Among Veterans at the VA, conducted a comprehensive landmark
    2 study of Permanent Supportive Housing in 2002 (“Public Service Reductions
    3 Associated With Serious Mental Illness in Supportive Housing”) that tracked the
    4 costs associated with unhoused persons with mental illness in New York City for
    5 two years while they were unhoused and two years after they were housed.130 Dr.
    6 Culhane and his coauthors found that supportive housing created average annual
    7 savings of $16,282 per person per housing unit in 1999 dollars. Seventy-two percent
    8 of the savings resulted from a decline in the use of public health services, 23% of
    9 the savings resulted from a decline in shelter use, and the remaining savings resulted
   10 from reduced incarceration of unhoused people. The reduction in expenditures in
   11 these areas nearly covered the cost of developing, operating, and providing
   12 supportive housing services, resulting in a net cost to the government of only $995
   13 per unit per year.
   14         182. A 2009 study conducted by the Economic Roundtable for the Los
   15 Angeles Homeless Services Authority found that the public costs attributed to
   16 chronically unhoused persons in Permanent Supportive Housing averaged $27,504
   17 per year less than the costs attributed to similar persons when they were on the
   18 streets or in shelters.131
   19         183. One 2020 randomized controlled trial in Santa Clara County, California
   20 found that among chronically unhoused high users of county-funded services,
   21 Permanent Supportive Housing increased housing and use of community-based
   22 mental health services while lowering use of psychiatric emergency departments and
   23
   24
   25 130
          See Dennis P. Culhane et al., Public Service Reductions Associated with
   26 Placement of Homeless Persons with Severe Mental Illness in Supportive Housing,
      13 Hous. Pol’y Debate 107 (2002).
   27 131
          Flaming, supra note 130.              -70-
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    1 shelters.132
    2        184. Most likely, these studies significantly under-estimate the savings from
    3 Permanent Supportive Housing, since “no study assesses all or even most of the cost
    4 drivers associated with leaving people unsheltered,” including the costs of police
    5 sweeps; first responders; outreach workers; business disruption; environmental
    6 hazards; police, courts, jail and prison time; probation; lost economic productivity;
    7 and, perhaps most significantly of all, the “psychological and emotional tolls on
    8 homeless people and the surrounding community.”133
    9        185. Finally, communities with Permanent Supportive Housing programs
   10 are safer, more efficient, and more attractive. In some instances, property values in
   11 neighborhoods surrounding Permanent Supportive Housing programs increased.134
   12        186. The success of Permanent Supportive Housing has long been
   13 demonstrated in Los Angeles, as first shown in 2007 by Project 50 and later by other
   14
   15 132
          Maria C. Raven et al., A Randomized Trial of Permanent Supportive Housing for
   16 Chronically Homeless Persons with High Use of Publicly Funded Services, 55
   17 Health Servs. Rsch. 797 (2020). An older study in San Francisco concluded that
      supportive housing was associated with a significant decline in the number of
   18 emergency department visits. The researchers also observed that exiting supportive
   19 housing was correlated with an increase in emergency department visits, leading to
      the conclusion that “service use reductions are tied directly to remaining in
   20 housing.” Martinez & Burt, supra note 130.
      133
   21     Lavena Staten & Sara K. Rankin, Penny Wise but Pound Foolish: How
      Permanent Supportive Housing Can Prevent a World of Hurt 28-29 (2019),
   22 https://digitalcommons.law.seattleu.edu/cgi/viewcontent.cgi?article=1016&context=
      hrap.
   23 134
          See, e.g., Furman Ctr. Real Est. & Urb. Pol’y, The Impact Of Supportive
   24 Housing On Surrounding Neighborhoods: Evidence From New York City 6-7
   25 (2008) (examining the impact of 7,500 supportive housing units in New York City
      and finding a statistically significant rise in the value of nearby properties); Arthur
   26 Andersen, Connecticut Supportive Housing Demonstration Program: Final Program
   27 Evaluation Report chp. III 13 (2002) (finding supportive housing improved
      neighborhood safety and beautification and  -71-increased or stabilized property values).
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    1 similar projects in the region.135 The goal of Project 50 was to identify, then place
    2 into Permanent Supportive Housing, the 50 most vulnerable people sleeping on the
    3 streets of Skid Row. Many of these individuals had been designated “shelter
    4 resistant,” because they preferred sleeping on the streets to being in a crowded
    5 shelter situation. But all of those offered their own housing, albeit a small, private
    6 room in a nonprofit housing facility, accepted the offer.
    7        187. Individuals were placed into Permanent Supportive Housing, and 88%
    8 remained housed one year later. Ninety-one percent of tenants were diagnosed with
    9 a mental illness and 84% reported a history of substance use. Similar to other
   10 studies, Project 50 showed that health care costs for participants declined from
   11 $677,000 the year prior to participation in the program to $185,000 for the year after
   12 they began living in supportive housing.136
   13        188. In short, both experience and empirical research have demonstrated
   14 conclusively that Permanent Supportive Housing is the only approach that
   15 consistently ensures that individuals with Serious Mental Illness are able to
   16 meaningfully access necessary medical care, mental health services, and other social
   17 services.
   18        189. These lessons can and must be applied to address the crisis of veteran
   19
   20 135 For a comprehensive guide to the long history of homelessness in Los Angeles,
   21 see Kirsten Moore Sheeley et al., The Making of a Crisis: A History of
      Homelessness in Los Angeles 53-55 (2021),
   22 https://luskincenter.history.ucla.edu/wp-content/uploads/sites/66/2021/01/LCHP-
   23 The-Making-of-A-Crisis-Report.pdf (discussing Project 50 as a success that also
      saved taxpayers money).
   24 136
          See L.A. Cnty. Bd. Supervisors, Project 50 – 1 year Progress Report (2009),
   25 https://zevyaroslavsky.org/wp-content/uploads/Project50-ONE-YEAR-
      SNAPSHOT-2.4.09.pdf; see also Flora Gil Krisiloff & Elizabeth S. Boyce, Project
   26 50: A Two Year Demonstration Project in Skid Row (2011),
   27 https://www.cwda.org/sites/main/files/file-attachments/homeless-project-50-la-
      county.pdf?1449619925.                    -72-
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    1 homelessness in order to ensure that our veterans receive the medical care and
    2 support to which they are entitled and that they deserve.
    3    The WLA Grounds Was Given to Defendants for the Purpose of Providing
    4            Housing and Healthcare to Veterans with Disabilities
    5        190. In 1865, Congress incorporated the National Home for Disabled
    6 Volunteer Soldiers (“National Home”) to operate branch homes throughout the
    7 nation for soldiers who had been honorably discharged.137 The branch homes were
    8 intended as true homes offered as a debt of gratitude to those who had served the
    9 country. Accordingly, residents were provided housing, food, medical care,
   10 recreation activities, and employment opportunities.138 There were no limitations on
   11 how long a veteran could stay at a branch home once admitted. Thus, the National
   12 Home offered the promise and certainty of a permanent home for veterans who had
   13 served their country and, by virtue of their service, were not able to support
   14 themselves in civilian life.
   15        191. In March 1888, Senator John P. Jones and Arcadia B. DeBaker donated
   16 by deed, as a charitable trust, 300 acres of land in Los Angeles expressly “for the
   17 purpose of such branch Home for Disabled Veterans Soldiers to be thereon so
   18 located, established, constructed and permanently maintained.”139 This deed
   19
   20 137 Suzanne Julin, National Home for Disabled Volunteer Soldiers Assessment of
   21 Significance and National Historic Landmark Recommendations 1 (2009),
      http://npshistory.com/publications/nhl/special-studies/national-home-disabled-vol-
   22 soldiers.pdf.
      138
   23     Trevor K. Plante, The National Home for Disabled Volunteer Soldiers, 36
      Prologue Mag. (2004),
   24 https://www.archives.gov/publications/prologue/2004/spring/soldiers-home.html.
      139
   25     Deed of 1888 1–2 (1888), available at https://draft-master-plan-
      assets.s3.amazonaws.com/media/uploads/2018/07/31/1888_Deed.pdf; see also U.S.
   26 Dep’t Vet. Aff., Off. Inspector Gen., VA’s Management of Land Use under the
   27 West Los Angeles Leasing Act of 2016 i (2018),
      https://www.va.gov/oig/pubs/VAOIG-18-00474-300.pdf
                                               -73-             (“OIG WLALA Report”).
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    1 conveying the WLA Grounds contained significant language expressing this
    2 pertinent intent:
    3                     Witnesseth: that whereas by an act of Congress approved
    4               March 2nd 1887 to provide for the location and erection of a
    5               branch home for disabled volunteer soldiers West of the Rocky
    6               Mountains, the Board of Managers of the National Home for
    7               Disabled Volunteer Soldiers were authorized, empowered, and
    8               directed to locate, establish, construct and permanently maintain a
    9               branch of said National Home for Disabled Volunteer Soldiers, to
   10               be by such Board, located at such place in the States West of the
   11               Rocky Mountains as to said Board should appear most desirable
   12               and advantageous.
   13                     And whereas, the [grantors] in consideration that the
   14               [National Home] should locate, establish, construct and
   15               permanently maintain a branch of said National Home for
   16               Disabled Volunteer Soldiers on a site to be selected by its Board
   17               of Managers along the dividing line between the Ranchos San Jose
   18               de Buenos Ayres and San Vicente y Santa Monica offered to
   19               donate to the [National Home], three hundred acres of land, being
   20               a portion of said Rancho San Vicente y Santa Monica belonging
   21               to them, the [grantors], on which to locate, establish, construct and
   22               permanently maintain such branch of said National Home for
   23               Disabled Volunteer Soldiers. . . .
   24                     Now, Therefore, in consideration of the premises and of the
   25               location, establishment, construction and permanent maintenance
   26               of a branch of said National Home for Disabled Volunteer Soldiers
   27               on such tract of land, so selected, and of the benefits to accrue to
   28                                            -74-
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    1               the [grantors], by such location, have given and granted and by
    2               these presents do give and grant unto the [National Home] all the
    3               [herein] described land and premises, situate, lying and being in
    4               the County of Los Angeles, State of California and particularly
    5               bounded and described as [set forth herein] . . . for the purpose of
    6               such branch Home for Disabled Volunteer Soldiers to be thereon
    7               so   located,    established,   constructed     and    permanently
    8               maintained.140
    9        192. The Pacific Branch of the National Home (“Pacific Branch Home”)
   10 opened in 1888, and for some 80 years, the VA’s predecessors operated a Pacific
   11 Branch Home at this site in keeping with the 1888 Deed, providing a permanent
   12 home for tens of thousands of veterans with disabilities who resided on the Grounds
   13 and accessed necessary and therapeutic services there.141
   14        193. Consistent with the intent of providing a home for soldiers, the grounds
   15 at the Pacific Branch Home—estimated to cover more than 600 or even 700 acres in
   16 total at its inception—were transformed into a beautiful, park-like setting.142 A
   17 hospital and other buildings were erected on the Grounds throughout the 1890s.143
   18 The Pacific Branch Home also built a trolley line and erected a streetcar depot,
   19
   20 140 Deed of 1888.
      141
   21     Paul R. Spitzzeri, “Men who Gave Their Young Manhood’s Years to Their
      Country”: A Photo-Gravure Booklet of the Pacific Branch of the National Home for
   22 Disabled Volunteer Soldiers, Los Angeles, 1907, The Homestead Blog (Nov. 11,
   23 2021), https://homesteadmuseum.blog/2021/11/11/men-who-gave-their-young-
      manhoods-years-to-their-country-a-photo-gravure-booklet-of-the-pacific-branch-of-
   24 the-national-home-for-disabled-volunteer-soldiers-los-angeles-1907/.
      142
   25     See, e.g., id. (stating that “[b]y 1907, the Home was on 737 acres”); Nat’l Home
      for Disabled Volunteer Soldiers, Rep. of the Bd. of Mgrs. for the Fiscal Year Ended
   26 June 30 (1930), at 8, 24, 139, https://www.va.gov/vetdata/docs/NHDVSFY1930.pdf
      (listing the total Pacific Branch acreage as 675.5 in 1929 and 671.709 in 1930).
   27 143
          Id.                                       -75-
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    1 which transported freight and mail to and from the Grounds.144 Residents could
    2 easily travel to the nearby Santa Monica beaches from the Grounds for rest and
    3 recreation.145 A chapel was built in 1900 to hold daily services and burial services
    4 for deceased veterans.146
    5         194. In the early 1900s, the Pacific Branch Home built dormitories with
    6 wide porches to replace the original barracks.147 A post office and store operated on
    7 the Grounds.148
    8         195. In addition to ensuring residents’ access to housing, food and medical
    9 care, the Pacific Branch Home also developed the Grounds to provide educational
   10 and vocational activities for the veteran residents. For example, the Pacific Branch
   11 Home boasted a library with more than 10,000 volumes and newspapers and
   12 periodicals from around the country.149 The residents grew vegetables and tended
   13 orchards and livestock on the Grounds, supplying their own needs and selling the
   14 surplus.150
   15         196. The Pacific Branch Home maintained a baseball team and athletic
   16 facilities, built a billiard hall for the residents, founded an aviary where residents
   17 could spend time, and developed work programs to employ residents around the
   18 Grounds in various capacities.151 The Pacific Branch Home also had a home band
   19
   20 144 Id.
      145
   21     See Life at the National Home, Circa 1922, 1887 Fund,
      https://www.1887fund.org/about/life-at-the-national-home/ (last visited Nov. 9,
   22 2022).
      146
   23 147 Spitzzeri, supra note 142.
          Cecilia Rasmussen, Peacefully, the disabled and the dead from . . . , L.A. Times
   24 (Aug. 29, 1994), available at https://www.latimes.com/archives/la-xpm-1994-08-
      29-me-32587-story.html.
   25 148
          Id.; Spitzzeri, supra note 142.
   26 149
          Life at the National Home, supra note 146.
      150
   27 151 Spitzzeri, supra note 142.
          Id.                                  -76-
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    1 that performed daily, and lectures and movies were regularly hosted on the
    2 Grounds.152 Residents could attend all classes on the Grounds free of charge.153
    3        197. By 1922, approximately 4,000 veterans were provided permanent
    4 housing at the Pacific Branch Home.154
    5        198. In 1930, Congress consolidated the National Home with other veterans’
    6 programs in the newly established Veterans Administration, the immediate
    7 predecessor to the VA.155 Accordingly, control over the various branch homes,
    8 including the Pacific Branch Home, transferred to the Veterans Administration.156
    9 Title to the land upon which the branch homes were situated was also transferred to
   10 the Veterans Administration.157
   11        199. Following the transfer, the Pacific Branch Home Grounds experienced
   12 tremendous change. Various land transfers158 reduced the total Grounds by hundreds
   13 of acres to 388 acres, which the VA is now statutorily prohibited from reducing
   14 further.159
   15
   16 152 Life at the National Home, supra note 146.
      153
   17 154 Id.
          An Examination of Waste and Abuse Associated With VA’s Management of Land-
   18 Use Agreements, Am. Legion (Feb. 10, 2015),
   19 https://www.legion.org/legislative/testimony/226037/examination-waste-and-abuse-
      associated-vas-management-land-use; Spitzzeri, supra note 142.
   20 155
          History – Department of Veterans Affairs (VA), VA History Off. (last updated
      May 27, 2021), https://www.va.gov/HISTORY/VA_History/Overview.asp.
   21 156
          Id.
   22 157
          See id.
      158
   23     Examples include “improvement of the San Diego Freeway,” see Interstate 405,
      https://www.cahighways.org/ROUTE405.html; and the national cemetery, Nat’l
   24 Cemetery Adm., https://www.cem.va.gov/CEMs/nchp/losangeles.asp (currently
      “more than 127 acres”).
   25 159
          Pub. L. 110-161 § 224(a) (2007), https://www.congress.gov/bill/110th-
   26 congress/house-bill/2764/text (providing that “[t]he Secretary of Veterans Affairs
   27 may not declare as excess to the needs of the Department of Veterans Affairs, or
   28                                           -77-
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    1        200. The remaining Grounds also experienced development in the 1940s,
    2 and many of the existing buildings on the WLA Grounds were erected during this
    3 time.160 For instance, the Veterans Administration built additional hospital buildings
    4 and medical care centers on the Grounds, in addition to updating and upgrading the
    5 hospital and the residences for veterans with disabilities who continued to reside on
    6 the Grounds.161
    7        201. In the 1970s, a replacement hospital, the VA Wadsworth Medical
    8 Center in Building 500, shifted the focal point of the Grounds south of Wilshire
    9 Boulevard.162 Beginning in the 1960s and 1970s, however, the VA’s predecessor,
   10 the Veterans Administration, ceased accepting new residents at the WLA Grounds.
   11 Instead, the property fell into squalor and disuse.163
   12        202. The VA took this action without authorization from Congress and in
   13 response to homeowner complaints from affluent communities bordering the
   14 Grounds who wanted to keep the Grounds property to themselves and to keep
   15 Vietnam veterans out of the neighborhood as undesirables.164
   16
   17 otherwise take any action to exchange, trade, auction, transfer, or otherwise dispose
      of, or reduce the acreage of, Federal land and improvements at the Department of
   18 Veterans Affairs West Los Angeles Medical Center, California, encompassing
   19 approximately 388 acres on the north and south sides of Wilshire Boulevard and
      west of the 405 Freeway.”); see also OIG WLALA Report, supra note 140, at 57.
   20 160 Veterans Affairs West Los Angeles Healthcare Center, Los Angeles
   21 Conservancy, https://www.laconservancy.org/locations/veterans-affairs-west-los-
      angeles-healthcare-center (last visited Nov. 9, 2022).
   22 161
          Nat’l Park Serv., Pacific Branch: Los Angeles, California,
   23 https://www.nps.gov/places/pacific-branch-los-angeles-california.htm (last updated
      Nov. 21, 2017).
   24 162
          Id.
      163
   25     See Stanley O. Williford, Afraid to Speak: Few at Veterans Center Willing to Tell
      Complaints, L.A. Times, Apr. 29, 1970, at 3.
   26 164
          See David Rosenzweig, VA Move Sounds ‘Last Call’: Twilight Hits Vets’
   27 ‘Western Front’ Taverns, L.A. Times, Jan. 16, 1972, at B (“In recent years, the
   28                                           -78-
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    1        203. Conditions reached a crisis in 1970, when several doctors told a U.S.
    2 Senate subcommittee about the “filthy” and “medieval” conditions at the
    3 Wadsworth facility.165 Patients often died there unattended from “breathing in their
    4 own secretions.” 166 The Los Angeles Times reported that the facility had fallen into
    5 decay: creaky floors, blown-out windows, shingles peeling from the roof, plaster
    6 falling off the walls, mounting filth, and rusting sprinklers.167 “It is cheerless,” the
    7 Times reported, “and seems to reflect the general gloom of the men.”168 Yet the
    8 veterans did not complain. They did not want to get thrown out onto the streets.169
    9        204. The VA allowed the facility to dilapidate in plain violation of the 1888
   10 Deed. The VA broke its trust with veterans who counted on it to keep its word that
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   12
   13 [area] has come under fire from community groups and homeowners in posh
      Brentwood. The neighborhood residents complain that winos from the VA
   14 panhandle on the streets and litter lawns with empty pint bottles of Thunderbird and
   15 Triple
      165
              Jack.”)
          The doctors took their complaints to Washington, D.C., only after months of
   16 discussions with a majority of hospital staff and Veterans Administration personnel
   17 failed to rectify their issues. See Stanley O. Williford, Patient Care Affected,
      Doctors Contend: Wadsworth Hospital Pay and Equipment Hit, L.A. Times, May
   18 31, 1970, at H1.
      166
   19     2 Doctors Hit Care at Veteran Hospital Here, L.A. Times, Apr. 29, 1970, at 3.
      The hospital chief denied the accusations, and an investigation dispatched by
   20 Administrator of Veterans Affairs Donald E. Johnson claimed the hospital was
   21 providing adequate care to its patients. Medical Investigation Team Praises
      Veterans Hospital, Highland Park (L.A., Cal.) News-Herald & J., May 28, 1970, at
   22 34.
      167
   23     Stanley Williford, Few at Veterans Center Willing to Tell Complaints, L.A.
      Times, Apr. 29, 1970, at 3.
   24 168
          Id.
      169
   25     Id. (“Generally, the patients who live in the center’s domiciliary area charge they
      are denied their constitutional rights, such as freedom from search and seizure and
   26 freedom from indiscriminate punishment. . . . But most of the men are unwilling to
   27 talk, mainly some say, from a fear of being thrown out of the facility, since many
      are incapable of taking care of themselves-79-
                                                   outside.”).
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    1 they could live productive lives and heal their service-induced wounds.170
    2        205. There are today more than 100 buildings on the WLA Grounds, many
    3 vacant, closed, or underutilized, as well as acres of available land.171 In contrast to
    4 what once existed and was intended, virtually no permanent housing is available to
    5 veterans with disabilities on the WLA Grounds.
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   17 170
          See, e.g., Letter from Rob Reynolds, Veteran Outreach Coordinator, AMVETS
   18 Post 2, & Ray Delgado, Commander, AMVETS Post 2, to AMVETS Dep’t Cal.
   19 (Aug. 21, 2022) (on file with counsel) (“At the beginning of 2022, we were told that
      housing construction for the first units would be completed in the fall, and Veterans
   20 would be able to move in by the end of the year. Now, we are told that construction
   21 will not be completed until January 2023. . . . Due to the long history of housing
      delays at the WLA VA, it is imperative to be transparent every step of the
   22 way. . . . The trust between Veterans, advocates, many VSO members, and the VA
   23 is fractured. There is a concerted effort by congressional reps, VA, and developers
      to avoid discussing or addressing the OIG reports and federal court rulings regarding
   24 illegal land use agreements at the West LA VA. This has been an ongoing issue for
      decades and must be resolved.”).
   25 171
          See U.S. Dep’t Vet. Aff., Campus Map, https://www.va.gov/greater-los-angeles-
   26 health-care/locations/west-los-angeles-va-medical-center/campus-map/ (last visited
   27 Nov. 14, 2022) (January 2022 map of the grounds listing over 100 buildings at least
      9 of which are vacant).                    -80-
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    1                                         Brentwood Theatre172

    2        206. Rather than housing veterans, the VA has built multiple houses on the
    3 WLA Grounds for VAGLAHS senior staff. And, in contrast to the original intent of
    4 the grantors that the land be used to provide a permanent home to veterans with
    5 disabilities, the mission statement of VAGLAHS, which administers the WLA
    6 Grounds, focuses exclusively on providing medical treatment and serving as a
    7 research and teaching hospital. 173
    8        207. According to VAGLAHS, the WLA Grounds “is perceived to be one of
    9 the most valuable parcels of real estate in the western United States.” 174 Lucrative
   10 commercial and other non-VA programs now operate on the WLA Grounds, all of
   11 which were approved by Defendant Braverman or his predecessors as Director of
   12
   13
   14
   15 172
          The Brentwood Theatre opened in 1942 as an entertainment facility for veterans.
   16 See generally B Counter, Brentwood Theatre, L.A. Theatres,
   17 https://losangelestheatres.blogspot.com/2017/03/brentwood-theatre-va.html (last
      visited Nov. 9, 2022). Today the building is vacant, unused, and unattended.
   18 173
          U.S. Dep’t Vet. Aff., Mission and Vision, https://www.va.gov/greater-los-
   19 angeles-health-care/about-us/mission-and-vision/ (last visited Nov. 14, 2022) (“VA
      Greater Los Angeles Healthcare System’s mission is to offer options to timely,
   20 quality services for Veterans through care and respect for one's physical,
      psychological, and spiritual health.”).
   21 174
          West Los Angeles VA Medical Center, Veterans Programs Enhancement Act Of
   22 1998 (VPEA) Draft Master Plan at 8 (Jan. 2011),
   23 https://www.scribd.com/document/48127448/WLA-VA-Draft-Master-Plan. Tuition
      at the private Brentwood School starts at $40,730 for kindergarteners and $48,180 in
   24 sixth grade. Affording BWS, Brentwood Sch.,
   25 https://www.bwscampus.com/admissions/affording-bws (last visited Sept. 14,
      2022). The Jackie Robinson Stadium is home to the top-ranked UCLA baseball
   26 team, which won the College World Series in 2013. UCLA Bruins Win 109th
   27 National NCAA Title — Their First in Baseball, UCLA Newsroom (June 25, 2013),
      www.newsroom.ucla.edu/stories/ucla-bruins-win-109th-national-247061.
                                               -81-
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    1 VAGLAHS.175
    2           Defendants Offer Institutional Services and Temporary Housing
    3
              208. Defendants know that Permanent Supportive Housing is the solution
    4
        needed to address the needs of unhoused veterans with Serious Mental Illness.
    5
        According to a report co-authored by the VA, “For the large percentage of veterans
    6
        with disabilities, Permanent Supportive Housing would be effective in helping them
    7
        achieve long-term stability.”176
    8
              209. “We have a proven strategy called Housing First that has reduced the
    9
        number of homeless veterans in the country by half,” as VA Secretary McDonough
   10
        said in a recent interview from Los Angeles. “What remains is for us to underscore
   11
        that we will not tolerate the idea that there’s a homeless veteran in this country.”177
   12
        But Defendants have not followed through on their own advice.
   13
              210. The Veterans Health Administration (“VHA”) within the VA is tasked
   14
        with providing “a complete medical and hospital service for the medical care and
   15
   16
        175
   17    See OIG Five Year Report, supra note 20, at ii,
      https://www.oversight.gov/report/VA/VA%E2%80%99s-Management-Land-Use-
   18 under-West-Los-Angeles-Leasing-Act-2016-Five-Year-Report (last visited Sept. 14,
   19 2022) (“The new noncompliant agreements . . . provided the Department of
      Homeland Security use of a building to develop and evaluate technology for real-
   20 time indoor positioning and tracking for emergency responders and enhanced
   21 security services to benefit the public at large . . . allowed the public to use VA
      parking lots located on the northwest corner of the Campus . . . .”).
   22 176
          U.S. Dep’t Hous. & Urb. Dev. & U.S. Dep’t Vet. Aff., Veteran Homelessness: A
   23 Supplemental Report to the 2009 Annual Homeless Assessment Report to Congress
      30 (2009),
   24 https://www.huduser.gov/portal/sites/default/files/pdf/2009AHARVeteransReport.p
      df.
   25 177
          Nikki Wentling, Q&A with VA Secretary Denis McDonough about Veteran
   26 Homelessness in Los Angeles, Stars & Stripes (Mar. 16, 2022),
   27 https://www.stripes.com/veterans/2022-03-16/veterans-affairs-homeless-los-
      angeles-mcdonough-5364948.html.             -82-
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    1 treatment of veterans . . . .” 178 VAGLAHS is the VA healthcare system that serves
    2 all or parts of Los Angeles County, Ventura County, Kern County, Santa Barbara
    3 County, and San Luis Obispo County.179
    4         211. The benefits package offered through VHA includes outpatient
    5 medical, surgical, and mental healthcare; inpatient hospital, medical, surgical, and
    6 mental healthcare; prescription drug coverage; emergency care; substance abuse
    7 treatment, and other services.180 VHA is required to provide preventive and primary
    8 care, acute hospital care, mental health services, specialty care, and long-term care,
    9 which includes residential treatment and housing services. These services are
   10 collectively referred to herein as “VHA benefits.”
   11         212. The focal point of healthcare services offered by VAGLAHS is the VA
   12 Greater Los Angeles Medical Center located on the WLA Grounds. It offers 24/7
   13 services, including inpatient and outpatient treatment for mental health conditions
   14 and short-term residential treatment for substance use disorders.
   15         213. The West Los Angeles VA Medical Center on the WLA Grounds offers
   16 care in the following areas: medicine, surgery, psychiatry, physical medicine and
   17 rehabilitation, neurology, oncology, dentistry, geriatrics, and extended care.
   18 Research and academic medical training are also conducted on-site.
   19         214. VAGLAHS stated in its 2018 annual report that, in total, it operates
   20 716 beds on the WLA Grounds, comprising 296 domiciliary beds, 224 community
   21 living center beds, 82 surgical beds, 48 intensive care beds, 46 inpatient mental
   22 health beds, and 20 physical medicine and rehabilitation beds.181 The State of
   23 178
          38 U.S.C. § 7301(b).
   24   179
          See Press Release, supra note 44.
      180
   25 181 See 38 C.F.R. § 17.38(a) (listing details of the medical benefits package).
          U.S. Dep’t Vet. Aff., 2018 Annual Report, https://www.va.gov/files/2021-
   26 08/2018-VAGLA-Annual-Report-web.pdf; see also U.S. Dep’t Vet. Aff., About Us,
   27 https://www.va.gov/greater-los-angeles-health-care/about-us/ (last visited Nov. 9,
   28                                           -83-
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    1 California also operates a skilled geriatric nursing facility on the WLA Grounds.182
    2        215. VAGLAHS provides long-term rehabilitative care on the WLA
    3 Grounds at the West Los Angeles Polytrauma site. This facility is dedicated to
    4 patients with injuries to more than one physical region or organ system resulting in
    5 physical, cognitive, psychological, or psychosocial impairments and functional
    6 disabilities.183
    7        216. By contrast to the 24/7/365 services on the WLA Grounds,
    8 VAGLAHS’s facilities outside the WLA Grounds provide only outpatient services
    9 and are open only during regular business hours and only on weekdays. For
   10 example, the average wait times to get a new patient mental health appointment
   11 from VAGLAHS’s affiliated clinics and medical centers within a 25-mile radius
   12 ranges from 52 to 111 days.184
   13
   14 2022). This represents a decrease in operational beds since 2010; according to that
   15 year’s annual report, VAGLAHS reported operating 770 beds, including 226 acute
      hospital beds, 188 skilled nursing home beds, 52 non-acute hospital beds, and 304
   16 Domiciliary beds.
      182
   17     CalVet, West Los Angeles, https://www.calvet.ca.gov/VetHomes/Pages/West-
      Los-Angeles.aspx.
   18 183
          See L.A. Cty., U.S. Department of Veterans Affairs: VA Polytrauma System of
   19 Care,
      https://losangeles.networkofcare.org/mh/services/agency.aspx?pid=USDepartmentof
   20 VeteransAffairsVAPolytraumaSystemofCare_2_68_1 (last visited Nov. 15, 2022);
   21 see also U.S. Dep’t Vet. Aff., Polytrauma/TBI System of Care,
      https://www.polytrauma.va.gov/facilities/west_Los_angeles.asp (last visited Nov.
   22 14, 2022).
      184
   23     West Los Angeles VA Medical Center, https://www.va.gov/greater-los-angeles-
      health-care/locations/west-los-angeles-va-medical-center/ (last visited Nov. 14,
   24 2022); East Los Angeles VA Clinic, https://www.va.gov/greater-los-angeles-health-
   25 care/locations/east-los-angeles-va-clinic/ (last visited Nov. 14, 2022); Los Angeles
      VA Clinic, https://www.va.gov/greater-los-angeles-health-care/locations/los-
   26 angeles-va-clinic/ (last visited Nov. 14, 2022); Sepulveda VA Medical Center,
   27 https://www.va.gov/greater-los-angeles-health-care/locations/sepulveda-va-medical-
      center/ (last visited Nov. 14, 2022).      -84-
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    1        217. Veterans must travel often considerable distances to the WLA Grounds
    2 or another VAGLAHS service location with limited hours if they wish to access
    3 inpatient or outpatient services from VAGLAHS. While VAGLAHS provides bus
    4 transportation between the WLA Grounds and other treatment centers, it does not
    5 assist veterans with transportation to or from where they live.185 And the pandemic-
    6 era rideshare benefit that did provide that service starting in August 2021—and used
    7 by Plaintiffs and those similarly situated since then—expired on May 11, 2023.186
    8 Given their disabilities, the size of Los Angeles County, and the limited public
    9 transportation options in West LA, getting to the WLA Grounds is an almost-
   10 impossible task for veterans with SMI or TBI.
   11        218. VAGLAHS also offers temporary shelter services through the 321-bed
   12 Domiciliary. This program provides only temporary shelter beds, along with
   13 medical, psychiatric, and substance abuse treatment, and other therapeutic services.
   14 However, upon information and belief, even these temporary shelter beds are
   15 decreasing on account of a new policy requiring sixty beds to be reserved for Covid-
   16 19 patients to the exclusion of other veterans in need.
   17        219. The Domiciliary is very institutional. Residents generally live in a
   18 barracks-style room with several other residents, even if they have a mental health
   19
   20 185 See U.S. Dep’t Vet. Aff., Transportation services and schedules,
   21 https://www.va.gov/greater-los-angeles-health-care/programs/transportation-
      services-and-schedules/ (last visited Nov. 14, 2022). The VA launched a nationwide
   22 rideshare benefit in August 2021 in connection with the declaration of a national
      emergency; however, that benefit expired on May 11, 2023,
   23 186
          See Patricia Kime, Free Uber, Lyft Rides for Vets Program Will End in May. The
   24 VA Is Pleading with Congress to Extend It, Military.com (Apr. 25, 2023),
   25 https://www.military.com/daily-news/2023/04/25/free-uber-lyft-rides-vets-program-
      will-end-may-va-pleading-congress-extend-it.html; VA Rideshare Program
   26 Overview, VA Office of Healthcare Innovation and Learning,
   27 https://innovation.va.gov/ecosystem/assets/documents/VARideshareProgramOvervi
      ew.pdf.                                   -85-
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    1 condition that makes it difficult or impossible to function in such tight quarters with
    2 other people, particularly as strangers.187 Residents may not leave the facility
    3 without a pass and may not leave the facility at all for more than 96 hours, are
    4 penalized for missing planned activities, and must eat the meals provided by the
    5 facility.188
    6         220. By its own admission, the VA notes that Domiciliary programs “must
    7 not be used as a simple substitute for community housing.”189 However, the VA
    8 fails to provide adequate community housing for these veterans, and half the
    9 unhoused veterans who enter the Domiciliary are unable to transition into permanent
   10 housing at the end of their program and remain unhoused.190
   11         221. In October 2021, the VA built new 8-by-8-foot tiny shed structures on
   12 the WLA Grounds. The sheds are reserved for high-risk unhoused veterans, namely
   13 veterans with disabilities, but do not provide treatment or other services.191
   14 According to Robert McKenrick, the former Executive Director of Community
   15 Engagement & Reintegration Service and Master Plan for VAGLAHS, “[t]he
   16 average stay is about 30 days, and then [the veterans] move on to other types of
   17
   18
        187
   19     Although a few single rooms (fewer than 20) are available, veterans generally
      must “earn” their way into in a single room by maintaining compliance with the
   20 treatment program over a fixed period of time. Therefore, these rooms are not made
      available on the basis of need.
   21 188
          VHA Directive 1162.02, Mental Health Residential Rehabilitation Treatment
   22 Program, E5-7,
      https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=8400.
   23 189
          Id. at A-4.
   24 190
          2022 Master Plan, supra note 47, at 38 (“The West LA Campus DOM serves
   25 nearly 1,000 Veterans each year, approximately 50% of Veterans who participate in
      DOM programming transition into permanent housing.”).
   26 191
          Juliet Lemar, West LA Vets Offers Tiny Home Shelters for Homeless Veterans,
   27 Santa Monica Mirror (Nov. 8, 2021), https://smmirror.com/2021/11/west-la-va-
      offers-tiny-home-shelters-for-homeless-veterans/.
                                                -86-
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    1 housing or assistance or shelters.”192
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   10                                          Tiny Sheds

   11
              222. There were approximately 140 tiny sheds before a fire in September
   12
        2022 destroyed 11 of them and damaged four more.193 Overheated lithium batteries
   13
        ignited the blaze, causing some $165,000 in damage and exposing the inadequacy of
   14
        the tiny-home scheme.194
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   23 193 Id.
          Nathan Solis, Fire Destroys 11 Tiny Homes that Housed Homeless Vets at West
   24 L.A. Veterans Affairs Campus, L.A. Times (Sept. 9, 2022),
   25 https://www.latimes.com/california/story/2022-09-09/fire-tiny-homes-homeless-
      veterans-west-los-angeles.
   26 194
          Fire Destroys 11 Tiny Homes, Damages 4 Others at Veterans Affairs Campus in
   27 West Los Angeles, Eyewitness News ABC 7 (Sept. 9, 2022), https://abc7.com/fire-
      tiny-homes-veterans-homeless/12216051/.  -87-
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                                             Tiny Sheds Fire, 2022
   19
              223.   The sheds have heating and cooling units, but the heaters “are hard to
   20
        control and have been known to make the concrete floors so hot that people have
   21
        burned their feet getting out of bed.”195 The sheds have locking capabilities, but
   22
        veterans are not provided with unit keys, meaning they are unable to securely store
   23
   24
   25
   26 195 Sasha Plotnikova, A Cage By Any Other Name, City Watch (May 9, 2022),
   27 https://www.citywatchla.com/index.php/cw/los-angeles/24538-a-cage-by-any-other-
      name.                                    -88-
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    1 their belongings when they exit the pallet shelter.196 Notably, the tiny sheds do not
    2 include a sink, toilet, or shower, meaning the veterans using them must share
    3 showers—often broken and filthy—and portable toilets. None of these tiny sheds
    4 provide Permanent Supportive Housing.
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   22                                Tiny Sheds (Credit: Rob Reynolds, 2022)

   23        224. In addition to being temporary and offering virtually no services, the
   24 tiny sheds are so institutional as to be carceral. Residents are forced to undergo
   25
   26 196 See id.; Jamie Feiler & Jon Peltz, 30 Tiny Homes Sat Vacant While Veterans
   27 Awaited Housing, Knock LA (Sep. 6, 2022), https://knock-la.com/vacant-west-la-
      va-tiny-homes/.                            -89-
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    1 searches, are denied visitors, and are surrounded by fencing and security.197
    2         225. Yet even temporarily, these tiny sheds accommodate fewer than the
    3 number of veterans in need, restricted based on staffing and other policies. Upon
    4 information and belief, staffing ratios previously left several sheds vacant despite
    5 there being several veterans in need of shelter, and now admissions are being capped
    6 at two per day.
    7         226. None of these beds are permanent housing and the vast majority of
    8 those that provide any treatment services at all are institutional.
    9         227. In addition to the beds operated by VAGLAHS, several other
   10 institutional or temporary programs are operated by third parties on the WLA
   11 Grounds.
   12         228. The Veterans Home of California, which opened on the WLA Grounds
   13 in 2010, is run by the State of California and provides nursing care to veterans over
   14 age 62. The 396-bed institution includes an 84-bed elderly residential care facility, a
   15 252-bed skilled nursing facility, and a 60-bed unit designed for Alzheimer’s and
   16 dementia patients.198
   17         229. New Directions, Inc. operates two residential programs on the WLA
   18 Grounds. The New Directions’ Regional Opportunity Center serves 161 veterans for
   19 detoxification, transitional housing, and residential substance abuse and mental
   20 health services.199
   21         230. As with the VAGLAHS-run Domiciliary, virtually all of the emergency
   22 and transitional beds operated by the non-profit providers on the WLA Grounds
   23 mandate residents to share rooms. Because veterans living in these transitional
   24
        197
   25 198
          CalVet, West Los Angeles, https://www.calvet.ca.gov/VetHomes/pages/west-los-
   26 angeles.aspx (describing the institution and its resources).
      199
   27     New Directions for Vet., Transitional & Emergency Housing,
      https://ndvets.org/transitional-emergency-housing/.
                                                -90-
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    1 housing programs do not have the option to have their own rooms, many with
    2 mental health disabilities like PTSD are unlikely to be successful. For example,
    3 veterans with PTSD who experience symptoms such as hypervigilance, sleep
    4 disturbance, irritability, and distrust of others are likely to have these symptoms
    5 aggravated when forced to share a room with strangers.
    6         231. Finally, by their nature as short-term and transitional beds, these
    7 programs cannot provide the long-term stability that veterans with severe disabilities
    8 require in order to meaningfully access medical and therapeutic services offered by
    9 VAGLAHS on the WLA Grounds. That was not, and is not, their purpose.
   10         232. The Salvation Army operates a 40-unit Westwood Transitional Village
   11 on the WLA Grounds, housing approximately 150 individuals. Only unhoused
   12 families are eligible, including both veterans’ and non-veterans’ families, and
   13 participants are only allowed to stay for a fixed period of time.200
   14         233. Safe Parking LA operates a parking lot on the WLA Grounds for
   15 unhoused veterans who are living in their cars. Veterans accepted into the Safe
   16 Parking LA program can park in the lot overnight during set hours. Veterans have
   17 access to a portable (often filthy) toilet and are provided with one meal a day, but
   18 there are no shower or kitchen facilities (such as a refrigerator or microwave).
   19 Participants are provided case management and are allowed to stay in the program
   20 as long as they are “actively pursuing their next steps.”201 The parking lot program
   21 does not provide, nor is it intended to serve as, Permanent Supportive Housing.
   22
        200
   23     See Salvation Army, Westwood Transitional Village,
      https://westwoodtlc.salvationarmy.org/ (last visited Nov. 9, 2022) (“The Westwood
   24 Transitional Village is a 40 unit residential housing facility that provides support
   25 services for homeless families. Families can live here for a designated amount of
      time while they stabilize and acquire the skills needed for independent living. . . .
   26 Approximately 150 individuals live at The Village at all times . . . .”).
      201
   27     FAQs for Applicants, Safe Parking LA, https://safeparkingla.org/who-we-
      are/faqs/ (last visited Nov. 9, 2022) (explaining
                                                 -91-   how long individuals can stay).
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    1         234. What the WLA Grounds does not provide is exactly what it was
    2 intended to provide—community-based Permanent Supportive Housing for
    3 veterans. Only one building on the WLA Grounds—Building 209—provides any
    4 permanent housing for veterans with disabilities. Building 209 contains 54 housing
    5 units for veterans.202
    6         235. Aside from that, VAGLAHS and the other entities operating on the
    7 WLA Grounds offer only inpatient hospital care and emergency or transitional
    8 shelter beds for disabled and unhoused veterans. These institutional healthcare and
    9 housing services meet neither the needs of Plaintiffs and other veterans with severe
   10 disabilities nor the legal obligations of Defendants to serve veterans in the most
   11 integrated setting appropriate. VAGLAHS could integrate housing through the use
   12 of categorical caps, as proposed in the prayer for relief, so as to avoid their historic
   13 and discriminatory institutionalization.
   14    Defendants’ Limited Permanent Supportive Housing Program is Inadequate,
   15                      in Terms of Both Quantity and Quality
   16         236. The VA and HUD’s joint HUD-VASH program is VAGLAHS’s only
   17 purported Permanent Supportive Housing program.203 It provides vouchers for rental
   18
        202
   19     See 2022 Master Plan, supra note 47 (Building 209 and its services are described
      on page 8 (and several other places) in the 2022 Master Plan).
   20 203
          See Press Release, U.S. Dep’t Vet. Aff., Greater Los Angeles VA Offers Services
   21 for Veterans Experiencing Homelessness (Oct. 14, 2021),
      https://www.va.gov/greater-los-angeles-health-care/news-releases/greater-los-
   22 angeles-va-offers-services-for-veterans-experiencing-homelessness/; see also U.S.
   23 Dep’t Vet. Aff., VA Homeless Programs,
      https://www.va.gov/homeless/for_homeless_veterans.asp (last updated Nov. 22,
   24 2021); see also L.A. Cty. Dev. Auth., Rental Assistance for Homeless Veterans,
   25 https://www.lacda.org/homelessness/veterans-affairs-supportive-housing. The VA
      also maintains the Supportive Services for Veteran Families (SSVF) program, which
   26 provides case management and financial assistance to stabilize veterans’ housing,
   27 but the program is only intended to “provide a short-term intervention.” U.S. Dep’t
   28                                             -92-
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    1 assistance, along with VA case management and clinical services, to unhoused
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    3
    4
    5
    6
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    9
   10
   11
   12
   13
   14    VASH Vouchers Awarded and Utilized as of August 2022, generated from HUD Housing Choice Voucher Program Dashboard

        veterans. Greater Los Angeles has been allocated approximately 9,800 vouchers, but
   15
        only about 5,900 (60%) are in use:204
   16
               237. The HUD-VASH program allocated 585 VASH vouchers for Greater
   17
        Los Angeles in FY2020 (500 for Los Angeles County) and 75 in FY2021 (0 for Los
   18
        Angeles County or City).205 This is obviously not sufficient to house the 3,500
   19
        unhoused veterans in the County. Worse, only approximately 60% of HUD-VASH
   20
        voucher recipients in Greater Los Angeles (less in Los Angeles City and County)
   21
   22 Vet. Aff., Supportive Services for Veteran Families (SSVF Program), Program
   23 Guide (Mar. 2021),
      https://www.va.gov/HOMELESS/ssvf/docs/SSVF_Program_Guide.pdf.
   24 204 Self-generated report (“GLA VASH Utilization”), U.S. Dep’t of Hous. & Urb.
   25 Dev., Housing Choice Voucher Program Dashboard,
      https://www.hud.gov/program_offices/public_indian_housing/programs/hcv/dashbo
   26 ard (last updated Aug. 2022).
      205
   27     HUD-Veterans Affairs Supportive Housing, HUD-VASH Vouchers 2008-2021,
      https://www.hud.gov/sites/dfiles/PIH/documents/VASH_Awards_2008-2021.pdf.
                                               -93-
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    1 are successful in finding housing using the voucher, and often only after a long
    2 period of time without housing or services.206 In a vicious cycle, the failure to use all
    3 its allocated vouchers results in Los Angeles receiving fewer vouchers in subsequent
    4 years. And the need for Permanent Supportive Housing in Los Angeles grows.
    5 Defendants could reasonably take additional steps to increase the number and value
    6 of the vouchers or otherwise incentivize their acceptance by landlords in the area of
    7 the WLA Grounds, assist veterans to secure apartments accepting HUD-VASH
    8 vouchers, assist veterans with landlord-tenant relationships, and/or purchase units to
    9 house HUD-VASH voucher recipients.
   10         238. Finding housing for HUD-VASH voucher participants takes a long
   11 time, leaving veterans with disabilities languishing on the streets or in institutional
   12 settings without adequate services. This makes it even more difficult for them to
   13 find housing at all.
   14         239. The HUD-VASH program is supposed to offer wrap-around services
   15 and health and substance use disorder treatments as discussed above, but primarily
   16 provides case management to connect residents with VA services, without actually
   17 bringing the services to them. Instead, individuals with Serious Mental Illness are
   18 expected to navigate the systems, endure the long waits for appointments, and
   19 overcome transportation and other barriers to getting to the West LA Grounds from
   20
        206
   21    See GLA VASH Utilization, supra note 204; Hous. Auth. City of L.A., L.A.,
      Council Report Back: The Housing Authority of the City of Los Angeles and the Los
   22 Angeles Housing & Community Investment Department Consultation from the City
   23 Attorney Office’s Report Regarding City Ordinance to Protect Affordable Housing
      Opportunities for Renters Utilizing Rental Assistance or Other Sources of Income as
   24 Payment 2 (Nov. 16, 2018), http://clkrep.lacity.org/onlinedocs/2018/18-
   25 0462_rpt_HACLA_12-03-2018.pdf. In February 2022, Defendant McDonough
      announced a goal of increasing GLA’s VASH voucher utilization rate to “at least
   26 75%.” VA outlines new goals towards ending Veteran homelessness (Feb. 22,
   27 2022), U.S. Dep’t Vet. Aff.,
      https://www.va.gov/opa/pressrel/pressrelease.cfm?id=5767.
                                               -94-
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    1 housing outside the Grounds area in order to access the treatment services that make
    2 Permanent Supportive Housing necessary in the first place. These inadequacies
    3 make the HUD-VASH program fail at serving veterans with Serious Mental Illness,
    4 who need the program the most.
    5          240. Defendants have too-long maintained the erroneous position that
    6 Veterans Affairs does not, itself, have the ability to build housing for homeless
    7 veterans with disabilities, a position this Amended Complaint challenges directly.
    8 Under the cloak of that position, Defendants have contracted with third-party
    9 developers to build the very housing Defendants are obligated—and agreed—to
   10 provide.
   11          241. “In order to build affordable housing, developers apply for funding
   12 from multiple sources, including City, County, State and private financial
   13 institutions, each of which may have different eligibility restrictions tied to its
   14 funding. In order to be competitive for public funding, developers often agree to the
   15 most restrictive income limitations, generally the 30% AMI level.” 207 For the
   16 purpose of calculating veteran eligibility, this means that a veteran can only apply
   17 for specific housing if their “income” is at or below the corresponding level of AMI,
   18 or Area Median Income. Although not considered reportable taxable income by the
   19 Internal Revenue Service, compensation that disabled veterans receive from the
   20 Veterans Benefits Administration on account of their diagnosed service-connected
   21 disabilities is counted toward the housing AMI restrictions. Other federal benefits
   22 such as benefits from the Social Security Administration also count.
   23          242. Under current rates of disability compensation and AMI, a single
   24 veteran in Los Angeles, with a 100% disability rating from the VA and no
   25 dependents, generally receives more than 50%, closer to 60%, AMI. Certain
   26 veterans receive additional special monthly compensation above the basic disability
   27 207
            HACLA Letter, supra note 29.          -95-
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    1 compensation for certain severe loss categories, which of course increases their AMI
    2 level even more. Some veterans who began receiving social security benefits before
    3 securing housing also have to add that benefit to their calculation.
    4         243. So beyond the materially insufficient housing there is available, what is
    5 available is not offered to those the VA itself has determined are most in need of
    6 accessible VA medical and social services.
    7     Plaintiffs Are Qualified to Receive VA Housing and Healthcare Services In
    8    Integrated Settings and Do Not Oppose It, But the VA Institutionalizes Them
          Puts Them at Risk of Institutionalization, Or Bars Their Entry Altogether
    9
   10         244. To qualify for VHA benefits, a former service-member must have been
                                                                                           208
   11 “discharged or released’’ from service “under conditions other than dishonorable”
                                                                                    209
   12 and must have “served in the active military, naval, air, or space” services.
   13         245. Veterans who qualify for VHA benefits are placed into one of eight

   14 “priority” groups established by VA regulations to determine their eligibility for
               210
   15 benefits. Depending on the amount of funding provided by Congress, the VA may
   16
        208
   17 209 38 U.S.C. § 101(2).
          Id. There is no length of service requirement for former enlisted persons who
   18 started active duty before September 8, 1980, or for former officers who entered
   19 active duty before October 17, 1981. 38 U.S.C. § 5303A(b)(2). All other veterans
      must have 24 months of continuous active duty unless they qualify for an exception
   20 to the minimum service requirement. 38 U.S.C. § 5303A(b)(l). Exceptions to the
   21 minimum service requirement include discharges “for a disability incurred or
      aggravated in the line of duty.” 38 U.S.C. § 5303 A(b)(3)(B).
   22 210
          Veterans in the highest priority categories, 1 through 3, have service-connected
   23 disabilities of varying degrees. 38 C.F.R. § 17.36(b)(l)-(3). Veterans in priority
      group 4 have serious disabilities that are not service-connected. 38 C.F.R. §
   24 17.36(b)(4). Priority group 5 comprises low-income veterans. 38 C.F.R. §
   25 17.36(b)(5). Priority group 6 includes veterans exposed to toxic substances, as well
      as recent combat veterans. 38 C.F.R. § 17.36(b)(6). Veterans in priority groups 7
   26 and 8 have no compensable service-connected disabilities and have greater incomes
   27 than those in priority group 5. 38 C.F.R. § l 7.36(b)(7)-(8). “A veteran will be placed
   28                                           -96-
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    1 “prioritize” the higher priority groups and provide VHA benefits only to veterans in
    2 those priority groups. Individuals in the lower priority groups may also be required
    3 to pay copays. Currently, any veteran within any one of the first seven priority
    4 groups is eligible for the full VHA benefits package, and some veterans who fall
    5 within priority group 8 are also eligible.211
    6         246. Plaintiffs, NVF members, and individuals who are similarly situated are
    7 eligible for the full panoply of VA health and housing services. Of the individual
    8 Plaintiffs, most currently belong—and military and medical records support that all
    9 should belong—to the highest priority group on account of a VA-assigned “singular
   10 or combined rating of 50 percent or greater based on one or more service-
   11 connected disabilities or unemployability.” 212 Plaintiffs, NVF members, and
   12 individuals who are similarly situated do not wish to live in psychiatric hospitals,
   13 homeless shelters, jails, or tiny sheds, and their disabilities do not require such
   14 institutional services. Plaintiffs want, need, and deserve, community-based
   15 Permanent Supportive Housing—meaning housing in their communities, with
   16 meaningful access to effective supportive and treatment services.
   17         247. Because Permanent Supportive Housing is the only approach that
   18 effectively affords individuals like Plaintiffs with Serious Mental Illness and TBI
   19 meaningful and integrated access to the medical, mental health, and other services to
   20 which they are legally entitled by virtue of their service to this country, the VA’s
   21 failure to provide sufficiently high-quantity and quality Permanent Supportive
   22 Housing to Plaintiffs and other unhoused veterans with Serious Mental Illness and
   23
      in the highest priority category or categories for which the veteran qualifies.” 38
   24 C.F.R. § 17.36(d)(3)(ii).
      211
   25     See U.S. Dep’t Vet. Aff., VA Priority Groups, https://www.va.gov/health-
      care/eligibility/priority-groups/ (last visited Nov. 9, 2022) (“If you’re assigned to
   26 priority group 8, your eligibility for VA health care benefits will depend on which
      subpriority group we place you in.”).
   27 212
          38 C.F.R. § 17.36(b)(l).                 -97-
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    1 TBI excludes them from services to which they are entitled solely because of their
    2 disabilities.
    3         248. In addition, as a result of the VA’s inadequate planning, structuring,
    4 administration, and funding of Permanent Supportive Housing within its system of
    5 care and in coordination with its healthcare services, veterans with Serious Mental
    6 Illness and TBI are forced to receive services unnecessarily in VA-operated and
    7 non-VA institutional settings, such as hospitals, residential treatment programs,
    8 homeless shelters, and jails, or are at risk of unnecessary institutionalization.
    9         249. Veterans with Serious Mental Illness and TBI who are homeless or at
   10 risk of homelessness are qualified to receive the VA’s housing and healthcare
   11 services and are capable of being served in community-based settings if Permanent
   12 Supportive Housing were available to them.213
   13         250. Providing Permanent Supportive Housing to veterans with Serious
   14 Mental Illness and TBI receiving services in, or at risk of entry into, VA institutions
   15 and other institutions, homelessness, and jail, can be accomplished with reasonable
   16 modifications to the VA’s programs and services.
   17         251. Permanent Supportive Housing exists within VAGLAHS’s mental
   18 health service system and could be expanded to serve many more individuals like
   19 Plaintiffs with Serious Mental Illness and TBI.
   20         252. However, very few veterans with Serious Mental Illness or TBI can
   21 access VAGLAHS’s and HUD’s Permanent Supportive Housing programs due to
   22 the insufficient supply of affordable supported housing units for currently unhoused
   23 veterans in VAGLAHS’s and HACLA’s service area because of the inadequacy of
   24 the supportive services made available, and because of other unjustly extraneous
   25 restrictions barring their entry. Many Plaintiffs have been advised by their VA case
   26
        213
   27      See U.S. Dep’t Vet. Aff., Eligibility for VA Health Care,
        https://www.va.gov/health-care/eligibility/  (last visited Nov. 14, 2022).
                                                  -98-
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    1 workers for years that they are not eligible to even apply for most VA-accessible
    2 housing; and others who have managed to submit applications have received formal
    3 rejections.
    4          253. Serving individuals with Serious Mental Illness residing in, or at risk of
    5 entry into, institutional settings in supported housing rather than institutions would
    6 not significantly adversely impact the VA’s ability to serve other individuals with
    7 disabilities. In fact, the VA has previously committed to do just that, but has failed
    8 to follow through on its commitment.
    9          Plaintiffs Have Been Denied Access to the VHA Benefits Offered by
   10                    VAGLAHS Solely by Reason of Their Disabilities
   11          254. Plaintiffs have been and continue to be denied meaningful access to
   12 benefits offered by VAGLAHS solely because of their disabilities, in violation of
   13 the Rehabilitation Act.
   14          255. The program structure and design of benefits offered by VAGLAHS
   15 denies them meaningful access, because without stable housing that is readily
   16 accessible to the necessary mental health and other supportive services offered by
   17 VAGLAHS, they cannot access the benefits offered by VAGLAHS on equal terms
   18 as nondisabled veterans and less severely disabled veterans. Thus, the administration
   19 of VAGLAHS’s services denies “certain disabled individuals meaningful access to
   20 government-provided services because of their unique needs, while others . . . retain
   21 access to the same class of services.” 214
   22          256. Defendant McDonough and other senior officials within the VA and
   23 Defendants Braverman and Harris and other senior officials within VAGLAHS, are
   24 well aware that many veterans eligible for VHA benefits within the VAGLAHS
   25 service area have Serious Mental Illness or brain injuries that require that they have
   26
   27 214
            Rodde, 357 F.3d at 998.                -99-
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     1 stable housing in order to access necessary services.
     2        257. Nonetheless, Defendants have discriminated and will continue to
     3 discriminate against veterans with Serious Mental Illness solely by virtue of their
     4 disabilities.
     5        258. Defendants and their predecessors have made decisions that
     6 discriminate against Plaintiffs on account of their disabilities. They reneged on the
     7 terms of the 1888 deed. They failed to provide sufficient Permanent Supportive
     8 Housing to those veterans who, by reason of their Serious Mental Illness and TBI,
     9 are unable to meaningfully access appropriate treatment without it, even though
    10 providing such housing and services is reasonable.
    11        259. In designing and implementing their VASH program, they failed to
    12 provide sufficient affordable housing, failed to provide adequate voucher numbers
    13 and rates to afford the housing that is available near VAGLAHS services, and failed
    14 to provide sufficiently robust services to support those with Serious Mental Illness.
    15        260. Defendants reneged on the terms of a 2015 settlement agreement to
    16 provide a limited amount of such Permanent Supportive Housing. They even entered
    17 into illegal leases of property on the Grounds, thereby reducing available land for
    18 Permanent Supportive Housing and prioritizing non-veterans over veterans with
    19 disabilities.
    20        261. In addition, Defendants have denied Plaintiffs meaningful access to
    21 VAGLAHS services solely because of their Serious Mental Illness by:
    22        ● Refusing to provide services through the HUD-VASH program that are
    23        necessary for the treatment of Plaintiffs’ Serious Mental Illness or TBI, while
    24        providing services necessary for the treatment of veterans who do not have
    25        Serious Mental Illness or TBI;
    26        ● Overrelying on services or treatment provided in settings that Plaintiffs are
    27        unable to access as a result of symptoms or characteristics of their disabilities;
    28                                           -100-
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     1         ● Geographically and administratively separating housing services from
     2         healthcare services and thus making it virtually impossible for Plaintiffs and
     3         others with Serious Mental Illness and TBI to access both.
     4         262. Finally, Defendants have failed to carry out their commitments to
     5 create Permanent Supportive Housing units on the WLA Grounds. Despite having
     6 committed in 2015 to create 1,200 units, including 770 units by 2022, the VA only
     7 signed a lease to develop 900 of those units in July of 2022.215
     8         263. The VA’s 2022 Master Plan,216 released in March 2022, acknowledges
     9 that it agreed to provide 1,200 units of Permanent Supportive Housing in the 2016
    10 Master Plan and that “[t]he need for this additional housing on the West LA
    11 Grounds is urgent with more than 3,681 Veterans presently experiencing
    12 homelessness in LA County.”217 Nonetheless, the VA expects to have only 182 units
    13 completed in the next five years and 885 units in up to ten years. 352 remaining
    14 units are not expected until over 11 years after 2022.218
    15
    16 The VA and HUD Have the Authority to Build Permanent Supportive Housing
                               on the WLA Grounds
    17
    18         264. The VA and HUD have authority under existing federal law to build
    19 more housing for veterans with disabilities on the WLA Grounds. This may either
    20 be done through direct building authorization, capital advances to nonprofit partners,
    21 or through applicable grant programs.
    22
         215
    23     Press Release, U.S. Dep’t Vet. Aff’s, VA Signs Lease with the West LA
       Veterans Collective to Develop 900 Units of Housing for Veterans Experiencing
    24 Homelessness (July 11, 2022), https://www.va.gov/greater-los-angeles-health-
    25 care/news-releases/va-signs-lease-with-the-west-la-veterans-collective-to-develop-
       900-units-of-housing-for-veterans/.
    26 216
           2022 Master Plan, supra note 47.
       217
    27 218 Id. at 5.
           Id. at 10-11.                        -101-
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     1         265. The VA Handbook 5975.6 provides guidance on the VA’s
     2 implementation of Section 504 of the Rehabilitation Act of 1973. Examples of
     3 accessibility measures that comply with Section 504 include the “alteration and
     4 construction of new facilities.” U.S. Dep’t Veteran Affairs, VA Handbook 5975.6,
     5 Compliance Procedures Implementing Section 504 of the Rehabilitation Act of 1973
     6 – Nondiscrimination Based on Disability in Federally Conducted Programs or
     7 Activities 12 (2020).
     8         266. The VA is likewise required to “give priority to those methods that
     9 offer programs and activities eligible individuals with disabilities in the most
    10 integrated setting appropriate.” Id.
    11         267. The VA’s own implementing guidelines for Section 504 therefore
    12 contemplate an obligation to construct new, accessible facilities for veterans with
    13 disabilities stemming from the VA’s nondiscrimination obligation under Section
    14 504. See id.
    15         268. Likewise, federal law grants the VA Secretary the authority to
    16 “construct or alter any medical facility” subject to certain constraints. See 38 U.S.C.
    17 § 8103.
    18         269. One of those restrictions is that the Secretary may not “obligate or
    19 expend funds. . . for any major medical facility project unless funds for that project
    20 have been specifically authorized by law.” 38 U.S.C. § 8104 (emphasis added).
    21         270. A “major medical facility project” is defined as “a project for the
    22 construction, alteration, or acquisition of a medical facility involving a total
    23 expenditure of more than $20,000,000[.]” 38 U.S.C. § 8104.
    24         271. A “medical facility” is defined as “any facility or part thereof which is,
    25 or will be, under the jurisdiction of the Secretary, or as otherwise authorized by law,
    26 for the provision of health-care services (including hospital, outpatient clinic,
    27 nursing home, or domiciliary care or medical services)[.]” 38 U.S.C. § 8103(a).
    28                                        -102-
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     1        272. Because permanent supportive housing necessarily incorporates the
     2 provision of healthcare services in the home (i.e. “domiciliary care”), this would
     3 authorize the VA to build a “medical facility” for the provision of permanent
     4 supportive housing under $20 million. See 38 U.S.C. § 8103.
     5        273. Beyond direct construction authorization, both the VA and HUD have
     6 the authority to fund construction through capital advance and other grantmaking
     7 programs.
     8        274. The HUD Secretary may authorize capital advances to nonprofit
     9 organizations to create “supportive housing for people with disabilities.” 42 U.S.C.
    10 §§ 8013(b), (b)(2).
    11        275. Such “supportive housing” refers to dwellings that “are designed to
    12 meet the permanent housing needs of very low-income persons with disabilities;”
    13 and “are located in housing that makes available supportive services that address the
    14 individual health, mental health, or other needs of such persons.” 42 U.S.C. §
    15 8013(k)(3).
    16        276. HUD may also award grants through its “Continuum of Care” program.
    17 This program gives HUD the authority to issue grants to qualified partners that serve
    18 homeless individuals or families, including the “construction of new housing units
    19 to provide. . .permanent housing.” 42 U.S.C. § 11383(a)(1).
    20        277. Likewise, the VA may provide grants to states to finance the
    21 construction of state home facilities to provide domiciliary or nursing home care to
    22 veterans. See 38 U.S.C. § 8131 et seq.
    23        278. This shows that the VA and HUD could build more permanent
    24 supportive housing under existing construction and grantmaking authorities. Neither
    25 agency would have to go to Congress to obtain this authority. Furthermore, the VA
    26 and HUD could subsidize current (and, if necessary, future) third party developers
    27 by providing grants that would eliminate the AMI threshold eligibility requirements
    28                                         -103-
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     1 imposed by other funders.
     2          279. In addition to these authorizations, spending to construct housing is
     3 authorized by the Necessary Expense Doctrine. 31 U.S.C. §1301, et seq.
     4
     5         The WLA Grounds Violates the West Los Angeles Leasing Act of 2016
     6          280. For decades, VAGLAHS has leased portions of the WLA Grounds to
     7 private entities and entered into a variety of land use agreements, including long-
     8 and short-term leases, memoranda of understanding, revocable licenses, and
     9 enhanced sharing agreements, with both for-profit and not-for-profit entities.
    10          281. Congress enacted the WLALA2016, allowing non-VA entities to use
    11 the WLA Grounds only if the real property leases and land-use agreements
    12 “principally benefit veterans and their families.”219 Pursuant to this act, the VA OIG
    13 must submit a report to Congress “on all leases carried out at the Grounds and the
    14 management by the Department of the use of the land at the Grounds . . . .”220 The
    15 OIG reports cited earlier are pursuant to this mandate.
    16          282. But the VA has not stopped its illegal leasing of the land. In 2018 the
    17 OIG issued a 120-page report, VA’s Management of Land Use under the West Los
    18 Angeles Leasing Act of 2016.221 The OIG found that “25 of 40 of the land use
    19 agreements (63 percent) on the WLA Grounds were improper.”222
    20          283. The OIG Report was the first of two indictments of the VA’s treatment
    21 of unhoused veterans. It was a call to immediate action, but the VA ignored the call.
    22          284. In its 2021 report, the OIG “identified seven land-use agreements that
    23 did not comply with the West Los Angeles Leasing Act of 2016.” 223 The “OIG
    24
         219
    25 220 WLALA2016 (emphasis added).
           Id.
    26 221
           OIG WLALA Report, supra note 140.
       222
    27 223 Id. at 14.
           OIG Five Year Report, supra note 20,-104-
                                                at ii.
    28   FIRST AMENDED COMPLAINT FOR INJUNCTIVE, DECLARATORY, AND MANDAMUS RELIEF CLASS ACTION
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     1 identified five agreements created since the release of the prior audit in 2018 that did
     2 not comply with the West Los Angeles Leasing Act of 2016, the draft master plan,
     3 or other federal statutes.”224 Two other noncompliant land-use agreements remained
     4 noncompliant despite being previously reported.225
     5         285. More specifically, OIG determined that “the agreements were not
     6 veteran focused or did not comply with other provisions of the act such as limits on
     7 VA’s leasing authority under the act. The prior noncompliant agreements allowed
     8 drilling to extract non-federally owned oil from neighboring land and allowed a
     9 lease with the private Brentwood School for continued use and improvement of
    10 student athletic facilities that did not principally benefit veterans and their
    11 families.” 226
    12
    13
    14 224 Id. Around this time law enforcement exposed the land’s role in a corruption
    15 scheme. The owner of a parking lot business on the grounds was sentenced to 70
       months in federal prison for orchestrating a longstanding bribery scheme in which
    16 he bilked the VA out of more than $13 million. Press Release, U.S. Att’y’s Off.
    17 Cent. Dist. Cal., Parking Lot Operator Sentenced to Nearly 6 Years in Federal
       Prison for Bribery Scheme That Defrauded Department of Veterans Affairs
    18 (Aug. 20, 2018), https://www.justice.gov/usao-cdca/pr/parking-lot-operator-
    19 sentenced-nearly-6-years-federal-prison-bribery-scheme-defrauded. A man who
       took $286,000 in cash bribes for more than a decade, pleaded guilty to tax fraud and
    20 lying to federal investigators about his role in the scheme. Adrienne Alpert & Lisa
    21 Bartley, EXCLUSIVE: Inside a $13 Million Fraud and Bribery Scheme at the VA,
       Eyewitness News ABC 7 (Sept. 26, 2018), https://abc7.com/va-fraud-veterans-
    22 administration-tax/4345157/.
       225
    23 226 OIG Five Year Report, supra note 20.
           Id. The VA has admitted that the private school is noncompliant. As put recently
    24 by the VA’s former manager of the master plan, “The arrangement with the school
    25 is noncompliant on the land use.” Still, the VA feared that “if we terminated the
       lease they would take us to court.” Nick Watt, Why Prime Real Estate Owned by the
    26 VA Is Leased for a Private School, a Ballpark, and an Oil Well — and Not for
    27 Homes for Veterans, CNN (Apr. 6, 2022), https://www.cnn.com/2022/03/28/us/va-
       real-estate-los-angeles/index.html.       -105-
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     1             286. Noncompliant agreements included deals with the Brentwood School,
     2 CAlTrans, Breitburn energy company, the Department of Homeland Security, and a
     3 parking lot company.227
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
                   287. The OIG concluded that “VA’s protracted noncompliance on two prior
    14
         agreements, noncompliance on five new agreements (two of which are new
    15
         iterations of previously noncompliant land uses), and its deviation from VA policy
    16
         in not documenting three land-use agreements in its capital asset inventory (VA’s
    17
         system of record) require immediate corrective action.” 228
    18
                   288. As a result of these land use deals, veterans have limited access to, or
    19
         are restricted altogether from much of the WLA Grounds and that land is
    20
         consequently unavailable to provide housing to veterans or otherwise expand the
    21
         services offered to veterans on the WLA Grounds.
    22
                   289. Defendants failed to take immediate corrective action on all but one of
    23
         these findings or on other illegal land uses on the Grounds. Noncompliance still
    24
         exists.
    25
    26
         227
    27 228 Id. at 21-25.
           Id. at iii.                          -106-
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     1        290. There has never been a full public accounting of how much money
     2 VAGLAHS has received under these private deals, where such revenue has been
     3 directed, or how these deals were initiated or negotiated.
     4
     5                                 CLASS ALLEGATIONS
     6        291. All named Plaintiffs (the “Named Plaintiffs”) bring this action under
     7 Rule 23 of the Federal Rules of Civil Procedure on behalf of themselves and the
     8 classes of disabled homeless veterans who are, have been, or will be left homeless
     9 and without access to necessary VA health and housing services. Each of the Named
    10 Plaintiffs is or has been left homeless near the WLA Grounds. The Named Plaintiffs
    11 and members of the Proposed Class/Subclass are similarly situated with respect to
    12 their legal claims and harms.
    13        292. As described above, the Named Plaintiffs have all experienced
    14 homelessness and an inability to access crucial VA services for which they are
    15 eligible. They have suffered harm as a result. Given the Defendants’ past and
    16 current practices, the Named Plaintiffs and members of the Proposed Class/Subclass
    17 recognize a danger that the Defendants’ conduct and attendant harms are continuous
    18 or will reoccur.
    19        293. Plaintiffs bring this action on behalf of themselves and as a class action,
    20 pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure on
    21 behalf of a class defined as:
    22        294. All homeless Veterans with SMI or TBI who reside in Los Angeles
    23 County.
    24        295. In addition, the Named Plaintiffs bring this action on behalf of a
    25 proposed subclass:
    26                    A. All class members whose income (including veterans disability
    27                       benefits) exceeds 50% of the Area Median Income (AMI).
    28                                           -107-
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     1        296. Numerosity–Fed. R. Civ. P. 23(a)(1): Plaintiffs allege that the class
     2 members are so numerous that joinder of all class members is impractical. Upon
     3 information and belief, nearly 3500 homeless veterans currently live in Los
     4 Angeles.229 As many as two-thirds of these individuals may have SMI.230 Many of
     5 these homeless veterans qualify for and would benefit from permanent supportive
     6 housing. Therefore, the proposed class is so numerous that joinder of all class
     7 members is impracticable.
     8        297. Commonality–Fed. R. Civ. P. 23(a)(2): As discussed below, members
     9 of the proposed class and subclass are homeless veterans with disabilities. As such,
    10 there are multiple questions of law and fact common to the class and subclass,
    11 including:
    12              a. Whether Defendants administer the benefits offered by VAGLAHS
                       in the most integrated setting appropriate.
    13              b. Whether Defendants administer the benefits offered by VAGLAHS
    14                 in a manner that denies class members meaningful access to those
                       benefits solely because of their disabilities, in violation of Section
    15                 504 of the Rehabilitation Act of 1973.
    16              c. Whether Defendants’ denial of appropriate integrated services –
                       exposes class members to institutionalization or risk of
    17                 institutionalization, including pursuant to psychiatric holds.
    18              d. Whether under the terms of the 1888 Deed and the fiduciary duties
                       arising from it and the below-referenced statutes, and as the trustee
    19                 of the Charitable Trust, Defendants have a duty to use the land
    20                 given by the Deed for the establishment, construction, and
                       permanent maintenance (and operation) of permanent supportive
    21                 housing for veterans, including class members.
    22              e. Whether Defendants have breached a duty pursuant to the
                       Charitable Trust by authorizing the many uses of the WLA Grounds
    23                 that do not directly contribute to the operation of housing and
    24                 healthcare for veterans with disabilities.
                    f. Whether Defendants’ land deals involving property and facilities on
    25
    26 229 Veterans HC2022 Data Summary, supra note 7.
       230
    27     Tori DeAngelis, More PTSD among Homeless Vets, 44 Monitor on Psych. 22
       (2013), https://www.apa.org/monitor/2013/03/ptsd-vets
                                                -108-
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     1                    the WLA Grounds have been improperly executed pursuant to the
                          WLALA2016.
     2                 g. Whether the Secretary and the VA have failed and refused to
     3                    account for the proceeds, funds, and land use revenues from the
                          leases on the premises of the WLAVA as required by law and by the
     4                    Charitable Trust.
     5                 h. Whether class members have no adequate remedy at law to compel
                          defendants to comply with their obligation to apply the proceeds,
     6                    funds, and land use revenues as required by law or to ascertain the
     7                    amount to be so applied.

     8
               298. Typicality–Fed. R. Civ. P. 23(a)(3): Each of the Named Plaintiffs, like
     9
         all putative Class Members, are veterans with disabilities who are eligible for
    10
         permanent supportive housing. The Named Plaintiffs’ claims are therefore typical of
    11
         the proposed Class Members’ claims, as well as the Subclass Members’ claims. The
    12
         claims asserted by Plaintiffs are capable of repetition yet evading review.
    13
               299. Adequacy of Representation–Fed. R. Civil P. 23(a)(4): Each of the
    14
         Named Plaintiffs will fairly and adequately represent the interests of the Proposed
    15
         Class and Subclass and will diligently serve as class representatives. Their interests
    16
         are co-extensive with the Proposed Class and Subclass and they have retained a
    17
         team of counsel experienced with class actions and alleging federal civil rights,
    18
         constitutional, breach of trust, accounting, and administrative claims against federal
    19
         government agencies. Putative Class Counsel possess the experience and resources
    20
         required to fairly and adequately represent the Proposed Class and Proposed
    21
         Subclasses.
    22
               300. Defendants’ Actions–Fed. R. Civ. P. 23(b)(2): Defendants have either
    23
         acted or failed to act on grounds generally applicable to the Proposed Class and
    24
         Proposed Subclass. Specifically, Plaintiffs are informed and believe that Defendants
    25
         have discriminated on the basis of disability in the provision of their services, failed
    26
         to provide meaningful access to their services for veterans with disabilities,
    27
       breached their fiduciary duty as trustee of the Charitable Trust, violated the
    28                                           -109-
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     1 WLALA2016 and failed to provide an adequate accounting of the revenues derived
     2 from the lease on the WLA Grounds. Defendants’ acts and omissions make final
     3 injunctive relief and declaratory relief appropriate.
     4                                      SUBCLASS
     5        301. In addition, Plaintiffs Deavin Sessom and Lavon Johnson (the
     6 “Subclass Representatives”) further represent a subclass of disabled homeless
     7 veterans who, in addition to meeting the Class description, receive disability
     8 compensation that renders them ineligible for certain VA housing. The Subclass
     9 Representatives and members of the Proposed Subclass are similarly situated with
    10 respect to their legal claims and harms.
    11        302. Numerosity–Fed. R. Civ. P. 23(a)(1): Plaintiffs allege that the
    12 subclass members are so numerous that joinder of all subclass members is
    13 impractical. Upon information and belief, a substantial portion of the nearly 3,500
    14 homeless veterans who currently live in Los Angeles have a 100% disability rating
    15 from the VA which, by itself or paired with additional disability compensation,
    16 exceeds 50% AMI. Therefore, the proposed subclass members are so numerous that
    17 joinder of all subclass members is impracticable.
    18        303. Commonality–Fed. R. Civ. P. 23(a)(2): As discussed below, members
    19 of the proposed subclass are homeless veterans with disabilities for which they
    20 receive compensation in an amount that counts toward and exceeds housing
    21 eligibility thresholds. As such, there are multiple questions of law and fact common
    22 to the subclass, including:
    23
    24               a. Whether, by delegating its housing obligations to private providers,
                        Defendants have allowed veteran housing to be subjected to an
    25                  income eligibility criterion that is not applicable to VA services.
    26               b. Whether Defendants administer the benefits offered by VAGLAHS
                        in the most integrated setting appropriate.
    27
    28                                            -110-
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     1                c. Whether Defendants’ denial of appropriate integrated services to
                         subclass members exposes subclass members to institutionalization
     2                   or risk of institutionalization.
     3                d. Whether Defendants administer the benefits offered by VAGLAHS
                         in a manner that denies subclass members meaningful access to
     4                   those benefits because of their disabilities, in violation of Section
     5                   504 of the Rehabilitation Act of 1973.

     6
               304. Typicality–Fed. R. Civ. P. 23(a)(3): Each of the Subclass
     7
         Representatives, like all putative Subclass Members, are veterans with disabilities
     8
         who would already be eligible for permanent supportive housing. The Subclass
     9
         Representatives’ claims are therefore typical of the proposed Subclass Members’
    10
         claims. The claims asserted by Subclass Members are capable of repetition yet
    11
         evading review.
    12
               305. Adequacy of Representation–Fed. R. Civil P. 23(a)(4): Each of the
    13
         Subclass Representatives will fairly and adequately represent the interests of the
    14
         Proposed Subclass and will diligently serve as class representatives. Their interests
    15
         are co-extensive with the Proposed Subclass and they have retained a team of
    16
         counsel experienced with class actions and alleging federal civil rights,
    17
         constitutional, breach of trust, accounting, and administrative claims against federal
    18
         government agencies. Putative Class Counsel possess the experience and resources
    19
         required to fairly and adequately represent the Proposed Subclass.
    20
               306. Defendants’ Actions–Fed. R. Civ. P. 23(b)(2): Defendants have either
    21
         acted or failed to act on grounds generally applicable to the Proposed Subclass.
    22
         Specifically, Defendants have discriminated on the basis of disability in the
    23
         provision of their services, failed to provide meaningful access to their services for
    24
         veterans with disabilities, breached their fiduciary duty as trustee of the Charitable
    25
         Trust, violated the WLALA2016 and failed to provide an adequate accounting of the
    26
         revenues derived from the lease on the WLA Grounds. Defendants’ acts and
    27
       omissions make final injunctive relief and declaratory relief appropriate.
    28                                          -111-
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     1
     2                                 FIRST CAUSE OF ACTION
     3         Violation of Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
     4                                         (Discrimination)
     5                 (All Plaintiffs and Proposed Class Against All Defendants)
     6         307. Plaintiffs incorporate by reference the foregoing paragraphs of this
     7 Complaint as though fully set forth herein.
     8         308. Plaintiffs have disabilities within the meaning of the Rehabilitation Act
     9 and are otherwise eligible for the health care and housing benefits offered by the VA
    10 and HUD, both federal agencies.
    11         309. Defendants administer the benefits offered by VAGLAHS and HUD-
    12 VASH in a manner that denies veterans the benefits of VAGLAHS services,
    13 programs, or activities in the most integrated setting appropriate to their needs.
    14         310. With reasonable modifications, Defendants could serve veterans in
    15 community-based settings.
    16         311. Defendants’ plan for providing community-based services to veterans
    17 is neither comprehensive, nor effectively working, and does not move at a
    18 reasonable rate. In addition, Defendants are not complying with their own plan.
    19         312. Plaintiffs are capable of living in integrated settings and do not oppose
    20 integrated placement.
    21         313. Defendants’ denial of appropriate integrated services to Plaintiffs is
    22 solely because of their disabilities, and Plaintiffs are institutionalized or placed at
    23 risk of institutionalization because of Defendants’ discrimination.
    24         314. Defendants’ discrimination has irreparably harmed Plaintiffs and will
    25 continue to harm them irreparably unless this Court intervenes.
    26
    27
    28                                            -112-
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     1                            SECOND CAUSE OF ACTION
     2    Violation of Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
     3                                  (Discrimination)
       (Plaintiffs Sessom and Johnson and Proposed Subclass Against All Defendants)
     4
     5       315. Plaintiffs incorporate by reference the foregoing paragraphs of this

     6 Complaint as though fully set forth herein.
     7     316. Plaintiffs Sessom and Johnson have disabilities within the meaning of

     8 the Rehabilitation Act and are otherwise eligible for the health care and housing
     9 benefits offered by the VA and HUD, both federal agencies.
    10         317. Defendants’ delegation of its housing construction obligations to allow

    11 imposition of restrictive AMI measures and counting veterans’ disability benefits as
    12 income discriminates on the basis of disability. The more disabled a veteran is the
    13 less likely they are to qualify for the housing services delegated to private providers
    14 by the VA.
    15         318. Defendants’ discrimination has irreparably harmed Plaintiffs and will

    16 continue to harm them irreparably unless this Court intervenes.
    17
    18                             THIRD CAUSE OF ACTION

    19      Violation of Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794
                                       (Meaningful Access)
    20
                              (All Plaintiffs Against All Defendants)
    21
               319. Plaintiffs incorporate by reference the foregoing paragraphs of this
    22
         Complaint as though fully set forth herein.
    23
               320. Plaintiffs have disabilities within the meaning of the Rehabilitation Act
    24
         and otherwise eligible for the housing and health care benefits offered by the VA, a
    25
         federal agency.
    26
               321. Defendants administer the benefits offered by VAGLAHS and HUD-
    27
    28                                           -113-
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     1 VASH in a manner that denies Plaintiffs meaningful access to those benefits solely
     2 because of their disabilities, in violation of Section 504 of the Rehabilitation Act of
     3 1973.
     4         322. With reasonable modifications, Defendants could provide meaningful
     5 access to VAGLAHS services to Plaintiffs.
     6         323. Defendants’ discrimination has irreparably harmed Plaintiffs and will
     7 continue to harm them irreparably unless this Court intervenes.
     8                           FOURTH CAUSE OF ACTION
     9              Breach of Fiduciary Duty as Trustee of Charitable Trust
    10                                  (Injunctive Relief)
            (All Plaintiffs Against Defendants McDonough, Braverman, and Harris)
    11
    12         324. Plaintiffs incorporate by reference the foregoing paragraphs of this

    13 Complaint as though fully set forth herein. ·
    14     325. The 1888 Deed created a Charitable Trust, and, as the successor-in-

    15 interest to the National Soldiers’ Home, the VA holds that land, on which the WLA
    16 Grounds now sits, in trust for the intended beneficiaries of the Charitable Trust—
    17 veterans with disabilities—and must use the land for purposes that directly
    18 contribute to the establishment and permanent operation of housing and healthcare
    19 for veterans with disabilities. Specifically, the 1888 Deed required the land to be
    20 used “for the purpose of such Branch Home for Disabled Volunteer Soldiers to be
    21 thereon so located, established, constructed, and permanently maintained”—that is,
    22 the establishment and permanent maintenance of housing for veterans, which
    23 housing is particularly needed by veterans with Serious Mental Illness such as
    24 Plaintiffs and the other members of NVF.
    25         326. The Government had statutory authority to accept the deed. The

    26 Government accepted the land that is now the WLA Grounds under the authority of
    27 24 U.S.C. § 111, 14 Stat. 10 (1866) (the “1866 Act”). The 1866 Act established the
    28                                           -114-
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     1 National Asylum for Disabled Volunteer Soldiers, “an establishment for the care
     2 and relief of the disabled volunteers of the United States army . . . .” 14 Stat. 10 § 1.
     3 The board of managers of the National Asylum was given authority to procure land
     4 to erect buildings to house veterans with disabilities. Id. at § 4. The 1866 Act also
     5 provided: “[T]he said board of managers are hereby authorized to receive all
     6 donations of money or property made by any person or persons for the benefit of the
     7 asylum, and to hold or dispose of the same for its sole and exclusive use.” Id. at § 5.
     8 As alleged above, the DVA is the successor-in-interest to the National Asylum.
     9        327. In 2016, Congress enacted and the President signed the “West Los
    10 Angeles Leasing Act of 2016” by which the Government imposed mandatory duties
    11 upon the Secretary with respect to the operation of the West LA Grounds and
    12 thereby accepted the role as trustee of the charitable trust created by the 1888 Deed,
    13 and imposed the duties of trustee upon the Secretary, including by doing all of the
    14 following:
    15            B. Prohibiting the Secretary from carrying out any land-sharing agreement
    16               that does not “(1) provide[] additional health-care resources to the
    17               Grounds; and (2) benefits veterans and their families other than from
    18               the generation of revenue for the Department of Veterans Affairs,” the
    19               latter subdivision being defined to (1) mean services “(A) provided
    20               exclusively to veterans and their families; or (B) that are designed for
    21               the particular needs of veterans and their families, as opposed to the
    22               general public, and any benefit of those services to the general public is
    23               distinct from the intended benefit to veterans and their families; and (2)
    24               exclude[s] services in which the only benefit to veterans and their
    25               families is the generation of revenue for the Department of Veterans
    26               Affairs.” (WLALA2016 at § 2(c, l).)
    27
    28                                            -115-
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     1           C. Imposing a mandatory duty on the Secretary to use any funds received
     2              by the Secretary under leases of the Grounds property to “be credited to
     3              the applicable Department medical facilities account and shall be
     4              available, without fiscal year limitation and without further
     5              appropriation, exclusively for the renovation and maintenance of the
     6              land and facilities at the Grounds.” (WLALA2016 at § 2(d).)
     7           D. Imposing a mandatory duty on the Secretary to use any “land use
     8              revenue” 231 received by the Secretary to be credited to the applicable
     9              Department medical facilities accounts or minor construction accounts
    10              and shall be available, without fiscal year limitation and without further
    11              appropriation, exclusively for any of the following:
    12                     “(A) Supporting construction, maintenance, and services at the
    13                  Grounds relating to temporary or permanent supportive housing for
    14                  homeless or at-risk veterans and their families.
    15                                  “(B) Renovating and maintaining the land and
    16                           facilities at the Grounds.
    17                                  “(C) Carrying out minor construction projects at
    18                           the Grounds.
    19                                  “(D) Carrying out community operations at the
    20                           Grounds that support the development of emergency
    21                           shelter or supportive housing for homeless or at-risk
    22                           veterans and their families. (“West Los Angeles VA
    23                           Grounds Improvement Act of 2021,” Pub. Law 117-18
    24                           (2021) at §2(a).)
    25 231
              “Land use revenue” is defined to mean ``(A) any funds received by the
    26 Secretary under a lease described in subsection (b); and (B) any funds received as
    27 proceeds from any assets seized or forfeited, and any restitution paid, in connection
       with any third-party land use at the Campus.''.
                                                -116-
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     1                  E. Imposing a mandatory duty on the Secretary to certify “to the
     2                      Committees on Veterans’ Affairs of the Senate and House of
     3                      Representatives, the Committees on Appropriations of the Senate
     4                      and House of Representatives, and each Member of the Senate
     5                      and the House of Representatives who represents the area in
     6                      which the Grounds is located that all recommendations included
     7                      in the [Inspector General’s] audit report or evaluation have been
     8                      implemented” before entering into or renewing any lease or land-
     9                      sharing agreement if the Inspector General finds, as it has in the
    10                      above-referenced report, that “the Department is not in
    11                      compliance with all Federal laws relating to leases and land use
    12                      at the Grounds.” (WLALA2016 at §2(h).)
    13         328. These statutes, adopted to implement and limit the use of the DVA’s
    14 WLA Grounds land, make crystal clear that Congress's intention was to ensure that
    15 the DVA's land was used primarily to benefit veterans, including by assuming and
    16 imposing upon the Secretary enforceable, mandatory duties as a trustee of the
    17 Charitable Trust.
    18         329. As the successor-in-interest to the National Soldiers' Home, DVA holds
    19 that land, on which the WLA Grounds now sits, in trust for the intended
    20 beneficiaries of the Charitable Trust, including but not limited to plaintiffs and other
    21 unhoused veterans with Serious Mental Illness.
    22         330. Plaintiffs and members of NVF are intended beneficiaries of the
    23 Charitable Trust and the trustee’s obligations by virtue of their lack of permanent
    24 supportive housing, medical conditions, and geographic proximity to and their
    25 desire and intent to use and take advantage of, and continue to use and take
    26 advantage of, Permanent Supportive Housing and related services on the subject
    27 land.
    28                                           -117-
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     1        331. Therefore, under the terms of the Deed and the fiduciary duties arising
     2 from it and the above-referenced statutes, and as the trustee of the Charitable Trust,
     3 Defendants have a duty to use the land for the establishment, construction, and
     4 permanent maintenance (and operation) of Permanent Supportive Housing for
     5 veterans, including Plaintiffs.
     6        332. Defendants have breached that duty by failing to, and failing to act
     7 adequately and/or timely as a reasonably careful trustee would have acted under the
     8 same or similar circumstances to use the land for the establishment, construction,
     9 and permanent maintenance (and operation) of Permanent Supportive Housing for
    10 veterans, including Plaintiffs, and by adopting but failing to implement the Master
    11 Plan as referenced in the report of the Inspector General, and instead have taken
    12 final agency actions resulting in the property being used for other activities that do
    13 not benefit veterans as contemplated by the 1888 Deed and the resulting Trust, and
    14 the Master Plan, and by permitting activities other than, and that conflict with, the
    15 provision of Permanent Supportive Housing, and plaintiffs are informed and believe
    16 by failing to apply the funds received from the other uses of the land in the manner
    17 required by law.
    18        333. Defendants’ failures have been and continue to be a substantial factor
    19 in causing harm to Plaintiffs, NVF members, and individuals who are similarly
    20 situated.
    21        334. By authorizing the many uses of the WLA Grounds that do not directly
    22 contribute to the operation of housing and healthcare for veterans with disabilities,
    23 and by failing to take substantial affirmative steps to administer the trust solely with
    24 a view to the accomplishment of this purpose, Defendants have breached their
    25 fiduciary duties as trustees of the Charitable Trust.
    26        335. Defendants’ failures have been and continue to be a substantial factor
    27 in causing harm to Plaintiffs, NVF members, and individuals who are similarly
    28                                       -118-
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     1 situated.
     2        336. Plaintiffs have no adequate remedy at law to compel defendants to
     3 cease breaching their fiduciary duty as trustees of the charitable trust, and are
     4 entitled to specific performance of the obligations imposed upon Defendants as
     5 trustees of the trust.
     6                             FIFTH CAUSE OF ACTION
     7              Breach of Fiduciary Duty as Trustee of Charitable Trust
     8                                 (Mandamus Relief)
            (All Plaintiffs Against Defendants McDonough, Braverman, and Harris)
     9
    10        337. Plaintiffs incorporate by reference the foregoing paragraphs of this

    11 Complaint as though fully set forth herein.
    12     338. The 1888 Deed created a Charitable Trust, and, as the successor-in-

    13 interest to the National Soldiers’ Home, the VA holds that land, on which the WLA
    14 Grounds now sits, in trust for the intended beneficiaries of the Charitable Trust—
    15 veterans with disabilities—and must use the land only for purposes that directly
    16 contribute to the establishment and permanent operation of housing and healthcare
    17 for veterans with disabilities.
    18        339. As trustees of the Charitable Trust, Defendants have a non-

    19 discretionary and nondelegable fiduciary duty, which they have breached by
    20 authorizing the many uses of the WLA Grounds that do not directly contribute to the
    21 operation of housing and healthcare for veterans with disabilities, and by failing to
    22 take substantial affirmative steps to administer the trust solely with a view to the
    23 accomplishment of this purpose.
    24                          SIXTH CAUSE OF ACTION

    25    Administrative Procedure Act, Violation of West Los Angeles Leasing Act of
    26
    27
    28                                           -119-
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     1                     2016, Pub. L. No. 114-226, 130 Stat. 926 (2016)
             (All Plaintiffs Against Defendants McDonough, Braverman, and Harris)
     2
                340. Plaintiffs incorporate by reference the foregoing paragraphs of this
     3
         Complaint as though fully set forth herein.
     4
                341. Defendants’ land deals involving property and facilities on the WLA
     5
         Grounds have been improperly executed pursuant to the WLALA2016, which
     6
         authorizes only agreements that “primarily benefit” veterans.
     7
                342. Defendants’ failure to comply constitutes arbitrary and capricious
     8
         agency action; is an abuse of discretion; is in excess of statutory jurisdiction,
     9
         authority, or limitations, or otherwise without statutory right; and is contrary to law
    10
         and to procedures required by law.232
    11
                                  SEVENTH CAUSE OF ACTION
    12
    13                                      Accounting
             (All Plaintiffs Against Defendants McDonough, Braverman, and Harris)
    14
                343. Plaintiffs incorporate by reference the foregoing paragraphs of this
    15
         Complaint as though fully set forth herein.
    16
                344. The 1888 Deed created a Charitable Trust, and, as the successor-in-
    17
         interest to the National Soldiers' Home, DVA holds that land, on which the WLA
    18
         Grounds now sits, in trust for the intended beneficiaries of the Charitable Trust,
    19
         veterans with disabilities, and must use the land only for purposes that directly
    20
         contribute to the establishment and permanent operation of a home for veterans with
    21
         disabilities.
    22
                345. Pursuant to the WLALA2016, the Secretary is required to apply any
    23
         funds received under leases of the WLA Grounds property to be “credited to the
    24
         applicable Department medical facilities account and shall be available, without
    25
         fiscal year limitation and without further appropriation, exclusively for the
    26
    27 232
             5 U.S.C. § 706(2)(A), (C)-(D).        -120-
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     1 renovation and maintenance of the land and facilities at the Grounds.” And pursuant
     2 to the “West Los Angeles VA Grounds Improvement Act of 2021,” Pub. Law 117-
     3 18 (2021) at §2(a), the Secretary is required to use any land use revenue received by
     4 the Secretary to be “credited to the applicable Department medical facilities
     5 accounts or minor construction accounts and shall be available, without fiscal year
     6 limitation and without further appropriation, exclusively for any of the following”:
     7 “(A) Supporting construction, maintenance, and services at the Grounds relating to
     8 temporary or permanent supportive housing for homeless or at-risk veterans and
     9 their families; (B) Renovating and maintaining the land and facilities at the
    10 Grounds; (C) Carrying out minor construction projects at the Grounds; (D) Carrying
    11 out community operations at the Grounds that support the development of
    12 emergency shelter or supportive housing for homeless or at-risk veterans and their
    13 families.”
    14        346. Together, the WLALA2016 and the West Los Angeles VA Grounds
    15 Improvement Act of 2021 both imposed obligations on Defendants that required the
    16 use of funds received from the use of the land that were intended to benefit
    17 Plaintiffs, NVF members, and individuals who are similarly situated, but that
    18 Plaintiffs and NVF are informed and believe have not been used for those purposes,
    19 such that that relationship and the use of the funds requires an accounting, and the
    20 balance of the funds that ought to be, and that have been applied as required by the
    21 aforementioned laws can only be ascertained by an accounting.
    22        347. The financial arrangements and payment structure from the many uses
    23 of the WLA Grounds are complicated and the information about them is within the
    24 control of the defendants. An accounting is necessary to ascertain whether proceeds
    25 from the leases on the WLA Grounds, if any, are due to Plaintiffs and other
    26 beneficiaries of the Charitable Trust and have been applied as required by law or
    27 misapplied contrary to law and to the detriment of Plaintiffs.
    28                                         -121-
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     1        348. Defendants have been requested to provide but have not provided
     2 complete and accurate information regarding the administration of the property,
     3 including full details regarding the many leases on the WLA Grounds into which
     4 VA has entered with private entities and how the proceeds from those leases, if any,
     5 have been used.
     6        349. Plaintiffs are informed and believe and thereon allege that the Secretary
     7 and the VA have failed and refused to account for the proceeds, funds, and land use
     8 revenues from the leases on the premises of the WLAVA as required by law and by
     9 the trust.
    10        350. Other than as set forth above, Plaintiffs have no adequate remedy at law
    11 to compel defendants to comply with their obligation to apply the funds as required
    12 by law or to ascertain the amount to be so applied.
    13                                REQUEST FOR RELIEF
    14        351. Plaintiffs, therefore, respectfully request that this Court grant the
    15 following:
    16               A. Declare that Defendants administer the benefits program of
    17                   VAGLAHS in a manner that discriminates against veterans with
    18                   SMI and TBI solely by reason of their disabilities in violation of
    19                   Section 504 of the Rehabilitation Act of 1973.
    20               B. Declare that the federal government’s acceptance of the land
    21                   transferred under the 1888 Deed created a Charitable Trust.
    22               C. Declare that Defendants have breached and continue to breach their
    23                   fiduciary duties as trustees of the Charitable Trust by allowing
    24                   VAGLAHS to use the WLA Grounds for purposes that are not
    25                   directly related to providing housing and healthcare for veterans
    26                   with disabilities.
    27               D. Enjoin Defendants from failing to provide Plaintiffs and veterans
    28                                        -122-
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     1                 with SMI and TBI appropriate Permanent Supportive Housing so
     2                 they can reasonably access the health care and housing benefits for
     3                 which they are eligible in the most integrated setting appropriate to
     4                 their needs. Permanent Supportive Housing should be made
     5                 available within six (6) months, both on the WLA Grounds and in
     6                 apartments near the WLA Grounds for at least 3,500 eligible
     7                 homeless veterans as follows:233
     8                        i. Within five (5) years, 1,200 new homes on the WLA
     9                           Grounds offering a mix of Permanent Supportive Housing
    10                           as follows:
    11                               1. At least 10% and no more than 25% per building
    12                                  providing ACT, ICM and/or hybrid mental health
    13                                  services appropriate to the needs of the individual
    14                                  in the home;
    15                               2. In addition, at least 10% and no more than 25% per
    16                                  building providing general Permanent Supportive
    17                                  Housing services, including case management;
    18                                  education services; employment assistance and job
    19                                  training; life skills training; mental health services;
    20                                  outpatient health services; outreach services; and
    21                                  substance abuse treatment services appropriate to
    22                                  the needs of the individual with severe mental
    23
    24 233 For the avoidance of doubt, 100% of the housing described in this section must
    25 be for the benefit of veterans and their families. Any caps enumerated below are
       proposed to apply solely to the provision of specific types of “Permanent Supportive
    26 Housing” on a per-building basis to ensure the building community is appropriately
    27 integrated to avoid continuation of the historic and discriminatory
       institutionalization of those veterans in need of specific types of support.
                                                  -123-
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     1                                    illness.
     2                                3. In the interim, until the new homes on the WLA
     3                                    Grounds are completed, at least 1,200 new
     4                                    scattered-site homes within five (5) miles of the
     5                                    WLA Grounds providing Permanent Supportive
     6                                    Housing as appropriate to the needs of the
     7                                    individual with severe mental illness, including
     8                                    ACT, ICM, and hybrid in-home services.
     9                         ii. At least 2,500 new scattered-site homes within five (5)
    10                            miles of the WLA Grounds providing Permanent
    11                            Supportive Housing as appropriate to the needs of the
    12                            individual with severe mental illness, including ACT,
    13                            ICM, and hybrid in-home services.
    14                                1. No more than 20% of the units in any building shall
    15                                    be providing Permanent Supportive Housing;
    16                        iii. Defendants shall provide other permanent forms of
    17                            housing on the WLA Grounds, such as a community RV
    18                            park.
    19                        iv. Eligible veterans with severe disabilities shall have
    20                            priority for assignment to Permanent Supportive Housing
    21                            and shall have the option to choose either housing on the
    22                            WLA Grounds or in scattered-site homes.
    23                         v. All Permanent Supportive Housing services must meet
    24                            evidence-based practice standards, must be provided
    25                            according to a Person-Centered Care Plan, and must be
    26                            monitored by an expert in Permanent Supportive Housing.
    27                        vi. Defendants must conduct outreach offering Permanent
    28                                        -124-
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     1                            Supportive Housing to all veterans living in the tiny
     2                            sheds, to all patients of the WLA Grounds who show
     3                            indications of homelessness, and to all homeless shelters
     4                            and encampments within five (5) miles in each direction
     5                            of the WLA Grounds to identify and assess eligible
     6                            veterans and offer them Permanent Supportive Housing
     7                            appropriate to their needs.
     8                       vii. Defendants must develop a waiting list until the
     9                            Permanent Supportive Housing called for is available.
    10                            While individuals are on the waiting list, Defendants must
    11                            offer them appropriate housing and supportive services
    12                            (Temporary Supportive Housing). Only if an individual
    13                            affirmatively declines housing or supportive services may
    14                            the individual be removed from the waiting list. Once the
    15                            Permanent Supportive Housing called for is available,
    16                            Defendants must ensure that any waiting list moves at a
    17                            reasonable pace, that individuals with the most severe
    18                            impairments are prioritized, that no individual remains on
    19                            the waiting list more than six (6) months, and that
    20                            individuals are provided temporary housing and
    21                            supportive services while on the waiting list.
    22                       viii. For each individual identified as a homeless veteran
    23                            eligible for VA health services, Defendants must conduct
    24                            an assessment to determine his/her housing and service
    25                            needs and preferences within one (1) week of
    26                            identification. Each assessment must identify the housing
    27                            that is the most integrated setting appropriate for the
    28                                           -125-
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     1                            individual and the supportive services needed to support
     2                            the individual in such housing, based on the individual’s
     3                            needs and personal preferences.
     4                        ix. Within one (1) week of assessment, for each eligible
     5                            individual, Defendants must develop a Person-Centered
     6                            Care Plan based on the assessment, that considers the
     7                            current and unique psychosocial and medical needs and
     8                            history of the individual, and arranges the housing and
     9                            supportive services appropriate for the individual to live
    10                            successfully in the most integrated setting appropriate to
    11                            his/her needs.
    12                         x. In addition to financial housing subsidies sufficient to
    13                            enable Defendants to identify and secure sufficient
    14                            housing to meet the requirements of this Order,
    15                            Defendants must provide assistance to eligible veterans in
    16                            managing landlord/tenant relations.
    17                        xi. To the extent supportive services and treatment are
    18                            provided other than in the eligible individual’s home,
    19                            Defendants must offer transportation services, including,
    20                            as necessary, transportation vouchers, to assist individuals
    21                            to access those services.
    22               E. Enjoin Defendants from denying Plaintiffs, NVF members, and
    23                  individuals who are similarly situated meaningful access to the
    24                  health care and housing benefits for which they are eligible on the
    25                  WLA Grounds by providing Permanent Supportive Housing on or
    26                  near the WLA Grounds and providing transportation services and
    27                  subsidies to the WLA Grounds for scattered-site Permanent
    28                                        -126-
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     1                  Supportive Housing.
     2               F. Enter an injunction mandating that Defendants faithfully execute
     3                  their obligations as trustees of the WLA Grounds and utilize the
     4                  WLA Grounds primarily for purposes directly related to providing
     5                  housing and healthcare for veterans with disabilities or, in the
     6                  alternative, enter an order mandating that Defendants refrain from
     7                  allowing uses of the WLA Grounds for purposes that are not
     8                  primarily related to providing housing and healthcare for veterans
     9                  with disabilities.
    10               G. Enter an injunction prohibiting Defendants from executing and
    11                  maintaining any land use agreements under the WLALA2016 that
    12                  do not primarily benefit veterans.
    13               H. Appoint a Monitor to oversee and report to the Court on
    14                  implementation of the Order.
    15               I. Grant such other relief as this Court deems just and proper,
    16                  including but not limited to awarding Plaintiffs attorney’s fees and
    17                  costs.
    18
    19 DATED: May 15, 2023
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    27
    28                                           -127-
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